Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 1 of 67




             EXHIBIT 13
                    Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 2 of 67


Bates Number       Post URL              URL                          Post                                                                                           User                 Date
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1787530190 Trying to get attention? Maybe your 5 minutes of fame? You are a clown Carroll, no one truly
CARROLL_002335 /p/ByS3GZAnG8T/           2386039/?hl=en               believes you if they don’t already have a deep hatred for Trump.                               stephentodaro          6/21/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1806036711
CARROLL_002335 /p/ByS3GZAnG8T/           4105440/?hl=en               You should be ashamed disgusting pig                                                           _bobs94_               6/25/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1786345595 You are a LIAR. Do you think trump would come remotely close to your creature looking
CARROLL_002335 /p/ByS3GZAnG8T/           8426841/?hl=en               ass? Look who he is married to. He doesn’t need a nasty old creature like you.                 _bobs94_               6/24/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com BwpZqrRHwTJ/c/1787596526
CARROLL_002356 /p/BwpZqrRHwTJ/           5382606/?hl=en               Gross                                                                                          _bobs94_               6/24/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com BwAGojeHzpJ/c/17900496367
CARROLL_002365 /p/BwAGojeHzpJ/           332576/?hl=en                Yeah trump would never touch that. Gross                                                       _bobs94_               6/24/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com B3kZBMnHkJ_/c/1790066608
CARROLL_002282 /p/B3kZBMnHkJ_/           0537535/?hl=en               Ahh it makes now 😂😂 🍕🍕 You are a pedophile or at least hang out with them!! @ejeancarroll1 _joelyz                    8/26/2020
                                         https://www.instagram.com/p/
                                         BzlSnU-
               https://www.instagram.com narH/c/18126628327005727/?
               /p/BzlSnU-narH/           hl=en                        She getting pay to say his                                                                     5501amy                1/31/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com BwAGojeHzpJ/c/18050030293
CARROLL_002365 /p/BwAGojeHzpJ/           081023/?hl=en                You're hideous 🤢🤢                                                                              5uper5stock            6/21/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1785149998
CARROLL_002335 /p/ByS3GZAnG8T/           6462916/?hl=en               Don‘t lie to be famous.. stupid bitch                                                          7im_424                6/22/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1787548525
CARROLL_002335 /p/ByS3GZAnG8T/           6380217/?hl=en               Vile lying pos👊👊👊👊👊👊                                                                           845berigeri            6/22/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1786468022
CARROLL_002335 /p/ByS3GZAnG8T/           5415537/?hl=en               TRUMP 2020🇺🇺🇺🇺 quit lying to get attention for you’re failure of a career                      andrew_glenn01         6/22/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1786990825 Please don’t make up false allegations against the highest office in the world 20 years after
CARROLL_002335 /p/ByS3GZAnG8T/           0404305/?hl=en               the lie just because you’re a far left wing extremist. Please have more dignity.               andrew.3366            6/24/2019
                                         https://www.instagram.com/p/ @stepfeniek same thing as they promised Dr Ford. Btw what happened to her? She must have
               https://www.instagram.com ByS3GZAnG8T/c/1791004648 gotten her paycheck and went off into the sunset and hopefully never to be seen or heard
CARROLL_002335 /p/ByS3GZAnG8T/           3314594/?hl=en               from again.                                                                                    anitauncensered        6/21/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com BuXLJWvnVf-                  So this is why you are falsely accusing the president of assaulting you. I hope your books end
               /p/BuXLJWvnVf-/           /c/18060842317106971/?hl=en up on the discount racks within a month with a $1.99 like HRC!! Sweet karma liar 😂😂😂😂           anitauncensered        6/28/2019
                                                                      You are a disgrace to actual victims and should be ashamed of yourself. You are belittling
                                         https://www.instagram.com/p/ and taking attention away from them. You are a sick stupid woman. When this goes to court,
               https://www.instagram.com ByS3GZAnG8T/c/1785959328 only to be proven false it takes credibility away from those actual rape victims. I hate you
CARROLL_002335 /p/ByS3GZAnG8T/           7437693/?hl=en               disgusting woman.                                                                              annarubadue            6/22/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com BwAGojeHzpJ/c/17887325533 They are really grasping at straws here, the women in past accusations that ended up being
CARROLL_002365 /p/BwAGojeHzpJ/           362754/?hl=en                FALSE were at least attractive but they’re so desperate @patrickragz @graciehousleyy           annarubadue            6/22/2019
                                         https://www.instagram.com/p/ If you’re going to accuse a man of sexual assault you can’t look like this and expect it to be
               https://www.instagram.com BwAGojeHzpJ/c/17851378798 believable. People like you would rather our country fail over our president succeeding.
CARROLL_002365 /p/BwAGojeHzpJ/           461655/?hl=en                Sad!!!!                                                                                        annarubadue            6/22/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1805902174 You lying old wrinkly cunt!! FUCK YOU! I HOPE TRUMP SUES YOU MAKES YOU A
CARROLL_002335 /p/ByS3GZAnG8T/           3114407/?hl=en               BROKE OLD ASS BITCH!!                                                                          archangeljustice       6/21/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com CJ4vT3Jp1wJ/c/17871183314
               /p/CJ4vT3Jp1wJ/           154294/                      How many times did you wear that dress after your BS accusations 🤣🤣🤣🤣🤣🤣🤣🤣                      autoredneck1           1/10/2021
                                         https://www.instagram.com/p/
                                         CJ4vT3Jp1wJ/c/17871183314 .@punkinhead59 Psychosis is an abnormal condition of the mind that results in difficulties
               https://www.instagram.com 154294/r/17853804509450175 determining what is real and what is not real. Symptoms may include delusions and
               /p/CJ4vT3Jp1wJ/           /?hl=en                      hallucinations. Otherwise known as E Jean Carroll                                              autoredneck1           1/10/2021
                                         https://www.instagram.com/p/
               https://www.instagram.com B3kZBMnHkJ_/c/1786088130
CARROLL_002282 /p/B3kZBMnHkJ_/           4570551/?hl=en               Dumb and dumber 😂😂😂😂                                                                           av3dis                 11/4/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com B4dAFoDnkyx/c/17869344739
CARROLL_002265 /p/B4dAFoDnkyx/           511121/?hl=en                🤡🤡🤡🤡🤡🤡🤡🤡 ... I can’t wait for Trump to be re-elected ... #trump2020 .. dumb clown you are av3dis                      11/4/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1798137620
CARROLL_002335 /p/ByS3GZAnG8T/           8261206/?hl=en               Are you nuts! Go away!                                                                         bexleybrit             6/21/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1798365748 No e.jean we don’t believe you, just another trying to find another 15 minutes of
CARROLL_002335 /p/ByS3GZAnG8T/           6247238/?hl=en               fame.....@ejeancarroll1 give it up                                                             blissfullyjuju         6/21/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1797433208
CARROLL_002335 /p/ByS3GZAnG8T/           2266241/?hl=en               You witch come out 20 something years later go Trump                                           bones_2424             6/22/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1795454625
CARROLL_002335 /p/ByS3GZAnG8T/           7287106/?hl=en               Funny how you claim shit right as you sell a book....                                          bradenbeane            6/24/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1807704576 Fucking lying ass liberal lunatic!! Once this gets debunked, you'll be forgotten, just like
CARROLL_002335 /p/ByS3GZAnG8T/           4046921/?hl=en               Ford.......the Democrats will do ANYTHING to stop Trump, but it won't work. 😁😁😁😁               brayd76                6/21/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1804920937 You phonies that come out decades later are so obvious. Trump will chew you up and spit
CARROLL_002335 /p/ByS3GZAnG8T/           0190448/?hl=en               you out, just as you deserve. You piece of shit "PIG".                                         brucejosephbelange     6/21/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1807768636 Congratulations! Because of your selfishness, you made it harder for actual rape victims to be
CARROLL_002335 /p/ByS3GZAnG8T/           0051523/?hl=en               believed. Big round of applause 👏👏                                                             chaeunwoo2526z         6/27/2019
                    Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 3 of 67


Bates Number        Post URL             URL                          Post                                                                                             User                     Date
                                         https://www.instagram.com/p/
               https://www.instagram.com CbF28JKuJmw/c/1814640197
CARROLL_002007 /p/CbF28JKuJmw/           8279673/?hl=en               Oh, give it up sweetie. Everyone knows your motivation. How much are you getting paid?           coastalnc1                 9/20/2022
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1806065725
CARROLL_002335 /p/ByS3GZAnG8T/           0102367/?hl=en               So you decided to try and make yourself famous with bullshit?                                    corporal_bravo             6/22/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1804329416
CARROLL_002335 /p/ByS3GZAnG8T/           2151110/?hl=en               How much r dems paying u ?                                                                       couldubemoreretarded       6/21/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com CDmMlFXpkV5/c/179366346 Fraud 🤥🤥🤥🤥🤥🤥🤥🤥🤥🤥. Right before election. Sit down old lady no one believes you
               /p/CDmMlFXpkV5/           97394962/?hl=en              🤥🤥🤥🤥🤥🤥🤥🤥🤥🤥🤥🤥                                                                                     cty2022                     9/9/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1788500582 New book release right?!! Hahahaa Donald never touched you. It's obvious you are just
CARROLL_002335 /p/ByS3GZAnG8T/           5367171/?hl=en               getting attention for your book. Get real                                                        dcf__1327                  6/22/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com B4dAFoDnkyx/c/17861887022
CARROLL_002265 /p/B4dAFoDnkyx/           161011/?hl=en                you’re doing it for attention. weak.                                                             del8tedqw                 10/28/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com CEpdSFYp5Qn/c/1786156710
CARROLL_002146 /p/CEpdSFYp5Qn/           8193127/?hl=en               i think you should be held accountable for wasting everyone’s time.                              del8tedqw                 10/28/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com CG3TCMepYIi/c/1791184579
               /p/CG3TCMepYIi/           9517167/?hl=en               no one cares. because you’re a liar. 😄😄😄😄 try not to cry when DJT wins again.                    del8tedqw                 10/28/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com CGsjKyxJcHA/c/18169089745
CARROLL_002120 /p/CGsjKyxJcHA/           014249/?hl=en                they ducked because you’re a waste of time.                                                      del8tedqw                 10/28/2020
                                                                      I believe that you were raped as much as I believe that Epstein committed suicide. You’re a
                                         https://www.instagram.com/p/ fuckin joke, looking for clout in all the wrong places. Trying to ruin a mans life, who’s
               https://www.instagram.com CGsjKyxJcHA/c/18074167810 positively impacting American patriots and disabled vets like me.. burn in hell you evil
CARROLL_002120 /p/CGsjKyxJcHA/           241607/?hl=en                wench!!                                                                                          devontheveteran           10/27/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1804444765
CARROLL_002335 /p/ByS3GZAnG8T/           9150839/?hl=en               Such a liar.                                                                                     e_loves_h                  6/24/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com B4dAFoDnkyx/c/17880451438 the picture of mental illness. Get on some medication or get some professional mental help.
CARROLL_002265 /p/B4dAFoDnkyx/           801448/?hl=en                Everyone in America believes you are bat shit crazy.                                             ericmaulgeorgia             9/9/2020
                                                                      Another lying old dried up hag has been who is totally undesirable probably been single for
                                         https://www.instagram.com/p/ many years apart from her cats. Politicians need to protect powerful men from these “hail
               https://www.instagram.com ByS3GZAnG8T/c/1786486181 Mary ace in the hole sex assault fabrications”. Give long jail terms and heavy fines to all
CARROLL_002335 /p/ByS3GZAnG8T/           8417959/?hl=en               disproven claims.                                                                                fang__face                 6/22/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1787588828 .@stephmelancon1234 the dems probably payed her so he can get shade but they never will
CARROLL_002335 /p/ByS3GZAnG8T/           8376774/?hl=en               win #trump2020                                                                                   fortnitefortniteksksks     6/23/2019
                                         https://www.instagram.com/p/ Imagine waiting almost 30 years to make an accusation, and expecting to be taken seriously.
               https://www.instagram.com CGsjKyxJcHA/c/18083086027 You’re only doing this because the man became president. Clearly a false accusation by
CARROLL_002120 /p/CGsjKyxJcHA/           221982/?hl=en                someone looking for their 15 minutes of fame. 🤡🤡 @ejeancarroll1                                  fyourfeelings422          10/27/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com B79HiBBpbcP/c/17859035233
CARROLL_002241 /p/B79HiBBpbcP/           721848/?hl=en                30 years to tell your “story”. I am sure a book deal $$$$ will follow                            gah_0411                   1/31/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com B79HiBBpbcP/c/18104706706
CARROLL_002241 /p/B79HiBBpbcP/           107807/?hl=en                You wait 30 years to tell your “story”.                                                          gah_0411                   1/30/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com B79HiBBpbcP/c/18127759825
CARROLL_002241 /p/B79HiBBpbcP/           019423/?hl=en                You twisted up old hag! Who the fuck would "rape" you?!?! Evil fucking witch!                    ginovictory                1/31/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com CGsjKyxJcHA/c/18081883450 Pathetic.... you are a true POS... cry wolf years later? 20+ years??? Your a sorry sack of shit...
CARROLL_002120 /p/CGsjKyxJcHA/           220561/?hl=en                not brave... brave would have been to call it out then and there....                             gozmo10                   10/27/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com B8PDNbmJ5ZN/c/1784301952 Get a life..... I’m sure you couldn’t pay someone to have sex with you.... since you were fired
CARROLL_002232 /p/B8PDNbmJ5ZN/           6998753/?hl=en               (🤡🤡) for lying maybe work on yourself and see a therapist for compulsive lying.... dumbass       gozmo10                    2/20/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com B79HiBBpbcP/c/18075960604
CARROLL_002241 /p/B79HiBBpbcP/           175985/?hl=en                What a wh&%÷                                                                                     gozmo10                     2/8/2020
                                         https://www.instagram.com/p/
                                         BzlSnU-
               https://www.instagram.com narH/c/18057662437188524/?
               /p/BzlSnU-narH/           hl=en                        Your trash..                                                                                     gozmo10                    7/15/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1797549707
CARROLL_002335 /p/ByS3GZAnG8T/           8270745/?hl=en               💩💩💩💩💩💩💩💩💩💩💩💩💩💩                                                                                   gozmo10                    6/25/2019
                                         https://www.instagram.com/p/ It’s not about money…..but then the person you accuse of something defends themself by
               https://www.instagram.com ByS3GZAnG8T/c/1790972156 saying they didn’t do it and then you turn around and sue them for defamation when you
CARROLL_002335 /p/ByS3GZAnG8T/           0331457/?hl=en               were the one who made those claims in the first place?! Clown 🤡🤡                                 heric215                   3/14/2022
                                         https://www.instagram.com/p/
               https://www.instagram.com B8y0BpApXfp/c/17845195111
               /p/B8y0BpApXfp/           985150/?hl=en                No it’s because you lied about Trump raping you. You should be in jail 🤡🤡                        hollywoodkillaz            2/23/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1787520883
CARROLL_002335 /p/ByS3GZAnG8T/           0381224/?hl=en               Pathetic.... 23 years ago huh? Go back to the garbage you crawled out of....                     imsuchagurl                6/21/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1807933464 Your a fucking liar how come you come out now after 20 fucking years despicable how some
CARROLL_002335 /p/ByS3GZAnG8T/           1060062/?hl=en               people afe                                                                                       jacksonphelps_             6/21/2019
                                                                      You’re a Fck joke, you out the real victims at risk. It very flamboyantly of you to hang a dress
                                                                      for 24 years on your closet until it was appropriate for you to make your allegations public,
                                         https://www.instagram.com/p/ why now and not then!? That’s where I began to feel uncomfortable in believing you. Also
               https://www.instagram.com B79HiBBpbcP/c/17875588675 you accused Les Moonves of doing the same? Either regrets starts hitting you after or you just
CARROLL_002241 /p/B79HiBBpbcP/           531139/?hl=en                have bad luck, I’m sorry if that’s the case.                                                     jadedjoy17                 1/30/2020
                    Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 4 of 67


Bates Number        Post URL             URL                          Post                                                                                                User                Date
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1804541114
CARROLL_002335 /p/ByS3GZAnG8T/           8182435/?hl=en               Lyin’ like a rug!                                                                                   jamesbgrilling        6/25/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com B4dAFoDnkyx/c/17846584012
CARROLL_002265 /p/B4dAFoDnkyx/           907866/?hl=en                What a LIAR and poor excuse for a woman ....and this planned Griffin lover.                         jazzblkwht             2/8/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com B7OtxKWpyla/c/17925284023
               /p/B7OtxKWpyla/           364783/?hl=en                WH&>÷.                                                                                              jazzblkwht             2/8/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com B8PDNbmJ5ZN/c/1786698410 You are a SAD EXCUSE FOR A WOMAN. Democrates putting you up to this... you loser.
CARROLL_002232 /p/B8PDNbmJ5ZN/           2627204/?hl=en               STOP THIS. ALL THIS TIME YOU DIDN'T COMR FORWARD...Wh&%$.                                           jazzblkwht             2/8/2020
                                         https://www.instagram.com/p/
                                         B79HiBBpbcP/c/17859035233
               https://www.instagram.com 721848/r/17855963230771975
CARROLL_002241 /p/B79HiBBpbcP/           /?hl=en                      @hedgehogpiper1 shes an opportunist work for the DEMOCRATES.                                        jazzblkwht            1/31/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1807842813
CARROLL_002335 /p/ByS3GZAnG8T/           7044890/?hl=en               You seriously want us to believe President Trump would touch you with a 10 ft pole??? 🙄🙄            joshuafeuerstein      6/21/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1808045583
CARROLL_002335 /p/ByS3GZAnG8T/           4057056/?hl=en               You need serious mental help. !                                                                     josiewheel            6/27/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1787595360 Oh these lefty lib loons and their constant Fraud on society ! Shame on you !!! There are real
CARROLL_002335 /p/ByS3GZAnG8T/           1389098/?hl=en               victims of abuse !!!!                                                                               josiewheel            6/24/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1794182149
CARROLL_002335 /p/ByS3GZAnG8T/           0290058/?hl=en               Another lefty lib loon fraud. The whole Russian hoax blew up in your faces. 👎👎                      josiewheel            6/21/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1805858681
CARROLL_002335 /p/ByS3GZAnG8T/           2118436/?hl=en               You win clown of the day!🤡🤡                                                                         js_customs581         6/21/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com BuXLJWvnVf-                  Oh and what a perfect way to get your name out there to sell books!! Accuse POTUS of
               /p/BuXLJWvnVf-/           /c/18128236456016307/?hl=en sexual assault.. great strategy!👍👍                                                                   jsuggaw               6/22/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com CHgYpAUpBzD/c/179171156 Give it up. “The incident happened in the Fall of ‘95 or the Spring of ‘96.” A real victim
               /p/CHgYpAUpBzD/           33219389/?hl=en              NEVER forgets the very day it happened.                                                             kara.boss            11/12/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1791004648 What have the demoncrats promised you for this... sold your soul to the devils now didn’t
CARROLL_002335 /p/ByS3GZAnG8T/           3314594/?hl=en               you!!! Democratic hate is so great they will do anything to destroy our president... insanity!!!    keniepfs              6/21/2019
                                         https://www.instagram.com/p/ I don’t believe you. WE Trump supporters don’t believe you. I think you’re a liar. I think you
               https://www.instagram.com ByS3GZAnG8T/c/1807648021 were put up to it, possibly paid to do it & LIED. Same desperate bullshit playbook. Man, you
CARROLL_002335 /p/ByS3GZAnG8T/           0035576/?hl=en               losers are beyond pathetic.                                                                         kimmurraykemp         6/22/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1805132940
CARROLL_002335 /p/ByS3GZAnG8T/           4080701/?hl=en               You are 🥜🥜. I feel sorry for you.                                                                   kn33jurk              6/26/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1787135494 Lying cunt just looking for her 15 mins of fame. Liberalism is a mental disorder and this
CARROLL_002335 /p/ByS3GZAnG8T/           6397711/?hl=en               bitch has stage 4 stupidity                                                                         ktsdaddy312           6/23/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1787588828
CARROLL_002335 /p/ByS3GZAnG8T/           8376774/?hl=en               😂😂😂😂😂😂 you are no where near President Trump's taste. Good try🤡🤡                                    laurapichelle         6/23/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com CG3TCMepYIi/c/1788153080
               /p/CG3TCMepYIi/           8834476/?hl=en               I call foul. Those BG dressing rooms have ladies on and out. Not possible to be raped.              leigh75025           10/27/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com B1HBSJEHUdW/c/180081093
               /p/B1HBSJEHUdW/           40244963/?hl=en              Please get a life. Something changed in you. And not for the better. 💐💐                             leigh75025            8/13/2019
                                         https://www.instagram.com/p/
                                         B0HFPGdnS-                   You ignorant butch we have a Constitutional Republic. Look that up. And your sister bitch is
               https://www.instagram.com K/c/17987718931259502/?hl= antiAmerican. Why do you hate America? I cancelled all Elle products. All. Why do you side
               /p/B0HFPGdnS-K/           en                           with antiAmerican assholes?                                                                         leigh75025            7/19/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1799978731 She looks mental. Wow cray cray #WeThePeople are not dumb enough to fall for your
CARROLL_002335 /p/ByS3GZAnG8T/           3232369/?hl=en               Alzheimer’s fantasy. Your career is done ✅. KAG                                                     leigh75025            6/24/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com Bp2jqWGHAK7/c/179287876
CARROLL_002412 /p/Bp2jqWGHAK7/           78358900/?hl=en              Totally mentally stable and definitely not a political motive behind your “rape”                    libertasvindicata     1/30/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com BuXLJWvnVf-
               /p/BuXLJWvnVf-/           /c/18078183820047126/?hl=en Hahahahaha you’re a joke!!! 🎉🎉                                                                       linajuncaj            6/24/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1800006968
CARROLL_002335 /p/ByS3GZAnG8T/           8234278/?hl=en               You enjoying the attention? How much is the DemocRATS paying you?                                   lolarockenrolla       6/25/2019
                                                                      I don't believe you because the only thing you got his skin cells. Why didn't you report it 20
                                         https://www.instagram.com/p/ some years ago that's what makes you a liar and anybody that follows you you will all go to
               https://www.instagram.com CDmMlFXpkV5/c/179732556 hell you are a disgusting person and you will get yours one day cuz Jesus said revenge is
               /p/CDmMlFXpkV5/           55320495/?hl=en              mine I will repay                                                                                   louisesmith1478        9/9/2020
                                         https://www.instagram.com/p/ LIES!!! 🤡🤡 Just trying to sell your shitty books!! Literally no one believes the leftist bullshit
               https://www.instagram.com ByS3GZAnG8T/c/1805536552 anymore and I hope you’re sued to hell and back for FALSE allegations!! Liar!!
CARROLL_002335 /p/ByS3GZAnG8T/           3120673/?hl=en               💩💩#rememberwhathappenedtostormy                                                                     luckyswampazz         6/21/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com BwAGojeHzpJ/c/18058528975
CARROLL_002365 /p/BwAGojeHzpJ/           114953/?hl=en                Ewww 🤢🤢🤢🤢🤢🤢                                                                                         luckyswampazz         6/21/2019
                                         https://www.instagram.com/p/
                                         B0HFPGdnS-
               https://www.instagram.com K/c/17849213113503154/?hl=
               /p/B0HFPGdnS-K/           en                           Whatever you say psycho!!!!! 🖕🖕                                                                     magagigi_             7/20/2019
                    Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 5 of 67


Bates Number       Post URL              URL                          Post                                                                                         User                     Date
                                         https://www.instagram.com/p/
               https://www.instagram.com Bz_fFxanaMo/c/17848655461
CARROLL_002318 /p/Bz_fFxanaMo/           508072/?hl=en                2 SICK PATHETIC LOSERS!                                                                      magagigi_                  7/20/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1805687326 @valearle E Jean appears to be another partisan nut like Dr Cant Remember Shit Ford. Over
CARROLL_002335 /p/ByS3GZAnG8T/           0121915/?hl=en               these pathetic women making a mockery out of real victims                                    margotina_j                6/24/2019
                                                                      @ejeancarroll1 And you have to accuse an innocent man of rape, to get your book
                                         https://www.instagram.com/p/ published!!! Shame on you!! You ramble on about this bs, & it's painfully obvious that you
               https://www.instagram.com BuXLJWvnVf-                  have NOT been through it!!! I hope that Uncle @georgesoros is paying you good for your
               /p/BuXLJWvnVf-/           /c/17901787027333345/?hl=en lies, because you have hurt rape survivors by lying!!!                                        marta_obrien1972           6/29/2019
                                         https://www.instagram.com/p/
                                         B9W91YYJZ-
               https://www.instagram.com 9/c/18282706600039916/?hl=e But WHY are you SO OBSESSED with Donald Trump. You seem to have a Mental Illness
               /p/B9W91YYJZ-9/           n                            going on. There’s definitely something WRONG with you e Je                                   matriculated_babi           3/2/2022
                                         https://www.instagram.com/p/ Here is the thing psycho liar- accrual women who have been sexually assaulted like myself
               https://www.instagram.com ByS3GZAnG8T/c/1804375747 are done a massive dis service by liars like yourself. I hope you get hauled off to the looney
CARROLL_002335 /p/ByS3GZAnG8T/           6153792/?hl=en               bin. I also think your a disgrace and a disgusting excuse for a women. 🤮🤮                    memimoannajoanna           6/23/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com BuXLJWvnVf-
               /p/BuXLJWvnVf-/           /c/17861093338433387/?hl=en Your an old lonely hat that no one loved and it shows ! 🤮🤮🤮🤮🤮🤮                                memimoannajoanna           6/23/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1784506009 You lying old hag, funny how you had to wait untill Trumps election campaign to start to
CARROLL_002335 /p/ByS3GZAnG8T/           9492609/?hl=en               come out with this bullshit.                                                                 michelle.chambers.1979     6/22/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com BvXQ9D3n14L/c/1786535232
               /p/BvXQ9D3n14L/           4411175/?hl=en               Best photo I've seen of e Jean carrol. What? That's her dog you say? Could fooled me         mind_ape                   6/24/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com BtZT6GAHnJ-
CARROLL_002385 /p/BtZT6GAHnJ-/           /c/17856350116442987/?hl=en You UGGGGGGGLEEEEEEE AF                                                                       mind_ape                   6/24/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com Bp2jqWGHAK7/c/178759360
CARROLL_002412 /p/Bp2jqWGHAK7/           69387287/?hl=en              Cringe af                                                                                    mind_ape                   6/24/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1800812631
CARROLL_002335 /p/ByS3GZAnG8T/           7216228/?hl=en               Never heard of you. Elle magazine? Does anyone buy it? You are ugly as a mud fence.          missedtoomuch              6/22/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1804363858
CARROLL_002335 /p/ByS3GZAnG8T/           3150664/?hl=en               Who's paying you? Lol!                                                                       n_adine.s                  6/22/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com Bp2jqWGHAK7/c/180095811
CARROLL_002412 /p/Bp2jqWGHAK7/           22222860/?hl=en              Why would he even touch you                                                                  nico_kemp1134              6/22/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1789988559
CARROLL_002335 /p/ByS3GZAnG8T/           7327215/?hl=en               Please no one ever attacked you where's your proof                                           ogfortysix                 6/24/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1787582112
CARROLL_002335 /p/ByS3GZAnG8T/           4380146/?hl=en               Strange you’re just coming out about this now at the same time as your book                  p__flakes                  6/24/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1804725120
CARROLL_002335 /p/ByS3GZAnG8T/           7189336/?hl=en               you’re a damn liar                                                                           parkerparris_              6/22/2019
                                         https://www.instagram.com/p/
                                         BzlSnU-
               https://www.instagram.com narH/c/17910766699316590/?
               /p/BzlSnU-narH/           hl=en                        FAKE NEWS. Take your meds                                                                    pennington1452              7/6/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com CiyAr0JJLso/c/179224675795 Still pulling at straws loser …why don’t you join that other other the attorney general or
               /p/CiyAr0JJLso/           77080/?hl=en                 some shit & look for nonsense all day ..move on                                              poochie3728                9/21/2022
                                         https://www.instagram.com/p/
               https://www.instagram.com Cam9AoZlC4J/c/17928055052
               /p/Cam9AoZlC4J/           118279/?hl=en                Stop your lying …                                                                            poochie3728                 3/2/2022
                                         https://www.instagram.com/p/
               https://www.instagram.com CHTXiWtp5r-
               /p/CHTXiWtp5r-/           /c/17848260383408386/?hl=en Forgot about your law suit drunk                                                              poochie3728                11/7/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com CG3TCMepYIi/c/1790732274
               /p/CG3TCMepYIi/           1542933/?hl=en               lies                                                                                         poochie3728               10/27/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com CEpdSFYp5Qn/c/1796063902
CARROLL_002146 /p/CEpdSFYp5Qn/           0343898/?hl=en               So you got a 2nd wind after being fired , new job ..lying                                    poochie3728                 9/2/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com B79HiBBpbcP/c/17924334226
CARROLL_002241 /p/B79HiBBpbcP/           367482/?hl=en                what an idiot                                                                                poochie3728                1/30/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com B7OtxKWpyla/c/17929597843
               /p/B7OtxKWpyla/           351460/?hl=en                and liars get no where                                                                       poochie3728                1/12/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com B4ktzWZnHmF/c/1798535551
               /p/B4ktzWZnHmF/           6304539/?hl=en               2 loons                                                                                      poochie3728                11/7/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com B4dAFoDnkyx/c/18105872746
CARROLL_002265 /p/B4dAFoDnkyx/           070643/?hl=en                We don’t need you to lie for us loon !                                                       poochie3728                11/4/2019
                    Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 6 of 67


Bates Number        Post URL                  URL                     Post                                                                                          User               Date
                                                                      when ALL else fails blame “Trump”, lol I hope you get federal prison for your lies. Can’t
                                                                      take responsibility for your own failures so you have that 1 lifeline left to blame TRUMP
                                                                      😂😂😂😂😂😂😂😂😂😂😂😂😂😂God, you liberal lunatics are demonic liars and when you get exposed
                                                                      which you WILL the entire world will be laughing at you, much like billions of people are
                                                                      now. Nobody sexually assaulted YOU, you have Trump Derangement Syndrome and need a
                                                                      professional mental guidance counselor to help YOU PAST YOUR made up delusions. I
                                                                      wonder how much the DNC paid you to ruin your entire career . You’re another lunatic with
                                                                      fake accusations which discredit REAL woman who have gone through the horrors of REAL
                                                                      sexual assault and you should be ashamed of yourself. This stunt will FAIL just like ALL the
                                                                      bogus mentally disturbed woman before you. I do hope and pray you get the mental treatment
                                                                      that you need but I also hope you get consequences for your allegations in federal court, I
                                                                      hope they lock you up for the FEDERAL level of lying. This is demonism at its finest.
                                                                      You’re probably just mad that you had a crush on him in the 90’s and he never paid you any
                                                                      attention. You got fired because YOU are a blast at liar with NO journalism integrity, you’re
                                         https://www.instagram.com/p/ no journalist you’re an activist for the liberal party and the people paying attention with a
               https://www.instagram.com B8y0BpApXfp/c/18133968577 brain that still functions knows you’re a deceitful liar. May you be met with the exact same
               /p/B8y0BpApXfp/           098950/?hl=en                kindness and lies that YOU present to the world.                                              rachalina11           9/9/2020
                                                                      🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺TRUMP is YOUR PRESIDENT. MAGA
                                                                      COUNTRY! One day you’ll be on a LIST of communist and WE THE PEOPLE will NEVER
                                                                      forget. YOU will FAIL at ALL your LIES in the MIGHTY NAME OF JESUS! You practice
                                                                      demonism and the whole world 🌎🌎 will see YOU for what YOU are, a jealous, lonely,
                                                                      lunatic liberal communist Nazi that YOU
                                         https://www.instagram.com/p/ ARE#Freespeech#liarswillhavetheirday#demonism#fakevictim#liar#deceitfuldemon I hope
               https://www.instagram.com CCKAPeEJ7F6/c/1795428092 YOU go to federal prison when the DOJ puts YOU on full blast. Only a Blind FOOL would
CARROLL_002166 /p/CCKAPeEJ7F6/           2352493/?hl=en               EVER believe YOU. #Shamelesswitch#lyingliberals                                               rachalina11           9/9/2020

                                                                      Did you forget to post the pictures of Epstein with Hillary and Bill Clinton, how about the
                                                                      Bill Clinton photo of him wearing the “monica lawenski” blue dress on EPSTEIN Island, or
                                                                      how about the photo of the log book which shows every major politician and wealth celebrity
                                                                      going in that mans private jet to molest children and partake in private rituals, Trump was
                                                                      NEVER on that log and bill Clinton was on it that they know of 26 times. Trump kicked
                                                                      Epstein out of his businesses ( not 1 celebrity did that except for Trump) the Clinton’s STILL
                                                                      hung out with Epstein after Trump kicked him out of margo largo. I guess you forgot those
                                                                      photos huh? All the photos with Epstein and @theonetomhanks, Madonna Hilliard Clinton,
                                                                      Bill Clinton, Whoopi Goldberg, the lust goes on and on and YOY CHOOSE this 1 photo of
                                                                      Trump taking a photo from 20 years ago prior to Trump knowing anything about him????
                                                                      What about the celebrities and politicians that hung out with this man on a daily basis and
                                                                      went to his private Island? Where is your integrity when it comes to seeking out the real truth
                                                                      of how Jeffrey Epstein’s closest friends were all Democrats and had a very close relationship
                                         https://www.instagram.com/p/ with the Obamas and Clintons and prince Andrew in England where is all your photos of
               https://www.instagram.com CCKAPeEJ7F6/c/1787831624 them together? You’re a lowlife disgusting decrepit person for not listing all the other photos
CARROLL_002166 /p/CCKAPeEJ7F6/           5830366/?hl=en               of the people that you politically agree with that makes you a hypocrite.                       rachalina11         9/9/2020
                                                                      Almost every post is in regard to TRUMP it shows your hysteria over him in your
                                                                      derangement syndrome. You are a LIAR 🤥🤥 LIAR 🤥🤥. You’re trying to stay relevant and it
                                                                      won’t work, just like the loser woman before YOU who falsely accuse TRUMP you’ll be
                                                                      discredit and shamed forever. I think deep down YOU had a thing for him in the 90’s and he
                                                                      wouldn’t even glance at you. The country SEES your hypocrisy, lying, deceit for what it is.
                                                                      YOUR underline issue is severe mental illness when a person actually believes the Fantasies
                                                                      they IMAGINE in their possessed brains. You may be able to fool a bunch of dumb liberals
                                                                      because they believe ANYTHING without proof or evidence but the billions of people who
                                                                      still have functioning brains KNOW YOUR A LIAR and I hope and pray that YOU get
                                                                      federal prison time for this BOGUS BS! Trump will be your president for 4 more years,
                                                                      during that time may I suggest you get your crayons 🖍🖍 and a drooling 🤤🤤 bib and set in a
                                                                      safe space . YOU WILL answer for this LIE one day and when you do, you’re entire career
                                                                      will be ruined ( much like your brain). Shame on you for pretending to be a VICTIM to a
                                                                      made up scenario when REAL woman try to seek justice for the horrors of REAL sexual
                                                                      assault, you discredit millions of woman worldwide with your fantasies . You probably sit at
                                                                      home and wish you were a victim which makes YOU a severe candidate of mental illness.
                                                                      GOD WILL MAKE SURE YOU GET EXACTLY WHAT YOU LIE ABOUT. I swear you
                                                                      liberals now of days have to go make up scenarios with your demonism spirit. WE ALL
                                                                      KNOW YOUR A
                                                                      LIAR#Trump2020#Trump#MelaniaTrump#MAGA#Maga2020#DOJ#trumpderangementsyn
                                         https://www.instagram.com/p/ drome#lyinglibtards#democratsarecommunist#partyofdeathandtaxes#notArealvictim#moneyh
               https://www.instagram.com CDmMlFXpkV5/c/179236569 ungry#jealousOldlady#TRUMPTRUMPTRUMP . Your ignorance has FAR outpaced your
               /p/CDmMlFXpkV5/           10439637/?hl=en              intelligence.                                                                                   rachalina11         9/9/2020
                                                                      LIAR 🤥🤥 LIAR 🤥🤥 LIAR 🤥🤥 Not YOU or any other person had a problem with
                                                                      TRUMP@realdonaldtrump for 30 years until he ran as a REPUBLICAN. I pray that YOU get
                                                                      the EXACT same “kindness” ten fold that YOU’VE made up on others. This is your LAST
                                                                      ATTEMPT to stay relevant and it WILL be crushed IN THE MIGHTY NAME OF JESUS.
                                                                      One day you’ll meet your maker and will have to Answer for your deceptions and demonism.
                                                                      You are a disgrace to REAL WOMAN who have gone through sexual assault horrors. Donald
                                                                      Trump wouldn’t touch you much less even glance at you, bet that’s why You made up this
                                                                      BOGUS story. After ALL these years too??? Somebody in your family needs to get you
                                                                      immediately checked out for delusions, I feel sorry for ANY person who believes your lies
                                                                      from the PIT of HELL where THEY CAME FROM.
                                         https://www.instagram.com/p/ #Trump2020#TrumpdidnttouchYOU#Magacountry#maga#DonaldTrump#donaldtrumpjr#TD
               https://www.instagram.com CEpdSFYp5Qn/c/1815854954 S2020#LyingShedevil. Trying to stay relevant OFF LIES is the lowest FORM OF
CARROLL_002146 /p/CEpdSFYp5Qn/           2056519/?hl=en               HUMANITY. Shame on you and your entire family.                                                  rachalina11         9/9/2020
                                                                      Bunch of liars with mental illness is what you are and you discredit real women who have
                                         https://www.instagram.com/p/ had to go through the horrors of actually being sexually assaulted. Anybody that would even
               https://www.instagram.com CEpdSFYp5Qn/c/1789529986 believe you are back to you is just as delusional as you are please go seek professional help
CARROLL_002146 /p/CEpdSFYp5Qn/           6601926/?hl=en               for your made up FAKE victim mentality                                                          rachalina11         9/9/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1800910705
CARROLL_002335 /p/ByS3GZAnG8T/           9217389/?hl=en               This old kunt lies!                                                                             raul_mint          6/21/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com Bz_fFxanaMo/c/18134589967
CARROLL_002318 /p/Bz_fFxanaMo/           101888/?hl=en                Vile                                                                                            reidchristianm      9/8/2020
                    Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 7 of 67


Bates Number       Post URL              URL                           Post                                                                                           User                Date
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1785146998
CARROLL_002335 /p/ByS3GZAnG8T/           3462546/?hl=en                What a LYING piece of trash!! The idiots who believe your dumb ass are worse than you!!        rgee805               6/26/2019
                                         https://www.instagram.com/p/ Yeah coz a billionaire who beautiful women throw themselves at and used to dating models
               https://www.instagram.com BwpZqrRHwTJ/c/1788557187 raped a 52 year old bird in broad daylight in a busy department store who just happens to be a
CARROLL_002356 /p/BwpZqrRHwTJ/           4368250/?hl=en                mad Clinton supporter #jussiesmullet #fake                                                     richardpe             6/24/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1787512662
CARROLL_002335 /p/ByS3GZAnG8T/           4389163/?hl=en                What a joke! You are as stupid as you look                                                     rose_ella_chap        6/21/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1790066100 A radical feminist accuses Trump of rape, just before your new book comes out. Great
CARROLL_002335 /p/ByS3GZAnG8T/           4326904/?hl=en                marketing strategy. And I don't believe you.                                                   ryanmckillop42        6/24/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1791034505
CARROLL_002335 /p/ByS3GZAnG8T/           2311645/?hl=en                You are retarded I know an attention seeker when I see one                                     ryder.sain            6/24/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1789053693
CARROLL_002335 /p/ByS3GZAnG8T/           1358876/?hl=en                You need one shoved up that old dirt road😜😜😜😜                                                  scootlesdoodles       6/24/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com BtZT6GAHnJ-
CARROLL_002385 /p/BtZT6GAHnJ-/           /c/17847121663481434/?hl=en You look like you got a corn cob stuck up that old dusty road😜😜                                  scootlesdoodles       6/24/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1804286297
CARROLL_002335 /p/ByS3GZAnG8T/           8158772/?hl=en                Ugly skank                                                                                     scuba_skip            6/21/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com BvXQ9D3n14L/c/1785343998
               /p/BvXQ9D3n14L/           4454911/?hl=en                Ugly dime a dozen mutt                                                                         scuba_skip            6/21/2019
                                         https://www.instagram.com/p/
                                         BJlJkW6ge-
               https://www.instagram.com 2/c/17966493373278278/?hl=e
               /p/BJlJkW6ge-2/           n                             I'd rather sleep with the one on the right                                                     scuba_skip            6/21/2019
                                         https://www.instagram.com/p/_
               https://www.instagram.com xUGRKRjI7/c/1795336066328
               /p/_xUGRKRjI7/c           5992/?hl=en                   Hey hipster doofus                                                                             scuba_skip            6/21/2019
                                                                       Guess how I know Trump’s latest sexual assault accuser is lying?
                                                                       1. It happened over 20 years ago.
                                                                       2. There were no witnesses.
                                                                       3. She won’t file charges.
                                         https://www.instagram.com/p/ 4. She just wrote a book.
               https://www.instagram.com BtZT6GAHnJ-                   5. E. Jean Carroll looks like Gary Busey.
CARROLL_002385 /p/BtZT6GAHnJ-/           /c/17861597365431580/?hl=en There needs to be harsh penalties for false accusers like this.                                  senseikurt            6/25/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1808024203
CARROLL_002335 /p/ByS3GZAnG8T/           0020276/?hl=en                Complete freak and liar 🖕🖕                                                                     sneakyd50             6/26/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com BwpZqrRHwTJ/c/1806808786
CARROLL_002356 /p/BwpZqrRHwTJ/           0076619/?hl=en                Looks like a homeless bitch 🖕🖕                                                                 sneakyd50             6/21/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1787588828 @laurapichelle exactly..she is lying just like the ithers, has a bad case of tds and someone
CARROLL_002335 /p/ByS3GZAnG8T/           8376774/?hl=en                paid her to do it. These gals need some jail time                                              stephmelancon1234     6/23/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1791313406
CARROLL_002335 /p/ByS3GZAnG8T/           5308404/?hl=en                You should be Arrested for false accusations.                                                  stgriff14             6/30/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com B8y0BpApXfp/c/17877713395
               /p/B8y0BpApXfp/           550776/?hl=en                 This disgusting disgrace lady is a liar                                                        stylehangers2020      2/20/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com B8y0BpApXfp/c/17882347849
               /p/B8y0BpApXfp/           519443/?hl=en                 Who touch this lying 🤥🤥 lady please just another freak trying to trash the President liar liar stylehangers2020      2/20/2020
                                         https://www.instagram.com/p/
                                         B-
               https://www.instagram.com nFx2VptlE/c/17864977913023
CARROLL_002188 /p/B-nFx2VptlE/           410/?hl=en                    OK now we know why you are making up stories to get attention! Get mental help!                suedublu               9/9/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com B79HiBBpbcP/c/17848440299 And why did you not report this 20 years ago! Who keeps a dress with semen on it for more
CARROLL_002241 /p/B79HiBBpbcP/           326438/?hl=en                 than 20 years? DISGUSTING!                                                                     suedublu               9/9/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com B7OtxKWpyla/c/17953369516 You look like a “they” ! Report should have been filed over 20 years ago! Now its worth cash
               /p/B7OtxKWpyla/           363106/?hl=en                 from the DEMS right?                                                                           suedublu               9/9/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com B8PDNbmJ5ZN/c/1785038156
CARROLL_002232 /p/B8PDNbmJ5ZN/           0281452/?hl=en                No dignity so must be in it for the payoff from Biden’s campaign!                              suedublu               9/9/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com B8y0BpApXfp/c/17855149748
               /p/B8y0BpApXfp/           197906/?hl=en                 How old are you? Vengeance huh? Nobody reports a crime 20 years later! LIAR                    suedublu               9/9/2020
                                         https://www.instagram.com/p/
                                         B9W91YYJZ-
               https://www.instagram.com 9/c/18160917751000969/?hl=e 20 years after the fact? Who does that? How much did you get from the Democrats? Bet
               /p/B9W91YYJZ-9/           n                             Pelosi chipped in! LIAR                                                                        suedublu               9/9/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com CBd1umxpTiA/c/1786801573 Give her a lie detector test? How much did the Biden campaign pay you? Cmon 20 YEARS
               /p/CBd1umxpTiA/           3995238/?hl=en                AGO and you are just now telling the world?                                                    suedublu               9/9/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com CCJcjwcp30S/c/17906708770 Joe has the same reputation but Republicans don’t pay women to make up stories! Why did
               /p/CCJcjwcp30S/           513508/?hl=en                 you wait 20 years BIMBO?                                                                       suedublu               9/9/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com CCKAPeEJ7F6/c/1816096902
CARROLL_002166 /p/CCKAPeEJ7F6/           7054306/?hl=en                And you waited 20 years to come forward? Did Joe Biden’s campaign fund pay you? LIAR!!! suedublu                      9/9/2020
                   Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 8 of 67


Bates Number       Post URL              URL                          Post                                                                                       User                  Date
                                         https://www.instagram.com/p/
               https://www.instagram.com CDmMlFXpkV5/c/180250062
               /p/CDmMlFXpkV5/           16303571/?hl=en              Who would do you? Why did you wait 20 or more YEARS! Disgusting!!!!                        suedublu                 9/9/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com CEpdSFYp5Qn/c/1812450289
CARROLL_002146 /p/CEpdSFYp5Qn/           6184469/?hl=en               Why now LIAR! No credibility when you wait 20 or more YEARS! Disgusting!!!!                suedublu                 9/9/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1790114439
CARROLL_002335 /p/ByS3GZAnG8T/           4332452/?hl=en               @ejeancarroll1 YOU FILTHY LIAR                                                             superiortrucks1514      6/26/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1804520783
CARROLL_002335 /p/ByS3GZAnG8T/           5156549/?hl=en               Another Ford spotted ☝🏽🏽 #liar ! Who paid you??? 🤔🤔                                        suri.king               6/23/2019
                                         https://www.instagram.com/p/ This man has been in office for almost four years and now all of a sudden you wanna come
               https://www.instagram.com ByS3GZAnG8T/c/1804793742 out a claim "rape?" And not only that, it's almost election season. You hoes are nothing short
CARROLL_002335 /p/ByS3GZAnG8T/           7132424/?hl=en               of predictable.                                                                            sweetest_anisha         6/21/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com Bp2jqWGHAK7/c/180002632 God you are ugly....I cannot imagine any man getting a hard on for you. Let alone the
CARROLL_002412 /p/Bp2jqWGHAK7/           06233790/?hl=en              President who has a history with beautiful women....not dogs.                              tambragalick            6/24/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1789068877
CARROLL_002335 /p/ByS3GZAnG8T/           9356795/?hl=en               Hmm book release in July and sexual assault CLAIM in June right before. What a coincidence theroanannickelson      6/22/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1788302906
CARROLL_002335 /p/ByS3GZAnG8T/           8371390/?hl=en               Fraud! Trump should press charges on you!                                                  toyagurl25              6/25/2019
                                         https://www.instagram.com/p/
                                         B79HiBBpbcP/c/17871880870
               https://www.instagram.com 572108/r/17842328206977570
CARROLL_002241 /p/B79HiBBpbcP/           /?hl=en                      Trump didn't touch that cheap dress with a subpar woman in it                              tuliptraderjambo        1/30/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com B7OtxKWpyla/c/17848344724
               /p/B7OtxKWpyla/           888841/?hl=en                I would bet my net worth trump didnt touch you. Take a lie detector test.                  tuliptraderjambo        1/30/2020
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1795683666
CARROLL_002335 /p/ByS3GZAnG8T/           4282661/?hl=en               23 years ago, r u running out of money? Does libtard-sh1t dont pay enough anymore?         wallababbehur           6/21/2019
                                         https://www.instagram.com/p/
               https://www.instagram.com ByS3GZAnG8T/c/1804471281
CARROLL_002335 /p/ByS3GZAnG8T/           7178776/?hl=en               Tell the truth your doing it for the attention and money                                   workmyfinger2dabone     6/24/2019
                    Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 9 of 67


D at e              P ost T e xt                                                                                                                               U RL
                                                                                                                                                               htt ps://t witt er. c o m/ 1/st at us/ 1 5 7
2 0 2 2- 0 9- 2 1   @ d c e x a mi n er @ ej e a n c arr oll st u pi d bit c h                                                                                 2592008316981250
                                                                                                                                                               htt ps://t witt er. c o m/ 1/st at us/ 1 5 7
2 0 2 2- 0 9- 2 1   @ n yti m es e. j e a n c arr oll is a. cr a z y p ers o n.                                                                                2467301315940352
                                                                                                                                                               htt ps://t witt er. c o m/ 1/st at us/ 1 4 3
2 0 2 1- 0 9- 1 6   @ d c e x a mi n er att e nti o n w h or e                                                                                                 8311461110095873
                                                                                                                                                               htt ps://t witt er. c o m/ 1/st at us/ 1 4 0
2 0 2 1- 0 6- 0 8   @ n yti m es t h at's b e c a us e e v e n t h e bi d e n a d mi nistr ati o n k n o ws s h e's b at-s hit cr a z y.                       2142022874681345
                                                                                                                                                               htt ps://t witt er. c o m/ 1/st at us/ 1 3 1
2 0 2 0- 1 0- 0 6   @ n yti m es i' v e s e e n t his w o m a n's i nt er vi e ws. s h e's b ats hit cr a z y. y o u p pl will b eli e v e a n yt hi n g.      3310141144600577
                    @ n yti m es g et t h e f u c * o utt a h er e!. i' m g o n n a s e n d t h at l yi n g b ut c h bit c h p a c ki n g. f or r e al
                    l a d y. n o t ol er a n c e t o d a y f or t his fir e-st arti n g d e m o cr ats. i' m g o n n a g et d o w n! t h e y b es w at c h     htt ps://t witt er. c o m/ 1/st at us/ 1 3 0
2 0 2 0- 0 9- 1 2   t h e m dirt y tr a ps. d e ns e as c a n b e. g et a f u * c k e n cl u e, s c u m b a gs.                                                4903451625713664
                    @ n yti m es aft er all t h e w o m e n w h o h a v e li e d i n c o urt u n d er o at h a b o ut b ei n g r a p e d b y
                    s o m e o n e i n or affili at e d wit h t h e tr u m p a d mi nistr ati o n, y e a h i m a c all t his bit c h a li ar. l o o k
                    a n yt hi n g y o u d e m o n cr ati c p art y t o u c h es is c orr u pt a n d f ull of li e t o h ol d p o w er o v er y o u, t h eir    htt ps://t witt er. c o m/ 1/st at us/ 1 3 0
2 0 2 0- 0 9- 0 9   br ai nl ess s h e e p                                                                                                                     3742205648142336
                    @ n yti m es w o w ... t his is ol d a n d s o pr e di ct a bl e b e h a vi or... w e all k n o w t his is n’t tr u e ... l o c k          htt ps://t witt er. c o m/ 1/st at us/ 1 3 0
2 0 2 0- 0 9- 0 9   t h at bit c h u p f or l yi n g                                                                                                           3700235210891265
                                                                                                                                                               htt ps://t witt er. c o m/ 1/st at us/ 1 2 8
2 0 2 0- 0 7- 1 1   @ d c e x a mi n er @r e al d o n al dtr u m p @ ej e a n c arr oll o h i r e m e m b er t his l a d y cr a z y                            1978213082599425
                    @ n yti m es @s et h a br a ms o n g e e z.. c o ul d it p ossi bl y h a v e a n yt hi n g t o d o wit h t h e f a ct t h at t h e         htt ps://t witt er. c o m/ 1/st at us/ 1 2 3
2 0 2 0- 0 2- 2 4   l a d y is b at s hit cr a z y ?                                                                                                           1949551348715528
                    @ d c e x a mi n er @ ej e a n c arr oll @ ell e m a g a zi n e @r e al d o n al dtr u m p h er c ol u m n w as s m utt y                  htt ps://t witt er. c o m/ 1/st at us/ 1 2 3
2 0 2 0- 0 2- 2 0   g ar b a g e. s h e’s cr a z y.                                                                                                            0373245863571462
                    @ n yti m es s o o nl y b c cr a z y is a c c usi n g tr u m p s h e g ets a st or y i n t h e n yt... w a nt s o m e c h e es e           htt ps://t witt er. c o m/ 1/st at us/ 1 2 3
2 0 2 0- 0 2- 1 9   wit h t h at w hi n e ?                                                                                                                    0199503304757248
                    @ d c e x a mi n er @ ej e a n c arr oll @ ell e m a g a zi n e @r e al d o n al dtr u m p s h e n e e ds t o t a k e
                    r es p o nsi bilit y! s h e is t h e cr a z y p ers o n t h at c a m e o ut t al ki n g all o v er t h e pl a c e.. gr o w u p ! t a k e   htt ps://t witt er. c o m/ 1/st at us/ 1 2 3
2 0 2 0- 0 2- 1 9   r es p o nsi bilit y! y o u w er e o n a missi o n t o d estr o y o ur pr esi d e nt. k ar m a g ot y a!                                   0179039991812096
                    @ d c e x a mi n er @ ej e a n c arr oll @ ell e m a g a zi n e @r e al d o n al dtr u m p w o w its cr a z y h o w p e o pl e c a n
                    n ot a d mit w h at t h e y d o a n d t h eir c o ns ci e n c es f or it. i nst e a d gl a m s o m e o n e els e f or t h eir       htt ps://t witt er. c o m/ 1/st at us/ 1 2 3
2 0 2 0- 0 2- 1 9   pr o bl e ms.                                                                                                                       0167762720288768
                    @ d c e x a mi n er @ ej e a n c arr oll @ ell e m a g a zi n e i’ m t hi n ki n g t h e cr a z y i nt er vi e ws s h e di d l ast  htt ps://t witt er. c o m/ 1/st at us/ 1 2 3
2 0 2 0- 0 2- 1 9   y e ar ar e t h e m or e li k el y r e as o n                                                                                       0167093708021761
                    @ n yti m es r ussi a f ail e d & a m p; t h e y br o u g ht h er o ut, w e l a u g h e d h er cr a z y ass off st a g e.           htt ps://t witt er. c o m/ 1/st at us/ 1 2 2
2 0 2 0- 0 2- 0 1   u kr ai n e f ails & a m p; t h e y bri n g h er b a c k a g ai n ? d o t h e y e v er l e ar n ?                                   3440225835388929
                                                                                                                                                        htt ps://t witt er. c o m/ 1/st at us/ 1 2 2
2 0 2 0- 0 2- 0 1   @ n yti m es g o o d l or d w h o br o u g ht t his bit c h o ut t h e d e ms ar e tr yi n g e v er y w hi c h w a y                3413326203539462
                    @ n yti m es s o w h y di d n't t his bit c h c o m e o ut 3 0 y e ars a g o w h e n t his e n c o u nt er s u p p os e dl y        htt ps://t witt er. c o m/ 1/st at us/ 1 2 2
2 0 2 0- 0 1- 3 1   h a p p e n e d. if it w as n't i m p ort a nt t h e n, w h y m a k e u p s hit n o w.                                              3341441667067904
                    @ n yti m es h a h a t his l a d y is cr a z y if i w er e tr u m p i w o ul d m a k e d a m n s ur e a n y w h er e t h at         htt ps://t witt er. c o m/ 1/st at us/ 1 2 2
2 0 2 0- 0 1- 3 1   s a m pl e g o es m y att or n e y g o es                                                                                           3313754512875523
                                                                                                                                                        htt ps://t witt er. c o m/ 1/st at us/ 1 2 2
2 0 2 0- 0 1- 3 1   @ n yti m es t his is t h e cr a z y h a c k ? g o o d g o d.                                                                       3285270226796544
                    @ n yti m es c a n w e st o p t his n o ns e ns e alr e a d y ? y o u g u ys ar e st arti n g t o l o o k d es p er at e b y        htt ps://t witt er. c o m/ 1/st at us/ 1 2 2
2 0 2 0- 0 1- 3 1   pr o p pi n g u p cr a z y p e o pl e li k e h er.                                                                                  3274154880913410
                    @ n yti m es t his l a d y is w h a c k e d 😂😂 😂😂 😂😂 j ust a n ot h er cr a z y li b er al tr yi n g t o t a k e d o w n d o n al d htt ps://t witt er. c o m/ 1/st at us/ 1 2 2
2 0 2 0- 0 1- 3 1   tr u m p. a n d it ai n 't n e v er g oi n g t o h a p p e n ni c e tr y cr a z y😂😂 😂😂 # tr u m p2 0 2 0 🇺🇺 🇺🇺 🇺🇺 🇺🇺 🇺🇺 🇺🇺          3257941920362499
                                                                                                                                                        htt ps://t witt er. c o m/ 1/st at us/ 1 2 2
2 0 2 0- 0 1- 3 1   @ n yti m es 🦇🦇 💩💩 # cr a z y .                                                                                                     3249812268683264
                    @ n yti m es d a m n t his w o m a n w as l a u g h e d off t v o n c e
                    y o u all ar e p at h eti c..                                                                                                       htt ps://t witt er. c o m/ 1/st at us/ 1 2 2
2 0 2 0- 0 1- 3 1   tr u m p 2 0 2 0 bit c h es                                                                                                         3228075007184898
                                                                                                                                                        htt ps://t witt er. c o m/ 1/st at us/ 1 2 2
2 0 2 0- 0 1- 3 1   @ n yti m es u gl y bit c h es htt ps://t. c o/ 1 eit y cs m b 4                                                                    3224045140836353
                    @ n yti m es i m m a j ust b e r e al . t ot al b ulls hit t h at bit c h is u gl y af a n d tr u m p is a billi o n air e. h e     htt ps://t witt er. c o m/ 1/st at us/ 1 2 2
2 0 2 0- 0 1- 3 1   ai n ’t d o s hit t o h er. a n ot h er m e di a pl o y 🤷🤷🤷 ♂ 😂😂️ t his g o n n a g et s h ut d o w n.                              3214781060042753
             Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 10 of 67


Date         Post Text                                                                                     URL
                                                                                                           https://twitter.com/1/status/122
2020-01-31   @nytimes what a lying bitch.                                                                  3199748468826112
                                                                                                           https://twitter.com/1/status/122
2020-01-31   @djdemario1 @dailycaller no way in hell trump had sex with this crazy broad.                  3113511447908353
             @nytimes what an evil bitch!! seriously... like he wouldn't touch u with a 10 ft pole!! yet   https://twitter.com/1/status/122
2020-01-31   another pathetic liberal attempt to get at him during election year. gtfoh!!😣😣😣😣              3109940966936579
                                                                                                           https://twitter.com/1/status/122
2020-01-31   @nytimes this woman is crazy!                                                                 3109073110876165
                                                                                                           https://twitter.com/1/status/122
2020-01-31   @nytimes this poor woman is crazy                                                             3090008321642496
                                                                                                           https://twitter.com/1/status/122
2020-01-31   @nytimes is this fucking bitch back again                                                     3089220476162050
                                                                                                           https://twitter.com/1/status/122
2020-01-31   @rennie10711924 @abetrump @nytimes the crazy lady.                                            3084598147604481
                                                                                                           https://twitter.com/1/status/122
2020-01-31   @nytimes you do know that she is a little bit crazy. https://t.co/exzohd7w2p                  3083019193536514
             @nytimes this woman looks crazy and it’s why people are voting for trump. americans won’t https://twitter.com/1/status/122
2020-01-31   stand 20-30 year accusations ruining lives!!!                                                 3081148609376256
                                                                                                           https://twitter.com/1/status/122
2020-01-31   @nytimes shes crazy                                                                           3068002742083590
                                                                                                           https://twitter.com/1/status/122
2020-01-31   @nytimes fat chance whore https://t.co/7hqwvootce                                             3062699308912640
                                                                                                           https://twitter.com/1/status/122
2020-01-31   @dailycaller is this woman crazy or what?                                                     3062086898438145
                                                                                                           https://twitter.com/1/status/122
2020-01-31   @nytimes the crazy lady who said that women have fantasy rape                                 3054068702052352
                                                                                                           https://twitter.com/1/status/122
2020-01-31   @nytimes she is crazy. this is what the nyt has resorted to sadly                             3053641944379397
             @dailycaller who is she, another crazy woman 👩👩 it will never stop ✋ please cary on, move https://twitter.com/1/status/122
2020-01-31   away, we are really tired 😓😓                                                                  3033507775160320
             @petermc87200090 @dailycaller shes nuts. is the pelosi's cousin?                              https://twitter.com/1/status/122
2020-01-30   crazy crazy ... and if the news keeps giving her a platform they will once again show bias.   2991710331912192
                                                                                                           https://twitter.com/1/status/122
2020-01-30   @dailycaller she is next level crazy!                                                         2989390823206912
                                                                                                           https://twitter.com/1/status/122
2020-01-30   @dailycaller this lady is crazy.                                                              2976542159953920
             @dcexaminer @realdonaldtrump omg. wasn't she the wacko that was talking about sex about https://twitter.com/1/status/122
2020-01-30   her own sexual exploits on tv, and lost all credibility and her book sales plummeted.         2969713145401344
             @dcexaminer @realdonaldtrump she's hideous, wishes anyone would pay her some kind of
             attention... next thing you know, she'll be writing a book, about how she was "victimized".   https://twitter.com/1/status/121
2020-01-10   attention whore.                                                                              5673799766495233
             @nytimes this bitch is crazy does the goofy cunt think she will really get shit she is dumber https://twitter.com/1/status/119
2019-11-05   than dog shit                                                                                 1612824520396800
                                                                                                           https://twitter.com/1/status/119
2019-11-04   @nytimes crazy lady. needs a good psychiatrist.                                               1436467471572993
                                                                                                           https://twitter.com/1/status/119
2019-11-04   @nytimes not this crazy again                                                                 1431320595025921
             @dcexaminer @realdonaldtrump so this crazy woman waited what - 20/30 years to "speak
             out?" she is just another 21st century radical feminist. these "feminists" are not mentally
             balanced &amp; they do not "represent" real women. she just wants her 15 minutes of "fame."
             #votered2020tosaveamerica                                                                     https://twitter.com/1/status/119
2019-11-04   #walkawayfromdems                                                                             1406552583938048
             @nytimes she crazy, she wish she pretty so president would notice her! he real man, not like https://twitter.com/1/status/119
2019-11-04   ugly dogs! ugly!                                                                              1401600943820801
                                                                                                           https://twitter.com/1/status/119
2019-11-04   @nytimes another day, another batshit crazy luhnatic                                          1389333183332352

           @usatoday wow! i guess anyone can do what she did and claim to be assaulted by someone in https://twitter.com/1/status/114
2019-07-02 power to gain fame and fortune! i wouldn’t read her book if someone gave it to me #crazylady 6068576480235520
             Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 11 of 67


Date         Post Text                                                                                           URL
                                                                                                                 https://twitter.com/1/status/114
2019-07-02   @usatoday “ignited” ...😂😂...bitch is crazy                                                          6055377512992769
             @usatoday this lady is certifiably crazy. i would be surprised if she could put together a          https://twitter.com/1/status/114
2019-07-02   coherent paragraph.                                                                                 6051859284680704
                                                                                                                 https://www.facebook.com/182
                                                                                                                 919686769/posts/10159074382
                                                                                                                 216770/?comment_id=200453
2022-09-28   this crazy liar should be prosecuted!                                                               0553091486
                                                                                                                 https://www.facebook.com/406
                                                                                                                 56699159/posts/101597725606
                                                                                                                 69160/?comment_id=3328155
2022-09-22   another crazy bitc...                                                                               297431753
                                                                                                                 https://www.facebook.com/406
                                                                                                                 56699159/posts/101597725606
                                                                                                                 69160/?comment_id=8739238
2022-09-21   crazy eyes                                                                                          80698740
                                                                                                                 https://www.facebook.com/406
                                                                                                                 56699159/posts/101597725606
                                                                                                                 69160/?comment_id=8236875
2022-09-21   crazy eyes 🤣🤣                                                                                       12318495
                                                                                                                 https://www.facebook.com/406
                                                                                                                 56699159/posts/101597725606
                                                                                                                 69160/?comment_id=4905952
2022-09-21   if that's a pic of her, she has crazy eyes.                                                         12649881
                                                                                                                 https://www.facebook.com/528
                                                                                                                 1959998/posts/1015299256860
             i look at this woman and see crazy. i see trump and think of a crazed jabba the hut. i think i’ll 9999/?comment_id=81505935
2022-09-21   go with crazy. 😂😂                                                                                   6508872
                                                                                                                 https://www.facebook.com/528
                                                                                                                 1959998/posts/1015299256860
             i'm no trump fan but c'mon. this lady has crazy written all over her. and let's be honest... is she 9999/?comment_id=34265774
2022-09-21   exactly, um, his type?                                                                              77667246
                                                                                                                 https://www.facebook.com/182
                                                                                                                 919686769/posts/10158306714
                                                                                                                 691770/?comment_id=101583
2021-06-08   the woman is certifiable. she is crazy.                                                             07056791770
                                                                                                                 https://www.facebook.com/182
                                                                                                                 919686769/posts/10158306714
                                                                                                                 691770/?comment_id=101583
2021-06-08   shes crazy..even came on to a reporter who was interviewing her....he was like''wth''               06761331770
                                                                                                                 https://www.facebook.com/182
                                                                                                                 919686769/posts/10158306714
                                                                                                                 691770/?comment_id=101583
2021-06-08   she's batsh*t crazy might have been the reason for her failure.                                     06759646770
                                                                                                                 https://www.facebook.com/136
                                                                                                                 52355666/posts/101589090614
                                                                                                                 35667/?comment_id=1980240
2020-10-28   she's a loon. like legit crazy. she made this crap up.                                              08586068
                                                                                                                 https://www.facebook.com/528
                                                                                                                 1959998/posts/1015249189500
             this woman is crazy no one can ever be able to pull off a rape a bergdorf goodman she is            9999/?comment_id=29061636
2020-10-27   nuts!!!! if the story was remotely true she would sued the department store                         62952850
                                                                                                                 https://www.facebook.com/528
                                                                                                                 1959998/posts/1015249202730
                                                                                                                 4999/?comment_id=10152492
2020-10-27   the plaintiff is a crazy old hag who belongs in a padded cell.                                      068889999
             Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 12 of 67


Date         Post Text                                                                                     URL
                                                                                                           https://www.facebook.com/528
                                                                                                           1959998/posts/1015248367675
             so by this crazy woman’s logic anybody can be accused of anything but if they deny it you can 9999/?comment_id=10152483
2020-10-19   be sued for defamation 🤣🤣🤣🤣🤣🤣🤣🤣🤣🤣                                                             692099999
                                                                                                           https://www.facebook.com/528
                                                                                                           1959998/posts/1015246975147
             because she's a f*cking nutcase.                                                              4999/?comment_id=10152469
2020-10-06   watch any of her interviews. she's "grab a cops gun" crazy.                                   782984999
                                                                                                           https://www.facebook.com/528
                                                                                                           1959998/posts/1015244399022
                                                                                                           9999/?comment_id=27189346
2020-09-08   that lady is batshit crazy. she stole the plot from a tv show and used it as her accusation.  11656408
                                                                                                           https://www.facebook.com/528
                                                                                                           1959998/posts/1015244399022
                                                                                                           9999/?comment_id=10152443
2020-09-08   she’s crazy 😝😝                                                                                993009999
                                                                                                           https://www.facebook.com/528
                                                                                                           1959998/posts/1015241664058
                                                                                                           4999/?comment_id=10152416
                                                                                                           659634999&reply_comment_i
2020-08-07   madelyn jones shes batshit crazy. u cant be serious                                           d=111323717349418
                                                                                                           https://www.facebook.com/528
                                                                                                           1959998/posts/1015241664058
                                                                                                           4999/?comment_id=10152416
2020-08-07   look at her. your crazy                                                                       647209999
                                                                                                           https://www.facebook.com/136
                                                                                                           52355666/posts/101580651803
                                                                                                           05667/?comment_id=1015806
2020-02-22   because she's crazy                                                                           7363715667
                                                                                                           https://www.facebook.com/136
             here we go again, this old story that had no evidence, no witnesses and made no sense         52355666/posts/101580651803
             whatsoever. this lady was obviously paid to lie or just delusional. sad that crazy people get 05667/?comment_id=1015806
2020-02-21   their 15 minutes of fame with the liberal media.                                              5200880667
                                                                                                           https://www.facebook.com/406
                                                                                                           56699159/posts/101574888813
                                                                                                           89160/?comment_id=1015748
2020-02-19   she is crazy!                                                                                 9158314160
                                                                                                           https://www.facebook.com/406
                                                                                                           56699159/posts/101574888813
                                                                                                           89160/?comment_id=1015748
2020-02-19   she got canned because she is crazy.                                                          8905329160
                                                                                                           https://www.facebook.com/406
                                                                                                           56699159/posts/101574888813
                                                                                                           89160/?comment_id=1015748
2020-02-19   well you lied and acted crazy so they fired you! you can always go to cnn!                    8898534160
                                                                                                           https://www.facebook.com/406
                                                                                                           56699159/posts/101574888813
                                                                                                           89160/?comment_id=1015748
2020-02-19   🦇🦇🦇🦇 crazy.....                                                                               8885344160
                                                                                                           https://www.facebook.com/528
                                                                                                           1959998/posts/1015219704170
                                                                                                           9999/?comment_id=10152197
2020-02-19   because she made it up shes crazy                                                             211744999
                                                                                                           https://www.facebook.com/528
                                                                                                           1959998/posts/1015219704170
                                                                                                           9999/?comment_id=10152197
2020-02-19   she's flat out nuts, scary crazy.                                                             073214999
             Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 13 of 67


Date         Post Text                                                                                       URL
                                                                                                             https://www.facebook.com/528
                                                                                                             1959998/posts/1015217339249
             who in the hell does not have a piece of clothing cleaned in almost 30 years? this woman is     4999/?comment_id=21455928
2020-02-02   crazy!!!                                                                                        9681599
                                                                                                             https://www.facebook.com/182
                                                                                                             919686769/posts/10156942228
                                                                                                             091770/?comment_id=101569
2020-02-01   this woman is crazy                                                                             47916156770
                                                                                                             https://www.facebook.com/528
                                                                                                             1959998/posts/1015217339249
                                                                                                             4999/?comment_id=12571010
2020-02-01   she is the definition of psycho. anything to sell her book.                                     2286388
                                                                                                             https://www.facebook.com/528
                                                                                                             1959998/posts/1015217339249
                                                                                                             4999/?comment_id=53312375
2020-02-01   this b*tch is crazy ah! have you heard her speak at length?                                     0892407
                                                                                                             https://www.facebook.com/182
             ok crazy! once he became president it was your moral duty to report it over 30 years later? the 919686769/posts/10156942228
             democrats tried this during the election! no offense but the women where hotter then you & the 091770/?comment_id=101569
2020-02-01   democrats scheme went nowhere! get lost psycho!                                                 45573091770
                                                                                                             https://www.facebook.com/528
                                                                                                             1959998/posts/1015217339249
                                                                                                             4999/?comment_id=10152173
             steve kavalin if i had some crazy lunatic demanding my dna, id tell her to kick rocks. not      430219999&reply_comment_i
2020-02-01   because i’m guilty, but because i don’t comply with some crazy lunatic demanding my dna.        d=123066198988783
                                                                                                             https://www.facebook.com/182
                                                                                                             919686769/posts/10156939682
                                                                                                             711770/?comment_id=158737
2020-01-31   i doubt that such a beauty can inspire anyone with crazy passion😂😂😂😂😂😂                          848879562
                                                                                                             https://www.facebook.com/528
                                                                                                             1959998/posts/1015217339249
             crazy lady                                                                                      4999/?comment_id=32668824
2020-01-31   .. she wants to get famous.                                                                     1561340
                                                                                                             https://www.facebook.com/182
                                                                                                             919686769/posts/10156942228
                                                                                                             091770/?comment_id=101569
2020-01-31   crazy much? 😂😂                                                                                  42419531770
                                                                                                             https://www.facebook.com/182
                                                                                                             919686769/posts/10156942228
                                                                                                             091770/?comment_id=101569
2020-01-31   another crazy lair trump should sue all lair                                                    42251401770
                                                                                                             https://www.facebook.com/182
                                                                                                             919686769/posts/10156942228
                                                                                                             091770/?comment_id=101569
2020-01-31   she's a crazy broad, good luck with that.                                                       42238131770
                                                                                                             https://www.facebook.com/182
                                                                                                             919686769/posts/10156942228
                                                                                                             091770/?comment_id=101569
2020-01-31   hahahaha! enough! you people need to be in a mental ward! you’re crazy🤪🤪                        42236846770
                                                                                                             https://www.facebook.com/528
                                                                                                             1959998/posts/1015217339249
                                                                                                             4999/?comment_id=25076371
2020-01-31   put a wig on her and it's crazy nancy!                                                          06119110
                                                                                                             https://www.facebook.com/528
                                                                                                             1959998/posts/1015217339249
                                                                                                             4999/?comment_id=19630433
2020-01-31   she is crazy as a loon,,,,,                                                                     8156422
             Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 14 of 67


Date         Post Text                                                                                      URL
                                                                                                            https://www.facebook.com/528
                                                                                                            1959998/posts/1015217339249
                                                                                                            4999/?comment_id=18497784
2020-01-31   she is batshit crazy, like for reeal...like she thinks aliens live in her head.                6044446
                                                                                                            https://www.facebook.com/528
                                                                                                            1959998/posts/1015217339249
                                                                                                            4999/?comment_id=17463412
2020-01-30   she is crazy!!                                                                                 55507853
                                                                                                            https://www.facebook.com/182
                                                                                                            919686769/posts/10156939682
                                                                                                            711770/?comment_id=209400
2020-01-30   she even looks batshit crazy ... hahaha                                                        963432495
                                                                                                            https://www.facebook.com/182
                                                                                                            919686769/posts/10156939682
             and look at u! don't look like u were ever attractive, billionaires can buy whores anywhere at 711770/?comment_id=101586
2020-01-30   anytime. he would risk prison for u. kill yourself                                             474743305
                                                                                                            https://www.facebook.com/528
                                                                                                            1959998/posts/1015217339249
             crazy idiot.                                                                                   4999/?comment_id=10152173
2020-01-30   agent of darkness                                                                              396624999
                                                                                                            https://www.facebook.com/182
                                                                                                            919686769/posts/10156939682
                                                                                                            711770/?comment_id=125628
2020-01-30   she’s crazy                                                                                    695618406
                                                                                                            https://www.facebook.com/182
                                                                                                            919686769/posts/10156939682
                                                                                                            711770/?comment_id=101569
2020-01-30   this is as crazy as she is.                                                                    39829146770
                                                                                                            https://www.facebook.com/182
                                                                                                            919686769/posts/10156939682
             why do these nasty assed bitches hang on to filthy clothing? wash your damned clothing.        711770/?comment_id=101569
2020-01-30   better yet, sandblast your nasty looking butt.                                                 39817751770
                                                                                                            https://www.facebook.com/182
                                                                                                            919686769/posts/10156939682
             these loony toons crazy democrats are so predictable and pathetic. the only thing they have is 711770/?comment_id=101569
2020-01-30   still resist, distract and lie. what’s next?                                                   39787896770
                                                                                                            https://www.facebook.com/182
                                                                                                            919686769/posts/10156939682
                                                                                                            711770/?comment_id=101569
2020-01-30   she's lying and dnc is paying her off this is crazy                                            39784346770
                                                                                                            https://www.facebook.com/182
                                                                                                            919686769/posts/10156939682
                                                                                                            711770/?comment_id=101569
2020-01-30   you gave to be crazy if anyone believes her. trump wouldn't even touch her!                    39773401770
                                                                                                            https://www.facebook.com/182
                                                                                                            919686769/posts/10156939682
                                                                                                            711770/?comment_id=101569
2020-01-30   why is she screaming rape now? why not in the 90's? she's crazy. i wouldn't give her anything. 39772161770
                                                                                                            https://www.facebook.com/182
                                                                                                            919686769/posts/10156939682
                                                                                                            711770/?comment_id=101569
2020-01-30   crawl back under your rock you crazy woman!!                                                   39768916770
                                                                                                            https://www.facebook.com/182
                                                                                                            919686769/posts/10156939682
             sorry but trump would not rape ugly women so get over it and move on you crazy bicthes         711770/?comment_id=101569
2020-01-30   democrat                                                                                       39755396770
            Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 15 of 67


Date         Post Text                                                                                     URL
                                                                                                           https://www.facebook.com/182
                                                                                                           919686769/posts/10156939682
                                                                                                           711770/?comment_id=101569
2020-01-30 this is the crazy lady, right?                                                                  39691961770
                                                                                                           https://www.facebook.com/182
                                                                                                           919686769/posts/10156939682
                                                                                                           711770/?comment_id=101569
2020-01-30 crazy ole bat                                                                                   39688891770
                                                                                                           https://www.facebook.com/528
                                                                                                           1959998/posts/1015214842006
                                                                                                           4999/?comment_id=10152148
           matthew snyder actually will be reversed watch and learn ! if you don’t think she is crazy then 516429999&reply_comment_i
2020-01-10 a loon , oh wait your a gullible liberal                                                        d=10152148520384999
             Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 16 of 67


Date         Post Text                                                                                               URL
             He wouldn't have touched THAT with YOURS! Sick, ugly, rejected old hags trying to UP their book http://twitter.com/Angerisinna
             sales should go to prison themselves. Even her story backs his claim that he wouldn't EVER. This just te/statuses/157262245160724
2022-09-21   makes women look bad. https://t.co/oRkZCdWH2R                                                           4801
             @ejeancarroll Aren’t you the lady that claimed trump sexually assaulted you? Lmao right. He has         http://twitter.com/pinochet_pil
             access to supermodels but he had time to go after you? Trump has a type, and it isn’t crazy cat ladies. ot/statuses/156694583967918
2022-09-06   I guess if it helped your book sell 😂😂                                                                  0800
                                                                                                                     http://twitter.com/nan0215985
                                                                                                                     0/statuses/1566927843996712
2022-09-05   @HipHopThinker @ejeancarroll @BoiseResists Batshit crazy lol                                            960
                                                                                                                     http://twitter.com/nan0215985
                                                                                                                     0/statuses/1566924632074190
2022-09-05   @ejeancarroll @BoiseResists Sure, crazy lady. https://t.co/xDJ16NnU1J                                   851
                                                                                                                     http://twitter.com/PhillyToMai
                                                                                                                     ne/statuses/155893628338844
2022-08-14   Yea, only crazy people should be able to tweet!                                                         4672
                                                                                                                     http://twitter.com/michell5450
                                                                                                                     2149/statuses/1558077818852
2022-08-12   @ejeancarroll Your lying bitch, we all know he didn't Rape you.                                         052992
             @BeckyWi70473387 @laurenboebert @Liz_Cheney She's a President Kid-toucher supporter, so she
             probably is crazy. Much like E. Jean Carroll.\n\nTrump did offer. Two people at the meeting             http://twitter.com/collectorgrid
             testified under oath to that fact.\n\nI'm a traitor? I'm not the one who voted for Biden. That, and     /statuses/15575260845597163
2022-08-11   what's to come, is on you.                                                                              52
                                                                                                                     http://twitter.com/rcantz1964/
                                                                                                                     statuses/15568762649373614
2022-08-09   @ejeancarroll @JoyceWhiteVance Crazy lady...EVIDENCE                                                    09
                                                                                                                     http://twitter.com/Darthjenny/
                                                                                                                     statuses/15551943898903019
2022-08-04   @ejeancarroll @POTUS This is the crazy lady who accused Trump of attacking her!                         54

           @ejeancarroll @kathygriffin It would , typical coming from a bat shit crazy woman that lied about         http://twitter.com/Smul1968/st
2022-08-01 being raped                                                                                               atuses/1554197246459236353
                                                                                                                     http://twitter.com/EstabanLop
                                                                                                                     ez13/statuses/1549004293247
2022-07-18 @ejeancarroll Such a crazy bitch                                                                          729672
           The internet is forever @ejeancarroll \n\nY’all need to remember that, while most people have
           empathy, there are some crazy people influencing the hearts and minds of our country.\n\n“If you       http://twitter.com/barnsalot/sta
2022-07-06 don’t have money, you deserve to be punished.” https://t.co/GjldtPF2Lk                                 tuses/1544716621037686789
                                                                                                                  http://twitter.com/Ro4755829
             @ejeancarroll Please listen to this crazy cat lady!!! We dont want mentally insane leftist poisoning 6Brian/statuses/15446647356
2022-07-06   our universities even more!!                                                                         76768256
             @ejeancarroll How's things going Jean. I'm sure you still have that unwashed dress that you were     http://twitter.com/MaxFromS
             wearing years and years ago when you were in the dressing room with President Trump LOL. You're D1/statuses/15445827253147
2022-07-06   as crazy as Joe Biden                                                                                81186
                                                                                                                  http://twitter.com/Champsu2/s
                                                                                                                  tatuses/154456863091823821
2022-07-06   @ejeancarroll Aren’t you that whore?                                                                 4
                                                                                                                  http://twitter.com/beaconosuns
             Look it’s the crazy cat lady who lied about being molested by President Trump. Her reproducing days hine/statuses/1544509301674
2022-07-06   are over, so I guess she doesn’t really have a cat in the fight....                                  450946
                                                                                                                  http://twitter.com/GerylHenry/
                                                                                                                  statuses/15428734706897551
2022-07-01   @ejeancarroll Bat shit crazy aren't you...                                                           37
                                                                                                                  http://twitter.com/EricMetcalf
             @Le202nard @theliamnissan None of them accused him of rape except that crazy E Jean Carroll          13/statuses/154218599027769
2022-06-29   lady, and her story is completely idiotic.                                                           3443
                                                                                                                  http://twitter.com/SeriousIndiv
                                                                                                                  id2/statuses/15407301845293
2022-06-25   @ejeancarroll I love that Liberals prop up crazy people like this.                                   13792
                                                                                                                  http://twitter.com/EstabanLop
                                                                                                                  ez13/statuses/1539404628810
2022-06-22   @ejeancarroll Oh boy, she’s got crazy lady’s support… 🤔🤔🤔🤔                                           424320
             Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 17 of 67


Date         Post Text                                                                                               URL
                                                                                                                     http://twitter.com/IwipeBuden
             @ejeancarroll @elonmusk @StormyDaniels You crazy deranged dirt bag. No one tried to bang you. sButt/statuses/152790605073
2022-05-21   You areugly as fck                                                                                      6652288
             @ejeancarroll @MoiraDonegan Feminazi's like you have been engaging in anti-male rhetoric, HATE, http://twitter.com/ZeroEleven
             and propaganda for 50+ years. Americans have every right to criticize your twisted MISANDRIST           Now/statuses/1527847817565
2022-05-21   agenda!                                                                                                 175808
                                                                                                                     http://twitter.com/nate247837
                                                                                                                     89/statuses/152572238578124
2022-05-15   @ejeancarroll @AmoneyResists Hopefully they don’t listen to crazy old cat ladies                        8000
                                                                                                                     http://twitter.com/Charlatte12
             @ejeancarroll Since I've been on Twitter, yours is the first crazy, nonsensical tweet I've read. I went 1117/statuses/1523265793080
2022-05-08   back and looked, yours is the first liberal tweet that I've encountered today.                          926208
                                                                                                                     http://twitter.com/JTRobbins5
                                                                                                                     8/statuses/1523153551291129
2022-05-08   @ejeancarroll @MaryLTrump When did you go crazy?                                                        856
             @ejeancarroll You... you think that the pro-life movement wants people not to kill their children so    http://twitter.com/DesperateC
             they can adopt their babies? Are you insane?\n\nHey, wait, you're that crazy lady who said you were hem/statuses/1523081245864
2022-05-07   assaulted and then provided no evidence. nvm                                                            849408
                                                                                                                     http://twitter.com/woman_deb
                                                                                                                     bie/statuses/15230435196104
2022-05-07   🤬🤬 this crazy ass shit!                                                                                 62210
                                                                                                                     http://twitter.com/PAtransplan
                                                                                                                     t70/statuses/15230325554105
2022-05-07   @ejeancarroll That makes no sense but keep being crazy.                                                 63073
                                                                                                                     http://twitter.com/ChaskaDais
                                                                                                                     y/statuses/1523020015842344
2022-05-07   @ejeancarroll Aren’t you that creepy crazy lady that fantasizes about getting raped?                    961
                                                                                                                     http://twitter.com/MissPatriot
             @PolitiBunny @GayPatriotPlus E. Jean Carroll😂😂😂😂😂😂\nThe Bat 💩💩crazy nutter with the rotten              17/statuses/151841457271751
2022-04-25   teeth/gums.🤮🤮 https://t.co/JLaO2tSuz0                                                                   0656
                                                                                                                     http://twitter.com/PaulCMiche
                                                                                                                     l/statuses/1509162961763553
2022-03-30   @CharonLucas1 @kathygriffin @ejeancarroll No, the batshit crazy chick                                   281
                                                                                                                     http://twitter.com/ConsciousB
                                                                                                                     uddah/statuses/150846430489
2022-03-28   @jnj2day @DamnCureous @ejeancarroll You are a crazy person.                                             8650116
                                                                                                                     http://twitter.com/broadcities/s
                                                                                                                     tatuses/150845211229179904
2022-03-28   You are crazy                                                                                           4
                                                                                                                     http://twitter.com/featdef/statu
2022-03-28   you are crazy                                                                                           ses/1508312562861248512
             @TanyaWa16645021 @ella32984852 @B3ast570 @ejeancarroll I sincerely doubt it…Pure                        http://twitter.com/frank91566
             coincidence she only happened to bring it up when she was ready to release her book almost 30 years 516/statuses/15043580046484
2022-03-17   later. I’ve got a bridge to sell you.                                                                   64384
                                                                                                                     http://twitter.com/frank91566
             .@ella32984852 @B3ast570 @ejeancarroll LOL this lady is nuts. She literally only came to light          516/status/150398533937068
2022-03-17   with this story the moment she released her book. There is no case and this is pathetic                 0323
                                                                                                                     http://twitter.com/NorthstarTri
                                                                                                                     sh/statuses/150278540915517
2022-03-12   @ejeancarroll How’s the book sales doing??                                                              0304
                                                                                                                     http://twitter.com/Johndangle9
                                                                                                                     /statuses/15025508405313740
2022-03-12   @ejeancarroll Why do all of you people look so crazy?                                                   84
                                                                                                                     http://twitter.com/mc108819/s
                                                                                                                     tatuses/150252715637051392
2022-03-12   @crpswarrior1 @ejeancarroll Trump did not touch this crazy thing                                        4
                                                                                                                     http://twitter.com/FlorentiaAu
                                                                                                                     stin/statuses/15024058137967
2022-03-11   @ejeancarroll Oh God, your still here? So crazy!                                                        57509
                                                                                                                     http://twitter.com/arlenestacie
                                                                                                                     1/statuses/1499189865317085
2022-03-03   @ejeancarroll Blocking the attention whore                                                              184
                    Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 18 of 67


D at e              P ost T e xt                                                                                                                                         U RL
                                                                                                                                                                         htt p://t witt er. c o m/J os e p h S h e a
                                                                                                                                                                         S h e a 1/st at us es/ 1 4 9 6 8 4 2 5 4 8 4 6
2 0 2 2- 0 2- 2 4   @ ej e a n c arr oll G ot a n ot h er cr a z y ass k n o w it all.                                                                                   3112194
                                                                                                                                                                         htt p://t witt er. c o m/ P h yllis 9 4 5 8
                                                                                                                                                                         4 9 5 3/st at us es/ 1 4 9 6 6 1 0 8 9 9 1 5 4
2 0 2 2- 0 2- 2 3   @ St e p h e n 0 6 0 9 4 1 4 1 St or y o n Dr u d g e, J e a n C arr oll a c c us e d Tr u m p, s h e cr a z y.                                      587657
                                                                                                                                                                         htt p://t witt er. c o m/I m a F ur M o m
                                                                                                                                                                         /st at us es/ 1 4 9 0 9 8 5 7 3 6 4 2 1 9 1 6 6
2 0 2 2- 0 2- 0 8   @ kl e a c h d esi g n @ P o d n ar St e p h @ l a v er n_ s pi c er Y o u s o u n d j ust as cr a z y as E .J e a n C arr oll!😂😂                    72
                                                                                                                                                                         htt p://t witt er. c o m/ C R U E L L A _
                                                                                                                                                                         D E VI L 6 6/st at us es/ 1 4 8 5 9 0 1 6 9
2 0 2 2- 0 1- 2 5   @ ej e a n c arr oll @ P e psi C o Still g oi n g t o dri n k it a n d e at c hi ps!! Y o u all ar e cr a z y                                        5293001728
                    @ ej e a n c arr oll @ n yti m es @ k ati er os m a n @ k at h y griffi n I tr ul y d o n ot k n o w if p e o pl e ar e b ei n g s eri o us          htt p://t witt er. c o m/ L o n g W h o a/
                    or j o ki n g a n y m or e, t his is h o w f u c ki n g cr a z y p e o pl e ar e. If @ ej e a n c arr oll is b ei n g s eri o us, I w e e p f or     st at us es/ 1 4 8 3 9 3 6 7 6 3 5 2 5 6 1 9 7
2 0 2 2- 0 1- 1 9   o ur f ut ur e, n o o n e c a n b e t h at f u c k e d i n t h e h e a d t o t w e et t h at                                                         28
                                                                                                                                                                         htt p://t witt er. c o m/ K e vi n x T err y
                    @t h e Dirt R e y n ol ds @ ej e a n c arr oll @ n yti m es @ k ati er os m a n @ k at h y griffi n @t h e Dirt R e y n ol ds ri g ht.               /st at us es/ 1 4 8 3 9 1 4 3 0 1 0 4 3 8 7 5 8
2 0 2 2- 0 1- 1 9   Li k e i d c if l a d y p o p ul ar b ut s h e is j ust cr a z y.                                                                                    44

                    Cr a z y t al k...s ort of li k e "I w as r a p e d b y t h e Pr esi d e nt of t h e U nit e d St at es ".\ n\ n" T o d a y t h e S e n at e will    htt p://t witt er. c o m/ gr e g _f a n n/st
2 0 2 2- 0 1- 1 8   d e b at e o n gi vi n g A m eri c a ns t h e fr e e d o m t o v ot e"                                                                               at us es/ 1 4 8 3 5 3 7 7 5 6 1 3 9 6 5 1 0 7 2
                                                                                                                                                                         htt p://t witt er. c o m/ Vi vi d Mi d dl e
                    @ ej e a n c arr oll @ M ar y L Tr u m p @ Lis a Bir n b a c h @ K ati e P h a n g @j e nt a u b @J o y c e W hit e V a n c e                        /st at us es/ 1 4 7 7 4 7 3 0 7 3 3 1 8 3 0 5 7
2 0 2 2- 0 1- 0 2   @ k at h y griffi n D o y o u al w a ys l o o k cr a z y ?                                                                                           96
                                                                                                                                                                         htt p://t witt er. c o m/ R e d e e m e d S
                                                                                                                                                                         e v e n/st at us es/ 1 4 7 6 3 0 2 1 5 4 3 8 2
2 0 2 1- 1 2- 2 9   Cr a z y C a b al 😂😂                                                                                                                                 118913

                                                                                                                                                                         htt p://t witt er. c o m/ m a u ali b ar/st
2 0 2 1- 1 2- 1 1   @ Pri n c es 6 3 0 0 0 3 6 6 @ ej e a n c arr oll @j k bj o ur n alist D efl e cti n g ? Or j ust cr a z y ?                                         at us es/ 1 4 6 9 5 1 4 4 4 0 3 9 9 7 4 5 0 2 5
                    @ 4 5 r a p e K ati ej o h n B e c a us e it n e v er h a p p e n e d!! J e a n C arr oll is b at s hit cr a z y! S h e w o ul d n ’t p urs u e it
                    b e c a us e it w o ul d b e disr es p e ctf ul t o w o m e n at t h e b or d er ? 😂😂 😂😂 A n d w h e n h e as k e d h er a g e , s h e               htt p://t witt er. c o m/ Mrs _ D e pl or
                    wis h e d s h e h a d as k e d a b o ut his t a x r et ur ns ? W h o T F c ar es a b o ut his t a x r et ur ns t h e n ? S h e ’s a li ar!           a bl e _/st at us es/ 1 4 6 7 3 4 2 0 1 0 7 1
2 0 2 1- 1 2- 0 5   htt ps:// t.c o /z d 2 N 2 B d 2 K H                                                                                                                 7720579
                                                                                                                                                                         htt p://t witt er. c o m/ S pitfir e W a/s
                    @ ej e a n c arr oll S o t h e y dr o p p e d y o ur c as e a g ai nst hi m b ut all o w his c as e a g ai nst y o u ..f... g cr a z y .. g o        t at us es/ 1 4 6 7 3 0 9 2 7 0 7 7 7 5 3 2 4 1
2 0 2 1- 1 2- 0 5   girl                                                                                                                                                 7
                                                                                                                                                                         htt p://t witt er. c o m/ G m o m m a 5 b
                                                                                                                                                                         o ys/st at us es/ 1 4 6 6 9 1 9 2 7 9 5 2 2 1
2 0 2 1- 1 2- 0 3   @ k at h y griffi n @ ej e a n c arr oll D a m n s h e’s g ot cr a z y i n h er e y es                                                               64738
                    @ S u w o b b @ M attrf d @ D ail y M ail H a v e y o u r e a d t h e m ? I h a v e! T h e y w er e B S j ust li k e t h e J a n e D o e
                    w h o a d mitt e d s h e li e d & t h e c as e w as t hr o w n o ut. J ust li k e J e a n C arr oll w h o is b at s hit cr a z y &                   htt p://t witt er. c o m/ Mrs _ D e pl or
                    cl ai ms s h e w o ul d n ’t p urs u e a n yt hi n g b e c a us e it w o ul d b e disr es p e ctf ul t o w o m e n at t h e b or d er 😂😂 🇺🇺          a bl e _/st at us es/ 1 4 6 6 0 4 3 5 3 3 0 4
2 0 2 1- 1 2- 0 1   C o m e T F o n ! htt ps:// t.c o / a 8Z m x K 5 b T U                                                                                               3900423
                    @ p oliti c al m a bl o g @ mt gr e e n e e @ N a n c y M a c e I ’v e r e a d all t h e all e g ati o ns . T h e y ar e B S ! J ust li k e t h e
                    J a n e D o e r a p e c as e w h o a d mitt e d s h e li e d a n d t h e c as e W S dr o p p e d . A n d J e a n C arr oll is b at s hit             htt p://t witt er. c o m/ Mrs _ D e pl or
                    cr a z y !! S h e w o ul d n ’t p urs u e a n yt hi n g b e c a us e b e w o ul d b e disr es p e ctf ul t o w o m e n at t h e b or d er?           a bl e _/st at us es/ 1 4 6 5 7 5 8 4 9 7 0 6
2 0 2 1- 1 1- 3 0   🇺🇺 🇺🇺 C o m e T F o n ! htt ps:// t.c o /u m 4 u 0I 9 0 a Q                                                                                          9580298
                    @ L u k e C a v a n a g h 3 3 @ m v a n d e m ar @ J ess e R o dri g u e z @ N at as h a B ertr a n d @ T o m _ Wi nt er H a v e y o u
                    r e a d t h e m? I h a v e! T h e w er e B S j ust li k e t h e J a n e D o e w h o a d mitt e d s h e li e d & t h e c as e w as t hr o w n         htt p://t witt er. c o m/ Mrs _ D e pl or
                    o ut . J ust li k e J e a n C arr oll w h o is b at s hit cr a z y & cl ai ms s h e w o ul d n ’t p urs u e a n yt hi n g b e c a us e it            a bl e _/st at us es/ 1 4 6 5 7 5 5 2 1 5 9 6
2 0 2 1- 1 1- 3 0   w o ul d b e disr es p e ctf ul t o w o m e n at t h e b or d er 🇺🇺 🇺🇺 C o m e T F o n ! htt ps:// t.c o /U x V c M H z a R C                        6220294
                                                                                                                                                                         htt p://t witt er. c o m/ N R e e mr e v/s
                    @ ej e a n c arr oll W as w o n d eri n g w h e n y o ur cr a z y ass w as g o n n a c hi m e i n wit h s o m e l o w i q g ar b a g e               t at us es/ 1 4 6 2 2 3 7 0 8 6 4 2 2 0 8 1 5 3
2 0 2 1- 1 1- 2 1   t a k e. W ell d o n e y o u irr el e v a nt b ott o m f e e d er.                                                                                   7
                                                                                                                                                                         htt p://t witt er. c o m/ cri c k e y m o m
                                                                                                                                                                         /st at us es/ 1 4 5 9 6 2 6 9 6 2 6 1 2 1 5 0 2
2 0 2 1- 1 1- 1 3   @ ej e a n c arr oll @ k a pl a nr o b bi e @J os h u a M at z 8 Y a w n. Y o ur 2 mi n ut es ar e u p, cr a z y.                                    72
                                                                                                                                                                         htt p://t witt er. c o m/J o h a n n es P 7
                    @ s h ell y_ l a u g hi n g @ c o n c er n e dtr o w el @ d e ns 1 9 8 4 @ c o ns er v ati v e 3 4 @ ji ms ci utt o E. J e a n C arr oll is          0/st at us es/ 1 4 5 5 4 7 3 3 4 2 1 4 0 5 8 3
2 0 2 1- 1 1- 0 2   🇺🇺 🦇🦇 cr a z y a n d is n 't g oi n g t o g et a n y w h er e wit h h er c o m pl et el y m a d e u p st or y, s o💩💩🤷🤷 ♂ ️                           938
                    Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 19 of 67


D at e              P ost T e xt                                                                                                                                         U RL
                                                                                                                                                                         htt p://t witt er. c o m/ N R e e mr e v/s
                                                                                                                                                                         t at us es/ 1 4 5 1 9 2 1 8 6 4 4 2 3 5 2 2 3 0
2 0 2 1- 1 0- 2 3   @ ej e a n c arr oll L ol! I c a n s m ell t h e cr a z y i n t h at p h ot o                                                                        5
                                                                                                                                                                         htt p://t witt er. c o m/ mi c h a el 4 7 3
                                                                                                                                                                         9 2 8 9 8/st at us es/ 1 4 4 9 8 2 3 2 0 6 7 6
2 0 2 1- 1 0- 1 7   @ ej e a n c arr oll L o o ks li k e a n ol d cr a z y w o m a n!                                                                                    8926723
                                                                                                                                                                         htt p://t witt er. c o m/ L o g a n R 1l 3 y
                                                                                                                                                                         /st at us es/ 1 4 4 0 7 8 8 6 5 0 5 5 2 2 2 1 6
2 0 2 1- 0 9- 2 2   @ ej e a n c arr oll Y o u’r e all cr a z y.                                                                                                         99
                                                                                                                                                                         htt p://t witt er. c o m/ S o n y a 7 5 2 1 1
                    @ ej e a n c arr oll @ k a pl a nr o b bi e @ J os h u a M at z 8 I c a n n ot w ait u ntil y o u ar e e x p os e d f or t h e 😂😂        t h at      5 0 0/st at us es/ 1 4 3 8 2 8 3 3 8 3 9 9 0 3
2 0 2 1- 0 9- 1 5   y o u ar e . # cr a z y                                                                                                                              74408
                                                                                                                                                                         htt p://t witt er. c o m/ Sl o e m o e 1 1/
                    @ ej e a n c arr oll @ k a pl a nr o b bi e @ J os h u a M at z 8 A n y o n e t h at b eli e v es t his w o m a n is as 😂😂       😂😂    cr a z y as   st at us es/ 1 4 3 8 2 6 6 4 1 2 4 7 7 4 3 5 9
2 0 2 1- 0 9- 1 5   s h e is.                                                                                                                                            04
                                                                                                                                                                         htt p://t witt er. c o m/l esli e m a c k/s
                    E. J e a n C arr oll ...... is n't s h e t h e cr a z y c hi c k t h at st al k e d D T a n d f or c e d hi m i nt o a dr essi n g r o o m s o       t at us es/ 1 4 3 8 2 6 3 4 1 7 3 5 0 0 6 6 1 7
2 0 2 1- 0 9- 1 5   s h e c o ul d f e el hi m u p ? ? ?                                                                                                                 7
                                                                                                                                                                         htt p://t witt er. c o m/ V a n D a M a n
                                                                                                                                                                         D F S 1 7 7 6/st at us es/ 1 4 3 5 6 9 5 1 9
2 0 2 1- 0 9- 0 8   @ ej e a n c arr oll Y o u’r e as cr a z y as s h e is, n ot s ur pris e d! Li ars sti c k t o g et h er!                                            6348559365

                    @ ej e a n c arr oll H o w a b o ut t his w o m a n ? htt ps:// t.c o /p L 0 x 0 x 5 2 1 v @ J o y A n n R ei d ? D o a n y of y o u                 htt p://t witt er. c o m/r u m o d ass/st
2 0 2 1- 0 9- 0 8   “ f e mi nist “ r e all y c ar e a b o ut w o m e n, or j ust t h os e w o m e n t h at f urt h er y o ur p oliti c al a g e n d a ? 😂😂              at us es/ 1 4 3 5 5 6 3 1 8 6 8 5 4 5 0 2 4 0 3
                                                                                                                                                                         htt p://t witt er. c o m/r e d d oti n a ust
                                                                                                                                                                         i n/st at us es/ 1 4 3 5 4 0 4 8 5 2 6 5 0 2 9
2 0 2 1- 0 9- 0 8   Y o u’r e b ot h li ars a n d/ or cr a z y p e o pl e.                                                                                               1203
                                                                                                                                                                         htt p://t witt er. c o m/ C A L LI E C 8
                                                                                                                                                                         1 0 4 9 8 7 4/st at us es/ 1 4 3 5 4 0 2 7 1 6
2 0 2 1- 0 9- 0 8   @ ej e a n c arr oll Y o u wr ot e cr a z y st uff y e ars a g o t h at w as li es. Y o u ar e still a li ar.                                        591886339
                                                                                                                                                                         htt p://t witt er. c o m/ Ri g ht O pi ni o
                                                                                                                                                                         n P o d/st at us es/ 1 4 3 5 3 9 6 9 5 8 6 8 9
2 0 2 1- 0 9- 0 8   Y o u ’r e als o b at s hit cr a z y, s o… 😂😂      🇺🇺♂ ️                                                                                             112066
                                                                                                                                                                         htt p://t witt er. c o m/j n e as/st at us e
2 0 2 1- 0 9- 0 7   @ ej e a n c arr oll T h at’s b e c a us e y o u ar e as cr a z y as s h e is.                                                                       s/ 1 4 3 5 3 7 3 0 3 3 0 0 3 3 9 3 0 2 5
                                                                                                                                                                         htt p://t witt er. c o m/ M a d M ar k 3 3
                    @ B e er B ur p 0 @ B e c k y W hit e hill @ ej e a n c arr oll @ d esi g n m o m A l ot of “ m e T o o (o nl y w h e n it fits a                    3/st at us es/ 1 4 3 5 3 4 9 6 4 0 8 4 9 9 0 3
2 0 2 1- 0 9- 0 7   li b er al a g e n d a )H y p o criti c al w o m e n o n t his t hr e a d 🇺🇺                                                                         617
                                                                                                                                                                         htt p://t witt er. c o m/ L a n d o n 5 9 4 8
                                                                                                                                                                         2 3 6 2/st at us es/ 1 4 3 5 3 3 9 4 5 3 0 9 0
2 0 2 1- 0 9- 0 7   @ ej e a n c arr oll I d o n't n or d o I b eli e v e t h e cr a z y l a d y fr o m t h e s u p p os e d dr essi n g r o o m                         996226
                                                                                                                                                                         htt p://t witt er. c o m/ A A R O Nis D
                                                                                                                                                                         O P E/st at us es/ 1 4 3 5 3 2 2 8 4 1 2 9 3
2 0 2 1- 0 9- 0 7   @ ej e a n c arr oll I k n o w y o u ar e cr a z y!                                                                                                  987840
                    @ri c hsi g n or elli @Jill y B e a n 0 3 0 1 @ ej e a n c arr oll It’s cr a z y t h at p e o pl e ar e still t al ki n g a b o ut t his...          htt p://t witt er. c o m/ di d nt v ot e 4 ei
                    h a n gi n g o n, h o pi n g t h at s o m et hi n g will sti c k t o Tr u m p.\ n\ n Di d y o u list e n t o t h e i nt er vi e w of t his           t hr/st at us es/ 1 4 3 5 0 0 3 4 9 3 7 4 0 2
2 0 2 1- 0 9- 0 6   w h a c kj o b ? T h er e is n ot hi n g cr e di bl e t h at c o m es o ut of h er m o ut h.                                                         57283
                                                                                                                                                                         htt p://t witt er. c o m/r e al d u dl e y c/
                                                                                                                                                                         st at us es/ 1 4 2 9 6 2 4 7 4 4 3 5 8 3 9 1 8
2 0 2 1- 0 8- 2 3   @ ej e a n c arr oll ar e y o u cr a z y- as-f u c k, @ ej e a n c arr oll ?                                                                         10
                    @ M d a ni elsr e c hts @tri b el a w @J effr e y T o o bi n J e a n C arr oll ? t h e cr a z y c hi c k w h o wr ot e a f a nt as y st or y         htt p://t witt er. c o m/ d e n v er _ m c c
                    a b o ut b ei n g r a p e d i n bl o o mi n g d al es ?\ n\ n T h at c hi c k ?\ n\ n F F S, g et a cl u e. S a d t h at y o u c all y o urs elf a   o m b/st at us es/ 1 4 2 8 1 8 5 6 6 4 8 4 4
2 0 2 1- 0 8- 1 9   l a w y er wit h o ut e v e n a b asi c u n d erst a n di n g of t h e f a cts....                                                                   087302
                    @ W V U M A M A 2 @s u e kr e k @ D o n al dJ Tr u m pJr @ji m m yf all o n @ F all o n T o ni g ht @ n b cs nl @ c o m c ast                        htt p://t witt er. c o m/J d u b A n dr e w
                    @ ej e a n c arr oll M a y b e h e h a d c o ns e ns u al s e x wit h h er D e c a d es a g o a n d s h e is a cr a z y l a d y w h o s a v e d      /st at us es/ 1 4 2 6 2 3 9 2 6 9 7 6 5 6 3 2 0
2 0 2 1- 0 8- 1 3   t h e dr ess a n d is n o w cl ai mi n g it w as r a p e i n a dr essi n g r o o m.                                                                  01
                                                                                                                                                                         htt p://t witt er. c o m/ G al a dri el R e
                                                                                                                                                                         sist/st at us es/ 1 4 2 6 2 3 3 5 9 3 4 0 0 0
2 0 2 1- 0 8- 1 3   @ ej e a n c arr oll H alf p ast cr a z y q u art er t o f k d                                                                                       25095
                                                                                                                                                                         htt p://t witt er. c o m/ C ar m e n D e ni
                                                                                                                                                                         s e U K/st at us es/ 1 4 2 6 2 2 7 9 5 4 4 6
2 0 2 1- 0 8- 1 3   @ ej e a n c arr oll Cr a z y o cl o c k p m                                                                                                         0368897
             Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 20 of 67


Date         Post Text                                                                                            URL
             @poconnell2 @ananavarro @ejeancarroll The same screwball woman who waited until she had a
             book to pimp...ahem...sell before off-handedly claiming that Trump felt her up 30+ years ago? Notice http://twitter.com/MCWAY20
             how all these loons claim something happens DECADES ago, but only when Trump was becoming            00/statuses/142293999423522
2021-08-04   (and actually became) president                                                                      8162
             Loads of Twitter Libs conflating stories. Let’s take them 1 by 1:\n\nCuomo - an investigation        http://twitter.com/RightOpinio
             substantiated many of the allegations against him.\n\nKavanaugh - zero credible witnesses\n\nTrump - nPod/statuses/1422602785053
2021-08-03   E. Jean Carroll’s crazy “rape is romantic” ass\n\nGaetz - investigation pending. We’ll see.          417473
                                                                                                                  http://twitter.com/twistcones/s
                                                                                                                  tatuses/142227117208814797
2021-08-02   @ejeancarroll @kathygriffin Wow. You're crazy as hell.                                               4
                                                                                                                  http://twitter.com/rialto55/stat
2021-07-30   @kathygriffin @ejeancarroll That chick is a crazy person.                                            uses/1421121782694690823
                                                                                                                  http://twitter.com/ninergirlca/s
                                                                                                                  tatuses/141935873708978586
2021-07-25   @kathygriffin @ejeancarroll No thanks! She’s as crazy as you are. So that make sense. Enjoy!         2
                                                                                                                  http://twitter.com/barnes_law/
                                                                                                                  statuses/14110628356274503
2021-07-02   The delusional mindset of one crazy person citing another crazy person.                              75

           @ejeancarroll or because grifters like you cry wolf, then when there is a credible accusation like Tara http://twitter.com/dttpeople/sta
2021-06-30 Reid made, she is smeared mercilessly by those with a political agenda. https://t.co/MvO6PgI4pA         tuses/1410285190228844546
                                                                                                                   http://twitter.com/Fitzbo/statu
2021-06-23 @ejeancarroll You’re either an idiot or crazy.                                                          ses/1407663544506761232
                                                                                                                   http://twitter.com/SteveWCarl
           @ejeancarroll @JoyAnnReid This just shows that you ARE crazy. Have you ever heard of the gender son/statuses/14075402277621
2021-06-23 quotas in the @dnc? Give you power you never really earned.                                             80098
                                                                                                                   http://twitter.com/enigmaticrh
                                                                                                                   ythm/statuses/1403368043258
2021-06-11 @ejeancarroll You’re crazy.                                                                             974218
                                                                                                                   http://twitter.com/MarieLl840
                                                                                                                   22042/statuses/140316054635
2021-06-11 @ejeancarroll You are one crazy, sinister person                                                        9353351

             @MSNBC @JoyceWhiteVance E. Jean Carroll never said anything for many years about her                   http://twitter.com/Mike_Smith
             somewhat bizarre "rape" claim until she was ready to publish a book and needed publicity. When the _12/statuses/14029273716243
2021-06-10   sales were disappointing she filed a law suit against Trump, very probably to get some more publicity. 21028
             @Carol38993385 @indivisiblestl @ejeancarroll I realize people like you think their opinion is fact .. http://twitter.com/GINGEReva
             I don’t believe Joe Biden won the election and I know E Jean Carroll is a vindictive bitch who is      ns55/statuses/1402857591709
2021-06-10   trying to increase sales on her book                                                                   999112
                                                                                                                    http://twitter.com/Mike_Smith
             @MSNBC E. Jean Carroll began blaming the President when her book went to market to gain                _12/statuses/14025392063255
2021-06-09   publicity. When the book did not sell well, she sued Trump.                                            10145
             @Donna97698719 @KatiePhang @ejeancarroll @MSNBC She’s lying her ass off. The woman is
             clearly bat crap crazy and just wanting attention. She picked an easy target that she knew the media   http://twitter.com/roosterguy6
             and Democrats would buy everything she’s selling because they have a weird, psychotic, and             9/statuses/1402438533093154
2021-06-09   dangerous hatred of the man.                                                                           822
                                                                                                                    http://twitter.com/roosterguy6
             @KatiePhang @ejeancarroll @MSNBC She deserves a straight jacket. She’s obviously crazy as hell 9/statuses/1402436828096090
2021-06-09   and only came out to destroy President Trump because he’s a Republican                                 115
                                                                                                                    http://twitter.com/AngelGSDl
                                                                                                                    over/statuses/1402310463212
2021-06-08   @glennkirschner2 @ejeancarroll Lol - that woman is fucking crazy. A literal loon.                      425227
                                                                                                                    http://twitter.com/HumbleSava
             Cry harder... I'm sure it has nothing to do with that Chic being batshit                               ge74/statuses/1402308197076
2021-06-08   crazy.\nhttps://t.co/UJMySPAPDC                                                                        156420
             @ForrestWoodruf3 @KayChase2016 @Michael17874670 @mkraju @eorden Hasn't washed dress
             for 25 yr, no sperm on dress, spit/snot on sleeve, who sneezed on it?\n\nAccording to her article      http://twitter.com/ClearBl627
             below, seems she's the World's Most Raped Woman\n\nAll this to get her name out to sell her book,      88804/statuses/140214849879
2021-06-08   "What do We Need Men For?"\n\nhttps://t.co/zSaa4DLHXh                                                  1878658
             Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 21 of 67


Date         Post Text                                                                                               URL
             @Michael17874670 @mkraju @eorden No sperm on dress, not washed for 25 yrs, there's spit/snot on
             sleeve, did the rich b's maid sneeze on it?\n\nAccording to her article below, seems she's the World's http://twitter.com/ClearBl627
             Most Raped Woman\n\nWouldn't give this nut my DNA either\n\nGetting name out to sell her book           88804/statuses/140214522632
2021-06-08   \n\nhttps://t.co/zSaa4DLHXh                                                                             4688900
             @ejeancarroll @MaryLTrump @kaplanrobbie @JoyceWhiteVance @KatiePhang @jentaub Are you
             absolutely senile woman ? Every woman has been scorned by a man at some time in their life .. but       http://twitter.com/GINGEReva
             it’s absolutely embarrassing at your age, and after so many years you are now in court ? So obviously ns55/statuses/1402123343306
2021-06-08   political!!! Get a life and move on you crazy woman!!                                                   715137
                                                                                                                     http://twitter.com/BrainySam/
             @ejeancarroll What a hilarious read -- I am comforted to know that crazy people find each other to      statuses/14008304869984911
2021-06-04   mutually torture!                                                                                       36
                                                                                                                     http://twitter.com/ladybleedsbl
                                                                                                                     ue/statuses/140055649463928
2021-06-03   @ejeancarroll Crazy and dumb                                                                            0128
                                                                                                                     http://twitter.com/powerplay_
                                                                                                                     group/statuses/139736933684
2021-05-26   @Proof69 @ejeancarroll You dumb brainless liberals and your conspiracy theories. You are all crazy 7814656
                                                                                                                     http://twitter.com/nikonchick/s
                                                                                                                     tatuses/138330869005324288
2021-04-17   @ejeancarroll Crazy is crazy with or without makeup.                                                    4
                                                                                                                     http://twitter.com/godrulesbest
             @ejeancarroll This woman is a fake. Just look at her, crazy as hell right there from the clothes to the /statuses/13831633631154708
2021-04-16   hair.                                                                                                   50
             @lostsin44 @spearsdeni @habibur @Wizard_Predicts christine novak (@getbusy5)
             Tweeted:\nWatch Where E. Jean Carroll Got Her Crazy Story From https://t.co/RKXftTkJwV                  http://twitter.com/getbusy5/sta
2021-04-11   https://t.co/xqo5uErJx8                                                                                 tuses/1381061141821075456
                                                                                                                     http://twitter.com/getbusy5/sta
2021-04-11   Watch Where E. Jean Carroll Got Her Crazy Story From https://t.co/RKXftTkJwV                            tuses/1381053582137565184
                                                                                                                     http://twitter.com/wolters_ann
                                                                                                                     /statuses/13762601175413063
2021-03-28   @SeanTCurrey @DonaldJTrumpJr @VP @ejeancarroll is looking for fame...and to sell her book.              68
                                                                                                                     http://twitter.com/Radical_Las
                                                                                                                     agna/statuses/1375815938642
2021-03-27   Everyone remember this lying whore?                                                                     223105
             @Gregghead69 @MiddleMolly @HouseIsBorgia @SandwichLandfi1 @ReadeAlexandra I'm no rape
             apologist!..I am a child victim/survivor who detest TR for her false accusations against Biden!...Who http://twitter.com/shelly_laugh
             will not take her case to the courts like E.Jean Carroll is doing now to show she was a                 ing/statuses/13702797449823
2021-03-12   victim!...Victims like me who have no political clout thinks she's BS crazy!                            76448
                                                                                                                     http://twitter.com/jaydee36348
                                                                                                                     269/statuses/13698901665093
2021-03-11   @ejeancarroll Whore what's your point?                                                                  50914
             @ejeancarroll Writes a book called "what do we need men for?", obviously a typical feminist vegan
             psycho who hates men. If you are trying to ruin this man's life for some political agenda, you deserve http://twitter.com/RamteenT/st
2021-02-24   to get caught and I hope he sues. If what you are saying is true you better have evidence!              atuses/1364434136564310017
                                                                                                                     http://twitter.com/TweetHeckl
                                                                                                                     e/statuses/1363942027357007
2021-02-22   @ejeancarroll You crazy https://t.co/AwihonTbFY                                                         877
                                                                                                                     http://twitter.com/nsj81/status
2021-02-14   @ejeancarroll You sound too crazy Jean sorry but it’s true                                              es/1360842052544552962

           @ejeancarroll So I guess your next on the smear agenda. Sorry but coming out and making an               http://twitter.com/Kellyring/st
2021-02-14 accusation....how long ago was it? Wondering- have a book deal yet?                                      atuses/1360800231424720902
                                                                                                                    http://twitter.com/thomasbesse
                                                                                                                    tte7/statuses/13556832425701
2021-01-31 @ejeancarroll @cathkestler Your another crazy lib                                                        08935

           @ejeancarroll You gotta wonder what happened in her life to make her that crazy. Can you imagine  http://twitter.com/LJBM66/sta
2021-01-29 Sunday dinner at that house?🤪🤪                                                                    tuses/1355245443454787590
                                                                                                             http://twitter.com/coombs1109
           @ejeancarroll Of course people should move on. You should too. Otherwise, people will continue to /statuses/13546369976887459
2021-01-28 think you are vindictive and, perhaps, crazy.                                                     88
             Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 22 of 67


Date         Post Text                                                                                              URL
                                                                                                                    http://twitter.com/LilMsOpini
                                                                                                                    on/statuses/135197308902697
2021-01-20 This woman is batshit crazy.                                                                             3696
                                                                                                                    http://twitter.com/quigzbackun
                                                                                                                    der2/statuses/1350949023805
2021-01-17 Nasty ass whore monster                                                                                  530115
                                                                                                                    http://twitter.com/JonathanFal
                                                                                                                    cons/statuses/1350619041493
2021-01-17 @ejeancarroll @SpeakerPelosi @chefjoseandres @WCKitchen You’re a crazy lady                              352448
           Sure you are sweetie. \nAnd what would be your reasons?\n\nIm just trying to figure out if you're just   http://twitter.com/vin9251/stat
2021-01-17 misinformed, or if you're batshit crazy like the left.                                                   uses/1350611645546995716
                                                                                                                    http://twitter.com/ShannonHal
                                                                                                                    ll/statuses/1350298986347962
2021-01-16 @ejeancarroll @VanityFair You people are flat out crazy                                                  370
                                                                                                                    http://twitter.com/BostonMag
                                                                                                                    gie/statuses/13495965805219
2021-01-14 @ejeancarroll Shut up, crazy.                                                                            22562
                                                                                                                    http://twitter.com/KacperS85/
                                                                                                                    statuses/13495460939740693
2021-01-14 @ejeancarroll Yea you’re not a bat shit crazy lunatic at all.                                            22
                                                                                                                    http://twitter.com/PAmerica20
           @ejeancarroll @tribelaw @SpeakerPelosi No. You are crazy. Let us expel @jerrynadler for seeking          21/statuses/134881344578592
2021-01-12 clemency for 1983 bombing. You are crazy. We all know you are crazy.                                     3587
                                                                                                                    http://twitter.com/xosetihw171
                                                                                                                    /statuses/13484272949526159
2021-01-11 Hang the ass wipe 🦇🦇 💩💩 crazy 🤪🤪                                                                         39
                                                                                                                    http://twitter.com/rightwingnat
           I just saw a tweet from @ejeancarroll saying she survived trumps presidency lmfao shut your whore        ive/statuses/13463138972849
2021-01-05 mouth                                                                                                    19298
                                                                                                                    http://twitter.com/AProudAme
                                                                                                                    rican5/statuses/134143538547
2020-12-22 Aren't you the crazy lady that falsely accused the President? 😆😆😆😆😆😆😆😆😆😆😆😆                               8569987
                                                                                                                    http://twitter.com/ErinYou365
           @solar_resister @ejeancarroll @realDonaldTrump There is no settlement for the case she brought           35631/statuses/133677693473
2020-12-09 against him because she made the whole thing up to sell her book.                                        1046912
                                                                                                                    http://twitter.com/Zane_bayar
                                                                                                                    ea/statuses/133547828006181
2020-12-06 @aaronjmate Almost as crazy as E. Jean Carroll                                                           2736
                                                                                                                    http://twitter.com/TiredOfThe
           @ejeancarroll @realDonaldTrump Crazy old bat! Trump wouldn't even touch you with someone                 BS15/statuses/133396709407
2020-12-02 else's d_ck! \n😂😂😂😂😂😂                                                                                    3892864
           Another ones joined the Turd Parade. How fitting. However, we are not stupid, you're clearly fuelling
           a different fire of your own agenda by associating with a domestic abuser who framed her victim for http://twitter.com/tiny_toff/sta
2020-11-27 her own crimes, despite having zero credible evidence...                                              tuses/1332303614551994368
                                                                                                                 http://twitter.com/SAINTFAN
                                                                                                                 1918/statuses/1331413100755
2020-11-25 @ejeancarroll @Alyssa_Milano You're the crazy lady, right?                                            628034
                                                                                                                 http://twitter.com/bell_bellgon
                                                                                                                 /statuses/13305752656137666
2020-11-22 @ps9714 @grantstern @DrGJackBrown @ejeancarroll Carroll is bat shit crazy.                            56
           @ejeancarroll @thats_true @icenine457 @MollyJongFast @GSAEmily You called the woman fat?              http://twitter.com/tigerladytex
           Wow. After seeing you make random comments during your interviews I decided you’re bat poop           as/statuses/132855543571725
2020-11-17 crazy, but I didn’t realize that you’re just another mean woman.                                      5168
                                                                                                                 http://twitter.com/Muh867530
                                                                                                                 9/statuses/1327939551982198
2020-11-15 @ejeancarroll @NewYorkStateAG Crazy tin foil hat lady say’s what?                                     784
                                                                                                                 http://twitter.com/jmjones220
                                                                                                                 7/statuses/1324727375867875
2020-11-06 @ejeancarroll @kathygriffin You spelled **irrelevant** wrong crazy lady....                           328
              Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 23 of 67


Date         Post Text                                                                                                URL

           @ejeancarroll Really @ejeancarroll? It’s crazy that Trump is fighting to release his DNA in your       http://twitter.com/Sue7863847
           case, evidence that would exonerate him if innocent. But your theory is asinine, and especially coming 0/statuses/1324065816166473
2020-11-04 from you?? WOW. NO woman wants to be grabbed by him. I think it’s more that they are pro-life.         729
           Really @ejeancarroll? It’s crazy that Trump is fighting to release his DNA in your case, evidence that http://twitter.com/Sue7863847
           would exonerate him if innocent. But your theory is asinine, and especially coming from you??          0/statuses/1324063751813943
2020-11-04 WOW. NO woman wants to be grabbed by him. I think it’s more that they are pro-life.                    296
           @JulienDoucet1 @stewpertroooer @el_CleaningGuy @gabriella__35 @JoeBiden Distorted. \nAlso,
           there are 2 rape accusations, not 22.\n\n1. Jane Doe (aka Katie Johnson) withdrew her lawsuits, and    http://twitter.com/angie_eeee/s
           later admitted that Epstein was the only man she remembered from her era as a teen hooker.\n\n2. E. tatuses/132311828887285350
2020-11-02 Jean Carroll, the crazy bat who has accused 21 men.\n\nStop lying.                                     8

                                                                                                                      http://twitter.com/jo_USA_/st
2020-10-31 @Thorman_Lungie @EricTrump Because E. JEAN CARROLL IS BATSHIT CRAZY                                        atuses/1322559641142894596
           @IndiSingh75 @Valandingham1 @The1OnlyRichie @realDonaldTrump (6/9)Or that crazy lady E.
           Jean Carroll who is demanding a DNA sample from Trump to match a “semen stain”on a dress that              http://twitter.com/Jwasha713/s
           she still refuses to show authorities,lawyer, or anyone but she swears she has it. But since she has a     tatuses/132206097997540966
2020-10-30 non believable story she’s just suing for defamation?                                                      4

           It's sad to see how hard crazy women worked to get noticed then along comes...E Jean Carroll. Be            http://twitter.com/jackphatz/st
2020-10-27 careful what you wish for, dingbats.                                                                        atuses/1321157093160878081
           @ejeancarroll you make a bad name for those innocent victims who were “really” raped! You are               http://twitter.com/Calaminka/s
           doing this suit in order to sell books and turn the people from Trump to Biden! I work with true            tatuses/132114037801629696
2020-10-27 victims of rape and they do not have an agenda such as yours                                                1
                                                                                                                       http://twitter.com/GINGEReva
             @Logic_Triumphs @ejeancarroll @kaplanrobbie @JoshuaMatz8 Yes you are right .. a MUCH                      ns55/statuses/1321099839812
2020-10-27   MUCH more important situation. Than this crazy old lady trying to defame.                                 194304
                                                                                                                       http://twitter.com/GINGEReva
             @Lexximagic @ejeancarroll @kaplanrobbie @JoshuaMatz8 She’s one of those CRAZY OLD ladies ns55/statuses/1321098569118
2020-10-27   !!!                                                                                                       433280
             @ejeancarroll Do you even realize how crazy you are appearing ? Only the looniest of Trump                http://twitter.com/GINGEReva
             detesters are supporting you. You actually saved DNA from 30 years ago ? Someone like Soros must ns55/statuses/1321094779241
2020-10-27   be covering your lawyer fees . Go away.                                                                   926660
                                                                                                                       http://twitter.com/ITSTHEKU
             @ejeancarroll @lisamurkowski Are you that crazy psycho that lied about Trump and then hit on              NGFLU/statuses/1320159836
2020-10-25   Anderson Cooper. 😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂                                                       173225984
                                                                                                                       http://twitter.com/jannyfayray/
                                                                                                                       statuses/13189966231842078
2020-10-21   @dan_nance @CalforNC Crazy E. Jean Carroll. LOL                                                           72
             @cryptomage @gobbagon @ScottAdamsSays He’s talking about this being brought up ......again. I             http://twitter.com/Terryfolds9/
             honestly hope there is a trial, this bitch is crazy. I’m a rape survivor and if he did it he should go to statuses/13189264821866209
2020-10-21   jail but her story is not solid. https://t.co/uSrfBZ6BiE                                                  29
             @DiogenesLamp0 @BeautyIsMine77 @joelpollak @ScottAdamsSays @ejeancarroll Well apparently
             he didn't need to give his DNA to anyone because there wasn't enough evidence, otherwise they             http://twitter.com/Metal4533/s
             would've charged him\n\nIf some crazy lady asks for your DNA out of the blue with no evidence of          tatuses/131868940645517312
2020-10-20   you raping her, you don't need to give them shit                                                          0
                                                                                                                       http://twitter.com/Djyak2000
             @ejeancarroll Woman, you are one crazy idiot to make up such a shitty story! NO, you don't have to Debbie/statuses/13183429450
2020-10-20   believe all women. YOU are one of the reasons why.                                                        95942145
                                                                                                                       http://twitter.com/sonnylanage
                                                                                                                       r/statuses/1317893221322772
2020-10-18   @funder @ejeancarroll Looking at this lying bitch is gut wrenching. You need to do better.                480
             @ejeancarroll Wow, you're one piece of a crazy bitch! Trump raped you in a dressing room you say? http://twitter.com/mminin2010
             Why didn't you scream for help then? Go fuck yourself with a cucumber, I hope you never see a dick /statuses/13177568015556812
2020-10-18   in your life. Who's gonna rape you?? You look like a pile of trash and you talk like one too.             80
             @Pat_Bojanglez @KyraPhillips @realDonaldTrump @ABCPolitics @ABCNewsLive                                   http://twitter.com/JeanetteSch
             @ABCWorldNews @ABC @johnrobertsFox E. Jean Carroll is batshit crazy. Masks don't work, it                 mitt/statuses/13138370549759
2020-10-07   says that right on the box of the masks. So apparently you're not reading.                                75424
             @ejeancarroll You need a man to set your crazy self straight. You've obviously have lost your mind. http://twitter.com/cheekies777
             You better get ready for his Re-Election. What your trying to do is just wrong. You really have a         /statuses/13134374258265088
2020-10-06   Problem.                                                                                                  07
             Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 24 of 67


Date       Post Text                                                                                               URL
           @JoshuaMatz8 @kaplanrobbie @ejeancarroll Everyone knows she's #Crazy like the #CrazyLeft
           #DemocratsAreCorrupt #DemocratsAreDestroyingAmerica want to pack the court, 45 extra                    http://twitter.com/verharen_wi
           democrats to the house and abolish the electorial college. No elections needed. The #Democrats only     m/statuses/131338001645401
2020-10-06 want power and your guns                                                                                7024
                                                                                                                   http://twitter.com/RobertHern
           @jphillips6030 @HemsworthsK @ejeancarroll Wondering why anyone who has seen this woman                  don9/statuses/1311285874848
2020-09-30 speak doesn’t think she isn’t crazy as hell. Trump went after attractive women. She wasn’t, at any time 681988

           @ejeancarroll One thing I am certain of is he would never have touched yours with a ten foot pole.
                                                                                                      http://twitter.com/1952polly/st
2020-09-28 You are one batshit crazy woman                                                            atuses/1310714772049072137
           @SheldonBeatty @DavidJHarrisJr @realDonaldTrump @ejeancarroll I would never give them my   http://twitter.com/hollyjayewil
           DNA for nothing especially that crazy lady that claims he raped her which was a law and order
                                                                                                      ey/statuses/131056913859578
2020-09-28 episode                                                                                    6753
                                                                                                      http://twitter.com/_Go_To_Sc
           @ejeancarroll @kaplanrobbie @MaryLTrump @realDonaldTrump Lol, aren't you the crazy one who hool_/statuses/130920553059
2020-09-24 no one believed?                                                                           9096320

                                                                                                                   http://twitter.com/1952polly/st
2020-09-21 @ejeancarroll @AOC You just keep reconfirming that you are 100% batshit crazy                           atuses/1307864224174145537
                                                                                                                   http://twitter.com/suainthesack
                                                                                                                   /statuses/13067250647007232
2020-09-17 one dumpy old whore cheering on another. yay progress!                                                  03
                                                                                                                   http://twitter.com/RPEnheim/s
                                                                                                                   tatuses/130627909517344358
2020-09-16 @ComfortablySmug That's some E. Jean Carroll levels of crazy right there.                               5
           @TrueGrit10 @azstudigital I’ve read most of them. Like I said he’s a cad. If kissing or making a        http://twitter.com/melisande06
           pass at someone was a crime most men would be in jail during their dating years. And e Jean Carroll     831/statuses/13056424604423
2020-09-14 is batshit crazy.                                                                                       94625
                                                                                                                   http://twitter.com/420Elm/stat
2020-09-13 @ScottAdamsSays Crazy Jean Carroll’s false accusations against Trump. https://t.co/IfRdE1usTb           uses/1305128305146974208
           @MrDMummery @Enaud29 @stevehosid @LASDHQ @ejeancarroll Listen man, they have to side
           step to excuse their criminal behavior. They use criminals so they can turn around and be criminals
           with justification. We call these people trash. Trump has all charges dropped n that white woman in     http://twitter.com/TarkNado/st
2020-09-13 his pic...bat sh*t crazy. But they have to deflect                                                      atuses/1305113462734024704
           @TheAtlantic @ejeancarroll You have lost all credibility. There is nothing unbiased about you.          http://twitter.com/Skoup/status
2020-09-11 Rename to NeverTrump. You’re an embarrassment to journalism with a very obvious agenda.                 es/1304535444592488452
                                                                                                                   http://twitter.com/mindymzoo/
           Here we go....another Fishwrap Atlantic piece written by none other than the crazy @ejeancarroll        statuses/13044018156818513
2020-09-11 \nYou embarrass yourselves @TheAtlantic                                                                 92
           @IAmSophiaNelson @realDonaldTrump @ejeancarroll This crazy bitch? \n\nThe President of the              http://twitter.com/ProjectGr8A
           United States is not going to submit DNA to every mental patient who files a lawsuit, #resistard        gain/statuses/1304227966646
2020-09-11 https://t.co/I2B5M49ouy                                                                                 444037
           @AngriestMuffin 😡😡 Drinking the Jim Jones of Kool-Aid, CNN? That business with E. Jean Carroll          http://twitter.com/KeriAnne19
           is a bunch if bull! Just a has-been trying to sell her new book, which anybody in their right mind will 70/statuses/130414085203444
2020-09-10 not read!                                                                                               1217
           @Auntiemels @RiskyLiberal @JoeBiden @BarackObama @MichaelCohen212 @MaryLTrump
           @SenDuckworth @ejeancarroll @ChrisCuomo @NYGovCuomo @TheRickWilson
           @SteveSchmidtSES @gretchenwhitmer @donlemon I wish I could forget her. But she keeps popping http://twitter.com/SamsaraSin
           up. Guess she needs to grift some more. Lying bitch. I’m a REAL sexual assault survivor & a             gs/statuses/130390565598466
2020-09-10 domestic violence survivor so she makes me soooo angry.                                                 4580
                                                                                                                   http://twitter.com/DrwThereal/
           @ejeancarroll It is very curious how crazy women who base their identity on their looks go, once        statuses/13038225207814266
2020-09-09 they've lost their good looks.                                                                          88
                                                                                                                   http://twitter.com/FarLeftLibN
           you are a lying sack of shit, no more than a low life black mailing whore, no evidence what so ever.    utMo/statuses/130379962941
2020-09-09 Take your hate elsewhere, it's won't fly here.                                                          5239681
           @ReadeAlexandra @ejeancarroll I DONT BELEVE HER ....SHE IS BAT SHIT CRAZY ....SORRY http://twitter.com/barrowfluffy
           BUT I DONT BELIEVE IT ........I BELIEVE YOU BUT NOPE NOT HER ...SHE CANT EVEN                           /statuses/13037891789840424
2020-09-09 GET HER STORY STRAIGHT .....                                                                            98
                                                                                                                   http://twitter.com/SteveOsborn
           @JonathanTurley This is still going on? I thought we had already established E. Jean Carroll was a      eUS/statuses/1303722860880
2020-09-09 crazy person and had been lying.                                                                        556032
             Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 25 of 67


Date         Post Text                                                                                               URL
             @Gibsonian3 @Infantry0300 @realDonaldTrump @ejeancarroll @TheJusticeDept Because the                    http://twitter.com/PodMonkey/
             burden of proof is on the accuser, not the accused, and she's trying to sell her book and influence an  statuses/13037211172874076
2020-09-09   election.                                                                                               16
             @ejeancarroll @kaplanrobbie You already admitted you were not raped. The alleged "event" took           http://twitter.com/ArmyOfKar
             place in 1995. You waited until you had a book deal in 2019 to tell your "story." What the hell are you en/statuses/130371850094343
2020-09-09   going on about? Are you that much of an attention whore?                                                3728
                                                                                                                     http://twitter.com/JohnParshon
             @JoeZ84 @JackPosobiec Imagine being so desperate that you're banking on crazy person E Jean             /statuses/13037065182070292
2020-09-09   Carroll's accusations to impact the election                                                            52
             @baddogs4343 Yeah Joe Biden is a fucking rapist. I know. Poor Tara Reade. He's a disgusting
             pig.\n#JoeBidenISaRapist\n\nNO way Trump touched E. Jean Carroll, look at her. Gross!! She is           http://twitter.com/Trixiwin/sta
2020-09-09   definitely crazy.                                                                                       tuses/1303688827886764034
                                                                                                                     http://twitter.com/LauraLouU
             #TrumpIsARapist is more #FakeNews! Remember, E. Jean Carroll says her definition of rape is not SA/statuses/13036739566001
2020-09-09   sexual, nor doe it include sex! But she does have a book to sell!\nhttps://t.co/c0wKXqlyhc              72549
             @gametechpolitic E Jean Carroll is bat shit crazy with fictional story can’t make up the bullshit fast
             enough on CNN \n\nWeaponized Prosecutions have no place in America \n\nThere is more evidence http://twitter.com/Sticknstones
             in Joe Biden accuser Tara Reade as credible\n\n#Metoo Believe all women only when attacker is           4/statuses/1303662671045287
2020-09-09   republican                                                                                              942

                                                                                                               http://twitter.com/marisastio/st
2020-09-09 I do too.\nThat bitch be crazy                                                                      atuses/1303524210019573761
                                                                                                               http://twitter.com/crimsonfire3
                                                                                                               65/statuses/130351630976693
2020-09-09 @ejeancarroll @realDonaldTrump @kaplanrobbie You’re a crazy hag. Leave the President alone.         0433
           @ejeancarroll @realDonaldTrump @kaplanrobbie I knew it was about time for you to show up again. http://twitter.com/sparksthrow
            You're the only one legitimately crazy enough to follow through with fake accusations. It's pretty n/statuses/1303515950352867
2020-09-09 ironic that @TheAtlantic is pushing this. Actually.... no it's not. It's pretty on brand for them.  335

           This lady is crazy!! I've seen her interviewed and she sounded like she had a few screws loose. I don't http://twitter.com/CBuch64/st
2020-09-09 believe her story.                                                                                      atuses/1303488878544859142
                                                                                                                   http://twitter.com/GINGEReva
           @ejeancarroll @kaplanrobbie @JoshuaMatz8 You are one crazy insensitive stupid bit$h .. how much ns55/statuses/1303481463434
2020-09-08 are you being paid to bring this up ???? You are an embarrassment to my gender !!                       653696

                                                                                                                       http://twitter.com/kevnatch/sta
2020-09-08 @ejeancarroll @kaplanrobbie @JoshuaMatz8 Crazy old bat                                                      tuses/1303480566122242050
                                                                                                                       http://twitter.com/TweetHeckl
             @CorbeilFrancene @TeamTrump @GOPconvention In the case of E Jean Carroll, well that lady is               e/statuses/1298071836434071
2020-08-25   just good old fashioned batshit crazy lol https://t.co/5npOoXJFIn                                         556
             @ScottMa04014317 @CarySiegel @BubbaSmollett @JoeBiden @KamalaHarris You mean crazy E. http://twitter.com/illmakelamb
             Jean Carroll who took her fantasy rape accusation right out of a “Law and Order” episode in order to /statuses/12935647125845442
2020-08-12   sell her book?\nDo go on.🤣🤣🤣🤣🤣🤣🤣🤣                                                                         56
                                                                                                                       http://twitter.com/2020Times2
                                                                                                                       /statuses/12932194656693534
2020-08-11   Wow! Crazy woman is at it again!                                                                          73
             @Wvsteelerfan3 @sid_sycamore @LeadersMaster @ewarren Whatever happened to E. Jean Carroll http://twitter.com/MarkJames2
             after she claimed Trump raped her? Oh yeah she was dropped by the media after 5 mins when they            414/statuses/12929994407986
2020-08-11   realized just how much credibility she was lacking. She was obviously just trying to sell her book.       38080
                                                                                                                       http://twitter.com/ForceNorse/
             @KevinWi80470120 @NicholasWMay @Mizpah175 @Marywhydoyou @RudyGiuliani Jean                                statuses/12928204899042344
2020-08-10   Carroll is a lying bitch. Not worthy of Mr Trump's time.                                                  96
             @funder @realDonaldTrump @ejeancarroll Jean Carroll has been completely debunked. Her story is http://twitter.com/NhraPl/statu
2020-08-08   contradictory and crazy. Feel sorry for her, and stop acting like she is rational.                        ses/1292230324802519042
                                                                                                                       http://twitter.com/b4bama14/s
                                                                                                                       tatuses/129189614174807654
2020-08-08   @ejeancarroll @realDonaldTrump You just wish he did. Crazy old bag.                                       5
             This is going to be like listening to Blasey/Ford at the Kavanaugh hearings...she’s letting herself be    http://twitter.com/edmondson_
             used by the Dems to further their agenda, if anything I think it will further hurt “real” victims chances lisa/statuses/12918385266742
2020-08-07   of getting justice                                                                                        23105
                    Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 26 of 67


D at e              P ost T e xt                                                                                                                                        U RL
                    @ ej e a n c arr oll @ k a pl a nr o b bi e @J os h u a M at z 8 J ust a n ot h er l yi n g w h or e tr yi n g t o g et h er 1 5 mi n ut es of      htt p://t witt er. c o m/ K a d e n a K att/
                    f a m e. Ti m es u p ol d l a d y. Y o u p e o pl e will tr y a n yt hi n g t o d ef a m e o ur Pr esi d e nt. I h o p e y o u r ot i n             st at us es/ 1 2 9 1 8 1 3 5 5 2 2 8 2 6 3 6 2
2 0 2 0- 0 8- 0 7   h ell aft er t h e j u d g e sl a ps y o u d o w n!!                                                                                                88
                    W h at is e v er y o n e’s t h o u g hts o n t his w o m a n ? S h e s o u n ds b at s hit cr a z y t o m e. S h e s e e ms o bs ess e d
                    wit h hi m. I m e a n h er m ai n p a g e t al ks a b o ut hi m li k e t h at is w h o s h e is! @ H C V 1 9 9 1                                    htt p://t witt er. c o m/ c e c el e y/st at
2 0 2 0- 0 8- 0 7   htt ps://t. c o/s 4 9 v P q a k m q                                                                                                                 us es/ 1 2 9 1 7 9 9 9 9 3 7 2 0 9 4 2 5 9 2
                                                                                                                                                                        htt p://t witt er. c o m/ dr e a m y 1 2 1/
                                                                                                                                                                        st at us es/ 1 2 9 1 7 9 2 7 4 5 5 1 0 7 1 9 4
2 0 2 0- 0 8- 0 7   @ Kl asf el d R e p orts @ ej e a n c arr oll @ C o urt h o us e N e ws t h at cr a z y gi n a n d c at l a d y..l ol..                             91
                                                                                                                                                                        htt p://t witt er. c o m/ b o o d o g 4 8 4 9
                                                                                                                                                                        /st at us es/ 1 2 9 1 7 8 2 0 8 4 3 6 9 9 0 3 6
2 0 2 0- 0 8- 0 7   @ ej e a n c arr oll @r e al D o n al d Tr u m p S a ys t h e ps y c h o att e nti o n w h or e                                                     20
                                                                                                                                                                        htt p://t witt er. c o m/ D e n n y L o g gi
                                                                                                                                                                        ns/st at us es/ 1 2 9 1 7 6 0 0 1 7 7 9 7 0 0
2 0 2 0- 0 8- 0 7   @ D e br a M essi n g @ ej e a n c arr oll O h, s h e's t h e cr a z y o n e, ri g ht ?                                                             1218
                    @ ej e a n c arr oll @r o b b yst ar b u c k @ y e e z y e e z y 2 3 4 @ O c c a ms R a z or 6 4 6 @ E d Gr e e n b er g er                         htt p://t witt er. c o m/ C air ns B o er/
                    @ D a n n y P e v ot o Y o u'r e a n a bs ol ut e j o k e Ms C arr oll, F ar t o o u gl y a n d cr a z y f or a m a n li k e Pr esi d e nt          st at us es/ 1 2 9 1 5 4 2 6 5 1 3 1 3 9 0 5 6
2 0 2 0- 0 8- 0 7   Tr u m p. F u gl y s o w!                                                                                                                           64
                                                                                                                                                                        htt p://t witt er. c o m/s u m of a g u m/
                                                                                                                                                                        st at us es/ 1 2 9 1 4 4 8 2 5 0 1 0 5 5 6 5 1
2 0 2 0- 0 8- 0 6   @ ej e a n c arr oll Y o u ar e o n e cr a z y p ers o n a n d s h o ul d D E FI NI T E L Y n ot h a v e a n y g u ns!                              85
                                                                                                                                                                        htt p://t witt er. c o m/ h ar d b oss 7 6 7
                                                                                                                                                                        0/st at us es/ 1 2 8 9 9 9 3 3 4 4 1 0 6 5 4 1
2 0 2 0- 0 8- 0 2   W h er e i n t h e h ell t his cr a z y p e o pl e c o m e fr o m S M H 😂😂        ♂😂😂 ️                                                             057
                                                                                                                                                                        htt p://t witt er. c o m/ njt wi n 1/st at
2 0 2 0- 0 7- 2 7   @ ej e a n c arr oll C a n’t fi x cr a z y. T h at m e a ns y o u J e a n. htt ps://t. c o/ E 1i R 5 h 6 5 g 8                                      us es/ 1 2 8 7 7 4 2 2 6 0 2 1 8 4 5 4 0 2 3
                                                                                                                                                                        htt p://t witt er. c o m/ D a v y D a vi d
                                                                                                                                                                        D a vi d/st at us es/ 1 2 8 5 6 9 4 9 3 7 9 5
2 0 2 0- 0 7- 2 1   T his o n e's j ust as cr a z y as E. J e a n C arr oll a n d ri g ht u p t h er e wit h C hristi n e Bl a z y F or d.                              1019013
                    @ a m b er _ at h e y C at h y Ar e u m a k es E. J e a n C arr oll l o o k li k e a s a n e p ers o n. I’ v e al w a ys t h o u g ht Ar e u        htt p://t witt er. c o m/ W e G ot O n e
                    w as b ats hit cr a z y f or s o m e of t h e t hi n gs s h e h as s ai d o n n ati o n al t el e visi o n. S h e d es er v es t o b e h e ar d     Bi c h/st at us es/ 1 2 8 5 6 8 8 8 8 5 4 0 2
2 0 2 0- 0 7- 2 1   a n d t his i n v esti g at e d b ut I h a v e m y d o u bts alr e a d y.                                                                           574848
                    @ B e nj a mi n M c Gr a w 7 @ K e vi n T a vris @ri c e e 5 1 1 6 7 9 8 1 @ T O N Y x T W O @r e al D o n al d Tr u m p
                    @s e a n h a n nit y l mf a o j e a n C arr oll ? o h g o d, k y e a h y o u'r e pr o p erl y i n d o cri n at e d, t h at w o m a n m a d e        htt p://t witt er. c o m/ Cl y d er 3 6 6 5
                    a c c us ati o ns j ust t o g et att e nti o n t o s ell h er n e w b o o k, w o w s o m e of y o u ar e s o o o br ai n w as h e d its s a d       7 6 6 9/st at us es/ 1 2 8 2 7 3 2 7 0 9 3 5 8
2 0 2 0- 0 7- 1 3   a n d f u n n y t o o bs er v e                                                                                                                     571521

                                                                                                                                                                        htt p://t witt er. c o m/ d b b e a gl es/st
2 0 2 0- 0 7- 1 1   @ d c e x a mi n er @r e al D o n al d Tr u m p @ ej e a n c arr oll O h I r e m e m b er t his l a d y cr a z y                                    at us es/ 1 2 8 1 9 7 8 2 1 3 0 8 2 5 9 9 4 2 5
                    @ K ell y k 1 9 6 9 @ W hit e H o us e @r e al D o n al d Tr u m p Tr y f a cts o c c assi o n all y. T h e first ti m e E J e a n
                    C arr oll cl ai m e d Tr u m p r a p e d h er, s h e w as a n a d ult. S h e s ai d h e r a p e d h er wit h his e y es b ut n e v er               htt p://t witt er. c o m/ 7 bl a c kl a bs/s
                    t o u c h e d h er. S e c o n d ti m e, s a m e b asi c s c e n ari o b ut st or y c h a n g e d > > > s h e's tr yi n g t o s ell h er b o o k     t at us es/ 1 2 8 0 7 0 8 9 5 0 7 8 3 1 1 5 2 6
2 0 2 0- 0 7- 0 8   n o w.                                                                                                                                              4
                                                                                                                                                                        htt p://t witt er. c o m/ 1 _ RI N O _ KI
                                                                                                                                                                        L L E R/st at us es/ 1 2 7 9 0 0 2 1 7 8 9 7
2 0 2 0- 0 7- 0 3   @ ej e a n c arr oll A n ot h er cr a z y f e mi nist, g o o d l u c k. L ol                                                                        2246016
                    I nst e a d of w orr yi n g a b o ut c oll a psi n g a p ossi bl e p e d o cir cl e a n d fi n all y gi vi n g t h e h u n dr e ds of girls
                    w h o f ell vi ct o m t o e pst ei n a d g hisl ai n e, t his i di ot is j ust h a p p y t o p us h a p oliti c al a g e n d a, t h e l etf is      htt p://t witt er. c o m/t h a n asi 2 2/st
2 0 2 0- 0 7- 0 2   tr ul y dis g usti n g a n d if s h e t estifi es w at c h h o w m a n y d e ms g o d o w n                                                         at us es/ 1 2 7 8 7 4 4 9 5 7 4 1 9 9 1 3 2 1 7
                                                                                                                                                                        htt p://t witt er. c o m/ d e e bs _ 7/st at
2 0 2 0- 0 7- 0 1   @ ej e a n c arr oll @ k yl e griffi n 1 @ y as h ar B ut r a p e is ? O k cr a z y l a d y!                                                        us es/ 1 2 7 8 3 9 7 0 7 8 5 3 2 7 7 1 8 4 0
                                                                                                                                                                        htt p://t witt er. c o m/ p e m 6 5 8 5 7 7
                                                                                                                                                                        9 6/st at us es/ 1 2 7 5 4 6 9 3 6 6 9 9 4 3 0
2 0 2 0- 0 6- 2 3   @ ej e a n c arr oll Bit c h y o u cr a z y                                                                                                         9126
                                                                                                                                                                        htt p://t witt er. c o m/ Z A R D O Z 1 2
                    @ N a n c y A Fr e n c h Y o u b eli e v e t h at Br ett K a v a n a u g h is a r a pist ?\ n\ n Y o u R T t h e b at- S * * * cr a z y E J e a n   1 2/st at us es/ 1 2 7 2 2 5 7 9 7 8 6 8 3 5 3
2 0 2 0- 0 6- 1 4   C arr oll ?\ n\ n htt ps://t. c o/ q K N b V Y Y 0 4 3                                                                                              1267
                                                                                                                                                                        htt p://t witt er. c o m/ Dr H u b b ert/s
                    @ ej e a n c arr oll L yi n g a b o ut s e x u al ass a ult 4 0 y e ars l at er wit h n o ti m e a n d d at e j ust f or B o o k S al es            t at us es/ 1 2 7 1 8 8 9 6 0 7 1 5 2 6 1 1 3 2
2 0 2 0- 0 6- 1 3   m a k es A m eri c a n w o m e n l o o k li k e s c u m htt ps://t. c o/l K Ql 2 o 5 z Df                                                           9
             Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 27 of 67


Date       Post Text                                                                                               URL
           @YMKNc29 @jimmyofflagstaf @ejeancarroll @Lily_Warrior As I said it’s not up to the innocent to
           prove their innocence, prove him guilty, and an accusation is only an accusation it means nothing else,
           those laws are there to protect you as well. She is really not even worth paying attention to. She was  http://twitter.com/missksa/stat
2020-06-09 trying to sell her book.                                                                                uses/1270339242653253632

           @ejeancarroll Hey I haven't been able to look at a picture of her in 3years, when did she get the crazy http://twitter.com/atomixign/st
2020-06-07 eyes?                                                                                                   atuses/1269451809665540096
                                                                                                                   http://twitter.com/kingisdavid/
           @poopsi_doopsi @ejeancarroll Lol, it’s truly funny if anyone buys her lies... she’s doing it for book statuses/12689831884346204
2020-06-05 sales ONLY!!! If she isn’t, let her donate all proceeds to rape victims organizations                   24
           @CodyAllenSucks @RoseSZN_ @MichaelAMurdoc1 @dclightsout Where are those women now?
           Not a peep. No one ever filed any charges except E Jean Carroll who is one crazy old bird. Several http://twitter.com/magamamat
           got their mortgages paid by democrats. They went away. So did the Russia Collusion theory. Trump exas/statuses/1265955524694
2020-05-28 is a billionaire cad. He’s was a playboy.                                                               155265
                                                                                                                   http://twitter.com/KinTonTi12
                                                                                                                   /statuses/12574855861028782
2020-05-05 @justinbaragona @maxwelltani Uhhhh probably bc Jean Carroll is a crazy person?                          08
           @NopeOleonD @Dbell3Deb @ChrisH0101 @troisicomedy @thejtlewis so believe all women but
           this lying whore amirite? just say that and be done with the pretense that you are wondering            http://twitter.com/jeremydehne
           something. i mean hell you are on the e.jean carroll train and her revelation just so happened to pop   r/statuses/1257376798855348
2020-05-04 up along with a book release.                                                                           228
           @AndrewKerrNC Nice try. Jean Carroll was interviewed many times on liberal media, with a
           complete airing of her charges. Fox News covered it as well. The consensus was that she is crazy. No http://twitter.com/tedsthetruth/
           corroboration from anyone. Tara Reade has not been interviewed but has lots of corroborating            statuses/12567820832273367
2020-05-03 witnesses.                                                                                              05
           @MSignorile Let’s not forget this: E Jean Carroll lied. She had a proven political agenda. Tara
           Reade voted for Hillary and is a life long democrat. She has credibility unlike Carroll or Blasey-Ford. http://twitter.com/r_uptown/st
2020-05-02 Make a note of it. Integrity is not a leftist value.                                                    atuses/1256608290085187585
           @TheMominatrixx @mercedesschlapp @JoeBiden @realDonaldTrump @POTUS @ejeancarroll                        http://twitter.com/TeresaH584
           You people need to get together! 25 woman no, no it's 43 women!!!\nAnd you should be ashamed            90914/statuses/125643284838
2020-05-02 even bring that nutcase Jean Carol up! She tried to sell her book of BS!                                8661249

                                                                                                                 http://twitter.com/albodden/sta
2020-05-02 @ejeancarroll @realDonaldTrump You crazy                                                              tuses/1256393428243566593
                                                                                                                 http://twitter.com/TTP_Thats
             @ejeancarroll @realDonaldTrump You know somebody’s crazy when the first line in their biography Me/statuses/12563815952854
2020-05-02   talks about who their suing. 😂😂                                                                     83520
                                                                                                                 http://twitter.com/sjbjgb2017/
                                                                                                                 statuses/12563636022164520
2020-05-01   @ejeancarroll @realDonaldTrump What a crazy looney woman!!!                                         97
                                                                                                                 http://twitter.com/AgentCoopr
             @judynbea @ejeancarroll @kurteichenwald @realDonaldTrump The President doesn't just give a          702/statuses/12563605321285
2020-05-01   DNA samples to some crazy person just because she asks for it.                                      34533
             @NormDePlume69 @seanspicer @POTUS @realDonaldTrump @JoeBiden You are taking her                     http://twitter.com/gjscash/stat
2020-05-01   serious, she was just trying to sell a book\nhttps://t.co/GYMwmuhuaL                                uses/1256342065136492544
                                                                                                                 http://twitter.com/GleasonEdel
                                                                                                                 /statuses/12563378237008896
2020-05-01   @TimesJoyous @DonaldJTrumpJr Jean Carroll? She is a Crazy old lady!!                                05
             @Undclrd_Leans_R @ejeancarroll @realDonaldTrump Seriously. But instead they will grill Biden
             over and over and over, about a woman who clearly has mental illness (and an agenda)                http://twitter.com/ThisFlyin/st
2020-05-01   https://t.co/1dkga7NvGV                                                                             atuses/1256327553259732992
             @mmpadellan Ummm... every Trump (and Kavanaugh) accuser was paraded in front of mic and
             heralded for telling their story, even when they were bat-shit crazy (see: E. Jean Carroll/Julie    http://twitter.com/RightOpinio
             Swetnick). And none of them (Dr. Ford included) had half the evidence Ms. Reade has.                nPod/statuses/1256236777712
2020-05-01   #DoubleStandard                                                                                     635909
             @mikerhoneTM @brad_polumbo @Timodc Let's see E. Jean Carroll just so happened to be                 http://twitter.com/jeremydehne
             promoting a book at the same time she was making the rounds. I know you know this cause the sales r/statuses/1255555592686571
2020-04-29   sucked. https://t.co/nMKwGl7qa0                                                                     521
             @Bob85703632 @woody170661 @Stephie_Joh @CurtisHouck @Acosta Ohhhh plz... that jean                  http://twitter.com/TDBlanken/
             Carroll woman is crazy as a bat... she got her story from a tv show.. that crap was proven false... statuses/12553159535435120
2020-04-29   bullshit on the 13 year old... and haven’t even heard of the other one he named!!                   64
              Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 28 of 67


Date       Post Text                                                                                                 URL
           @BobNzelu @Oddy4real @keneike @nnabros @parscale @ejeancarroll There is a reason all the
           Trump accusers fade away, none of them has a credible accusation. I read all their stories. Many          http://twitter.com/DragonMar
           sounded ridiculous. You can tell they all have a political agenda and are lying. In fact, I remember it   ko1/statuses/12551627443257
2020-04-28 was revealed some were getting paid to accuse him                                                         87650
                                                                                                                     http://twitter.com/JohnParshon
           @pamkevelson @RaheemKassam @realDonaldTrump @JoeBiden Remember how much immediate                         /statuses/12551475497924280
2020-04-28 coverage @ejeancarroll got?\n\nThen it turned out she was a crazy person.                                 34
           @rising_serpent There are 2 stories on CNN about Tara Reade:\n\n1 of her mom calling Larry King           http://twitter.com/2xBeepBoo
           about it in 1993 & another about how the DNC is handling questions\n\nCNN had 20+ stories on E.           pVodka/statuses/1254778023
2020-04-27 Jean Carroll & did at least 1 crazy 11 minute interview with the nut                                      066259456

                                                                                                                http://twitter.com/JBaccula/sta
2020-04-18 @ericsslater @jaketapper CNN trotted our E Jean Carroll multiple times and she was a crazy person.   tuses/1251348706495885312
                                                                                                                http://twitter.com/LindaBouldi
                                                                                                                n/statuses/1248930326069628
2020-04-11   Paging @ejeancarroll crazy story right?                                                            928
             @yeaheyesaidthat @Mallogeno @VincentFilippi2 @carleebullock7 @havok752011 @DevinNunes http://twitter.com/IamSWJohn
             1st amendment says you can block me or really better than STFU AND BLOCK ME! Jean Carroll is a son/statuses/12454865407483
2020-04-01   attention whore!                                                                                   57632
             @DemGenZ @thecoldsoviet @JoeBiden Are you a rape apologist? Dr Ford and that batshit crazy         http://twitter.com/Desmosthen
             author Jean Carroll had no evidence and were even refuted. But you all said we were rape apologist es2/statuses/12445057326382
2020-03-30   and supporting an abuser. Oh how the tables have turned. https://t.co/gvGNAFzq6b                   98113
                                                                                                                http://twitter.com/Patrick1112
             @PiotrJaranowsk1 @ABC @MissBeaE Or remember @ejeancarroll? The media was all over that             0063/statuses/1238796610189
2020-03-14   for a hot minute before they realized she’s a crazy lady.                                          983744
                                                                                                                http://twitter.com/Perrybr231/
                                                                                                                statuses/12382418242145730
2020-03-12   @ejeancarroll Too late. You’re crazy and a liar.                                                   62
                                                                                                                http://twitter.com/Bella12575
                                                                                                                656/statuses/12378404385826
2020-03-11   @B52Malmet @ejeancarroll She's a crazy old bat like you.                                           40641
             @ejeancarroll @realDonaldTrump Oh shit, you're that crazy old bat who had your interview cut off
             because you started talking crazy. Lol. Something about women fantasizing about being raped or     http://twitter.com/DGoyham/st
2020-03-09   something. Oy vey lady. Seek help.                                                                 atuses/1236860202885869569
                                                                                                                http://twitter.com/RealKyleRo
             @ejeancarroll @realDonaldTrump It’s simple why they fired you, you’re batshit crazy. Good for      enick/statuses/123155778153
2020-02-23   them, it’s good somebody has some balls over there.                                                2139520
                                                                                                                http://twitter.com/Vicky86753
                                                                                                                09/statuses/123138527099560
2020-02-23   @ejeancarroll @realDonaldTrump Bloomberg "news" platforming a crazy lady                           3456
                                                                                                                http://twitter.com/reowen0708
             @V_actually @Squill_whispers @ejeancarroll If you watch past videos of this lady, she's 'beyond    /statuses/12313069354141982
2020-02-22   classification' -- or, in more modern vernacular, crazy as hell.                                   74
                                                                                                                http://twitter.com/MDLogan4/
                                                                                                                statuses/12312937801433333
2020-02-22   @ejeancarroll @realDonaldTrump I’m sure it had nothing to do with being bat shit crazy.            77
                                                                                                                http://twitter.com/JerriRowan/
             @ejeancarroll @realDonaldTrump The ‘ridicule and defamation’ you experienced is all on you.        statuses/12310159890490040
2020-02-22   Batshit crazy women like you are an embarrassment.                                                 34
                                                                                                                http://twitter.com/Joyce_M_V
                                                                                                                incent/statuses/123090694331
2020-02-21   @ejeancarroll @realDonaldTrump Perhaps your crazy rape fantasy claim was too much for Elle.        0639105
                                                                                                                http://twitter.com/redmen4eve/
                                                                                                                statuses/12308622866313379
2020-02-21   @ejeancarroll @realDonaldTrump You fired yourself crazy lady.....move on                           84
                                                                                                                http://twitter.com/khardin480/
                                                                                                                statuses/12306242235651399
2020-02-20   @ejeancarroll @realDonaldTrump Everyone blames Trump. Crazy lady                                   69
                                                                                                                http://twitter.com/SandraKM1
                                                                                                                23/statuses/123060690828288
2020-02-20   @billmaher This E Jean Carroll? She's crazy!! https://t.co/HgI0WecFms                              4096
             Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 29 of 67


Date       Post Text                                                                                              URL
           @ejeancarroll @realDonaldTrump No. It isn't Trump's fault. It is because you are Crazy!!               http://twitter.com/rmwire/statu
2020-02-20 https://t.co/qmxhGqFZTE                                                                                ses/1230526965314179072
                                                                                                                  http://twitter.com/AProudAme
           @ejeancarroll @realDonaldTrump You were fired because you look like a mentally unstable person         rican5/statuses/123049217958
2020-02-20 on a press junket about a crazy story you made up. which totally embarrassed your employer.            1341696
                                                                                                                  http://twitter.com/chesleydohl/
                                                                                                                  statuses/12304871780413890
2020-02-20 @ejeancarroll @realDonaldTrump Carroll, you're a psychopath. Cash it in, crazy.                        56
                                                                                                                  http://twitter.com/ThyNamePa
                                                                                                                  triot/statuses/1230452465335
2020-02-20 @ejeancarroll @realDonaldTrump Crazy for Coco Puffs                                                    709697
           @AliceCr18721444 @ejeancarroll @realDonaldTrump How so? Did you see the crazy interviews               http://twitter.com/Ummmmich
           this woman did?\n\nDon't call me a bootlicker because I don't let hatred for the President blur my     elle/statuses/12304491988661
2020-02-20 common sense like other people are                                                                     61664
                                                                                                                  http://twitter.com/Kimberl470
           @ejeancarroll @realDonaldTrump Of course you do, it couldn't have had anything to do with you          31679/statuses/123041630171
2020-02-20 being batshit crazy. Go away already.                                                                  9355392
           'I was fired because Trump ridiculed my reputation, laughed at my looks, & dragged me through the
           mud' ...no you were fired because you're crazy...Trump rape accuser Jean Carroll is fired by ELLE    http://twitter.com/batalysta/sta
2020-02-20 after 26 years https://t.co/mDXPmC3fb6 via @MailOnline                                               tuses/1230408950606127105
                                                                                                                http://twitter.com/hrmartin45/s
           @ejeancarroll @realDonaldTrump I am pretty sure it had to do with the fact that your bat shit crazy, tatuses/123039058983068057
2020-02-20 but hey whatever helps you sleep at night.                                                           6
                                                                                                                http://twitter.com/debbiem549
                                                                                                                01965/statuses/123038397566
2020-02-20 @ejeancarroll @realDonaldTrump Person, you are crazy for Cocoa Puffs                                 9096448
                                                                                                                http://twitter.com/kbsquared1
           @dcexaminer @ejeancarroll @ELLEmagazine @realDonaldTrump Her column was smutty garbage. 961/statuses/12303732458635
2020-02-20 She’s cRaZy.                                                                                         71462

                                                                                                       http://twitter.com/1952polly/st
2020-02-20 @LATiffani1 @ejeancarroll @realDonaldTrump She is batshit crazy                             atuses/1230358243110768642
                                                                                                       http://twitter.com/telling_news
           @commonsense258 @ejeancarroll @jtLOL When my 20 y/o boys heard her say that, they both were /statuses/12303475897212395
2020-02-20 up in arms knowing she is a crazy person.                                                   52

           @ejeancarroll @realDonaldTrump Nothing to do with the fact that you're bat shit                        http://twitter.com/jmarch27/st
2020-02-20 crazy??🤔🤔🤔🤔\nGood luck the rest of the way..                                                           atuses/1230338412894474241
                                                                                                                  http://twitter.com/REEL_BRI
           @ejeancarroll @realDonaldTrump Listen you bar sheeeit crazy, you brought this all on yourself.         EF/statuses/12303365162677
2020-02-20 Congrats. You fired yourself. Stupid, 🤡🤡                                                               32993
                                                                                                                  http://twitter.com/nickname_b
           @ejeancarroll @realDonaldTrump Of course you blame Trump. It had NOTHING to do with your               j/statuses/1230333369101234
2020-02-20 own crazy words or behavior. Gotcha.                                                                   178
                                                                                                                  http://twitter.com/treebeard64/
                                                                                                                  statuses/12303318038961070
2020-02-20 @ejeancarroll @realDonaldTrump Or maybe it’s because you’re bat-sh*t crazy?\n#JustAThought             08
                                                                                                                  http://twitter.com/quentinking
           @ejeancarroll @realDonaldTrump Of course you do. Bless your ❤\n\nMaybe they just don't want            46/statuses/123033024478100
2020-02-20 your level of crazy.                                                                                   6848
                                                                                                                  http://twitter.com/laurenanned
                                                                                                                  oane/statuses/1230327321845
2020-02-20 @ejeancarroll @realDonaldTrump It’s because you’re batshit crazy.                                      854213

           @ejeancarroll @realDonaldTrump Yeah right, I’m sure it had nothing to do with you being bat 💩💩         http://twitter.com/ChelRBR/st
2020-02-20 crazy...                                                                                               atuses/1230320237268144128
                                                                                                                  http://twitter.com/TonyRobert
           @ejeancarroll @realDonaldTrump You only can blame yourself and your crazy claims. \n\nNobody           son/statuses/12303124118543
2020-02-20 with a brain believes your story                                                                       60576
                                                                                                                  http://twitter.com/americanchi
                                                                                                                  c/statuses/1230312292451061
2020-02-20 @ejeancarroll @realDonaldTrump Crazy hag                                                               760
             Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 30 of 67


Date         Post Text                                                                                           URL

                                                                                                             http://twitter.com/swrazer1/sta
2020-02-20 @ejeancarroll @realDonaldTrump You got fired because your bat shit crazy.                         tuses/1230297189995315200
                                                                                                             http://twitter.com/ranmannokc
             @navychick1993 @ejeancarroll @realDonaldTrump I’d say Trump drove her crazy, but it’s more like /statuses/12302918463389409
2020-02-20   a chip shot to the green.                                                                       34
                                                                                                             http://twitter.com/talldrink49/s
                                                                                                             tatuses/123028943261345792
2020-02-20   @ejeancarroll @realDonaldTrump Blame trump, not your crazy ass                                  0
             @ejeancarroll @realDonaldTrump Of course you do. Crazy people never blame themselves. And for http://twitter.com/lolofav/statu
2020-02-20   the record, you are bat shit crazy.                                                             ses/1230287527501680640
                                                                                                             http://twitter.com/hook982/sta
2020-02-20   @ejeancarroll @realDonaldTrump No, they fired you because you're a crazy lying lunatic.         tuses/1230287436502138882
                                                                                                             http://twitter.com/AeroModulo
             @ejeancarroll @realDonaldTrump Farewell to ye old crazy lady, farewell to you old bag lady of   us/statuses/123028335460559
2020-02-20   Spain.                                                                                          6673

           @ejeancarroll @realDonaldTrump If you were fired, that's on you. Not Trump. Maybe try not being       http://twitter.com/kelsieA67/st
2020-02-19 a crazy old hag looking for attention.                                                                atuses/1230279301800636418
                                                                                                                 http://twitter.com/LizKarma7/
           @ejeancarroll @realDonaldTrump Guess a bunch of bimbos on here haven’t seen your crazy                statuses/12302738487440547
2020-02-19 interviews. Good lord lady you are whacked! 😂😂😂😂😂😂😂😂                                                  85
                                                                                                                 http://twitter.com/westwillbb/s
           @ejeancarroll @realDonaldTrump I think there are laws against firing crazy people. You should         tatuses/123026733207050240
2020-02-19 consult with the voice in your head that claims to be a lawyer. Good luck!                            2
           @yashar @ELLEmagazine @ejeancarroll Why should they? Sorry, (personal op here, I'm sure will b
           unpopular), but the woman's acted like an absolute nut! Her interviews hve been off the wall crazy.
           She does not seem credible @ all. Perhaps ELL was receiving a lot of negative feedback? Also,         http://twitter.com/K1mibear/st
2020-02-19 perhaps her writing sucks?                                                                            atuses/1230265608907972608

                                                                                                                 http://twitter.com/jazzfan71/st
2020-02-19 @ejeancarroll @realDonaldTrump Or maybe it's because you are a liar, Ms. Crazy Pants.                 atuses/1230259928482205696

                                                                                                             http://twitter.com/jgibs2000/st
2020-02-19 @ejeancarroll @realDonaldTrump They fired you because you’re batshit crazy. It’s ok, just be you  atuses/1230252175781236737
                                                                                                             http://twitter.com/magaFTWd
                                                                                                             aily/statuses/12302507045410
2020-02-19   @ejeancarroll @realDonaldTrump Crazy lady screaming at clouds emerges from woods again...       11973
                                                                                                             http://twitter.com/grammieluli
                                                                                                             /statuses/12302475320952545
2020-02-19   @ejeancarroll @realDonaldTrump Right. Of course being bat crap crazy had nothing to do with it. 28
                                                                                                             http://twitter.com/ScottANorm
                                                                                                             an2/statuses/12302446770240
2020-02-19   @ejeancarroll @realDonaldTrump Crazy old bat!                                                   88066
                                                                                                             http://twitter.com/Speers137/s
                                                                                                             tatuses/123024156148258407
2020-02-19   @ejeancarroll @realDonaldTrump Crazy lady                                                       7
                                                                                                             http://twitter.com/M_Ledford_
                                                                                                             Lee/statuses/12302368989304
2020-02-19   @ejeancarroll @realDonaldTrump Well, if you didn't act like a crazy person...                   83200
                                                                                                             http://twitter.com/lisa2743574
                                                                                                             3/statuses/1230230212035665
2020-02-19   @ejeancarroll @realDonaldTrump It was your crazy fake accusations https://t.co/nFNY154ihN       920
             @ejeancarroll @realDonaldTrump That’s not why you were fired. Making crazy statements and false http://twitter.com/ifixspinz/sta
2020-02-19   accusations might be the reason. Just sayin’                                                    tuses/1230225288140918784
                                                                                                             http://twitter.com/F1fanincarol
                                                                                                             ina/statuses/12302246791699
2020-02-19   @ejeancarroll @realDonaldTrump It's your crazy talk that got you fired                          21031
                                                                                                             http://twitter.com/PapawOcho
             @ibrake4ants @ejeancarroll @SureReality @realDonaldTrump @ELLEmagazine Who is a sexual          a/statuses/1230208891473952
2020-02-19   predator? There is no evidence other than the word of a crazy Lib with a grudge.                768
                    Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 31 of 67


D at e              P ost T e xt                                                                                                                                         U RL

                                                                                                                                                                         htt p://t witt er. c o m/j o h nr e z z z/st
2 0 2 0- 0 2- 1 9   @ ej e a n c arr oll @r e al D o n al d Tr u m p H a h a h a O R t h e y r e ali z e d y o u ar e b at s hit cr a z y ? J ust s a yi n g             at us es/ 1 2 3 0 1 9 2 2 5 9 8 2 9 6 1 6 6 4 1
                    @ d c e x a mi n er @ ej e a n c arr oll @ E L L E m a g a zi n e @r e al D o n al d Tr u m p S h e n e e ds t o t a k e r es p o nsi bilit y!       htt p://t witt er. c o m/ P atri ot Girl 7
                    S h e is t h e cr a z y p ers o n t h at c a m e o ut t al ki n g all o v er t h e pl a c e.. Gr o w u p ! T a k e r es p o nsi bilit y! Y o u       1/st at us es/ 1 2 3 0 1 7 9 0 3 9 9 9 1 8 1 2
2 0 2 0- 0 2- 1 9   w er e o n a missi o n t o d estr o y o ur pr esi d e nt. K ar m a g ot y a!                                                                         096
                                                                                                                                                                         htt p://t witt er. c o m/ S w 3 3t D e e e/
                    @s k b _s ar a @ ej e a n c arr oll @ k a pl a nr o b bi e @r e al D o n al d Tr u m p @ A C 3 6 0 O h m y G o d it’s T HI S cr a z y                st at us es/ 1 2 2 6 4 0 5 9 4 0 6 4 9 2 8 7 6
2 0 2 0- 0 2- 0 9   la d y?                                                                                                                                              80
                    @ ej e a n c arr oll @ k a pl a nr o b bi e I 'm a l et y 'all fi nis h y o ur U gl y Br o a ds m e eti n g h er e i n t h e c o m m e nts .         htt p://t witt er. c o m/j er 0 ni m o 0l 5
                    B ut first , I j ust g ott a s a y t his o n e t hi n g.\ n\n T est @ ej e a n c arr oll f or t h e # C or o n a vi us b e c a us e t his l yi n g   e n/st at us es/ 1 2 2 6 2 6 6 5 0 9 3 3 0 3 2
2 0 2 0- 0 2- 0 8   bit c h is b ats hit cr a z y .\ n😂😂 😂😂 \n B ut s eri o usl y , #K A G 2 0 2 0 \ n😂😂 😂😂                                                              9601

                                                                                                                                                                         htt p://t witt er. c o m/ h osi n at er/st a
2 0 2 0- 0 2- 0 7   @ ej e a n c arr oll @r e al D o n al d Tr u m p N o o n e B eli e v es y o ur C R A Z Y B S                                                         t us es/ 1 2 2 5 8 5 7 8 6 0 0 4 8 9 4 9 2 4 8
                                                                                                                                                                         htt p://t witt er. c o m/ M ars h a B 9 2
                                                                                                                                                                         4 5 7 2 4 5/st at us es/ 1 2 2 5 6 5 8 7 0 2 6
2 0 2 0- 0 2- 0 7   @ ej e a n c arr oll @Il h a n M N @r e al D o n al d Tr u m p Y o u ar e a cr a z y bit c h.                                                        75333126
                                                                                                                                                                         htt p://t witt er. c o m/ Ni c ol e B elli n
                    @ Eri cI nf o T e c h @ ej e a n c arr oll @ r e al D o n al d Tr u m p Cr a z y h er e 😂😂      als o a c c us e d h er e x -h us b a n d of         o 1/st at us es/ 1 2 2 5 5 1 7 0 1 4 7 2 0 0 9
2 0 2 0- 0 2- 0 6   str a n gli n g h er . 🇺🇺 \n W h at a n ut ! 🇺🇺 🇺🇺♀ 🇺🇺️ 🇺🇺♀ 🇺🇺️ 🦇🦇♀ ️                                                                                8306
                                                                                                                                                                         htt p://t witt er. c o m/tr u eisr a elit e
                                                                                                                                                                         1 8/st at us es/ 1 2 2 5 4 1 3 1 7 9 5 1 5 2 0
2 0 2 0- 0 2- 0 6   @ ej e a n c arr oll @ r e al D o n al d Tr u m p T his b at s hit cr a z y is all t h e li b er als h a v e l eft 💩💩                                7681

                                                                                                                                                                         htt p://t witt er. c o m/ b y gr a c e _ _/st
2 0 2 0- 0 2- 0 6   @ ej e a n c arr oll @r e al D o n al d Tr u m p Y o u ar e cr a z y.                                                                                at us es/ 1 2 2 5 2 9 8 4 6 2 8 8 4 9 4 5 9 2 0
                                                                                                                                                                         htt p://t witt er. c o m/j ef e _is _ b a c k
                    @ ej e a n c arr oll @jt L O L @r e al D o n al d Tr u m p B e c a us e o n e cr a z y ol d l a d y at a ti m e.                                     /st at us es/ 1 2 2 5 2 5 6 7 9 8 7 3 2 6 4 0 2
2 0 2 0- 0 2- 0 6   htt ps://t. c o/ b 8 w qJ 3 2 L 4 B                                                                                                                  56
                                                                                                                                                                         htt p://t witt er. c o m/J u a nit a 2 8 8 3
                    @ ej e a n c arr oll @r e al D o n al d Tr u m p P er h a ps b e c a us e y o u'r e f ull of it a n d y o u k n e w y o u c o ul d n't g et it.      7 3 7 4/st at us es/ 1 2 2 5 2 4 8 9 5 4 4 1 9
2 0 2 0- 0 2- 0 6   S o, n o w y o u'r e bl asti n g t his n o ns e ns e tr yi n g t o b o ost y o ur n o n- e xist e nt b o o k s al es.                                417088
                                                                                                                                                                         htt p://t witt er. c o m/ Mr Bis o n 1 6/
                                                                                                                                                                         st at us es/ 1 2 2 5 2 3 9 0 6 6 8 3 4 3 2 9 6
2 0 2 0- 0 2- 0 6   @ ej e a n c arr oll @jt L O L @r e al D o n al d Tr u m p I' d h a v e a 5 1 5 0 o n y o u cr a z y ass l a d y                                     00
                    @ L vl y W or ds @ ej e a n c arr oll @r e al D o n al d Tr u m p Cr a z y w o m a n wit h Tr u m p's D N A \ n o n h er dr ess
                    fr o m w h e n h e r a p e d h er... y e p!\ n\ n T h at is w h y Tr u m p is r ef usi n g t o gi v e his D N A\ n\ n B ut k e e p                   htt p://t witt er. c o m/ H ori bl e A n d
                    d ef e n di n g t h e cri mi n al. \ n L o o ks li k e t h e l a w is fi n all y c at c hi n g\ n u p wit h t h at pi e c e of                       Pr o u d/st at us es/ 1 2 2 5 2 3 0 5 0 7 0 6
2 0 2 0- 0 2- 0 6   filt h...\ n\ n S p e a ki n g of filt h, h o w y o u d oi n ?                                                                                       0781057
                    @ ej e a n c arr oll @Il h a n M N @r e al D o n al d Tr u m p I n 1 9 9 5! Y o u st u pi d. I F y o u t h o u g ht it w as R a p e t h e n          htt p://t witt er. c o m/s h ell d 1 2 3 4/s
                    Y O U s h o ul d h a v e fil e d c h ar g es t h e n. Y o u s h ut u p t h e n y o u c a n s h ut u p n o w! Y o u c a n n ot w ait u ntil a         t at us es/ 1 2 2 5 2 2 2 0 3 5 7 5 3 6 9 3 1 8
2 0 2 0- 0 2- 0 6   p ers o n b e c o m e f a m o us t h e n d e ci d e Y O U w a nt t o b e p ai d. Y o u ar e m a ki n g y o urs elf a W h or e!                       5
                    @ Pr o gr essi v e H o c 1 @ ej e a n c arr oll @ F o x N e ws @I n gr a h a m A n gl e @s e a n h a n nit y @ m ar kl e vi ns h o w                 htt p://t witt er. c o m/ 7 bl a c kl a bs/s
                    @ T u c k er C arls o n @ L o u D o b bs H er st or y us e d t o b e t h at h e r a p e d h er wit h his e y es. N o w s h e h as a                  t at us es/ 1 2 2 5 2 1 1 8 0 9 7 0 0 9 9 5 0 7
2 0 2 0- 0 2- 0 6   dr ess fr o m 4 0- 5 0 yrs a g o. Ri g ht.\ n M a y b e h e's afr ai d of cr a z y p e o pl e li k e C arr oll                                       2
                                                                                                                                                                         htt p://t witt er. c o m/ w e n d ys c ott 7
                                                                                                                                                                         3/st at us es/ 1 2 2 5 2 1 0 7 6 9 8 3 2 3 1 6
2 0 2 0- 0 2- 0 6   @ ej e a n c arr oll @r e al D o n al d Tr u m p H a h a h a h a h a ...... y o u p e o pl e ar e cr a z y.       W e s e e y o u.                   931

                    @ ej e a n c arr oll @ r e al D o n al d Tr u m p O h I r e m e m b er s e ei n g a n i nt er vi e w a w hil e b a c k a g o. Y o u ar e a           htt p://t witt er. c o m/ S u n S h ot 3/st
2 0 2 0- 0 2- 0 5   f u c ki n g cr a z y ol b at. 🤷🤷                                                                                                                    at us es/ 1 2 2 5 2 0 1 0 6 5 6 5 5 7 5 0 6 5 7
                                                                                                                                                                         htt p://t witt er. c o m/ N essi e 7 6 0 0
                                                                                                                                                                         3 0 2 4/st at us es/ 1 2 2 5 1 9 8 0 5 6 7 9 2
2 0 2 0- 0 2- 0 5   @ ej e a n c arr oll @Il h a n M N @r e al D o n al d Tr u m p T h at b utt s hit cr a z y l a d y.                                                  055809
                                                                                                                                                                         htt p://t witt er. c o m/ L vl y W or ds/
                                                                                                                                                                         st at us es/ 1 2 2 5 1 9 7 7 7 9 9 8 0 3 9 0 4
2 0 2 0- 0 2- 0 5   @ ej e a n c arr oll @r e al D o n al d Tr u m p Cr a z y w o m e n a n d r er u ns of L a w a n d Or d er ?                                         02
                                                                                                                                                                         htt p://t witt er. c o m/f k or n el 9 6 1/s
                                                                                                                                                                         t at us es/ 1 2 2 5 1 2 9 3 3 4 5 0 0 9 2 1 3 4
2 0 2 0- 0 2- 0 5   @ ej e a n c arr oll @r e al D o n al d Tr u m p stf u att e nti o n w h or e..                                                                      4
             Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 32 of 67


Date       Post Text                                                                                              URL
           @DavePerrino @ejeancarroll @kaplanrobbie @realDonaldTrump @SenateGOP @HouseGOP                         http://twitter.com/nagel79/stat
2020-02-03 @GOP How long ago was this? This bitch is crazy                                                        uses/1224324925332361216
                                                                                                                  http://twitter.com/TheBingle/s
                                                                                                                  tatuses/122432486050934784
2020-02-03   Well you've come to the right place @ejeancarroll This Is Crazy News Network !                       0
             @debihope @ejeancarroll @realDonaldTrump 1000% agree you are stupid and naive, no evidence           http://twitter.com/Keeswater1/
             and sinds het won the election,every stupid womens like you acuse him for raping and more,you are    statuses/12238826634566410
2020-02-02   deluded and crazy anti Trump propaganda left activist .                                              24
                                                                                                                  http://twitter.com/itsShamsFau
             Bottom line: Jen Rubin should just abandon politics, retire, then find a nice mini-home in the woods lt/statuses/1223837539284475
2020-02-02   made especially for crazy cat lady leftists, like E Jean Carroll. https://t.co/zIQEIkcv38            906
                                                                                                                  http://twitter.com/LilianaRobe
             @ejeancarroll The most disgusting woman, is a woman that lies about being raped in order to sell her son/statuses/12238160626150
2020-02-02   book, for money, or for power.                                                                       27712
                                                                                                                  http://twitter.com/bambikiller
             @ejeancarroll @kaplanrobbie @realDonaldTrump Isn't that like 30 yrs old? If true watched your        42/statuses/122374696618354
2020-02-01   interviews you seem crazy to me                                                                      2784

           @BuzzPatterson @Daytobehappy @realDonaldTrump I think they already have one in mind. E. Jean http://twitter.com/Eddie_and_
           Carroll has reared her ugly head again... and I do mean 'crazy' ugly. Guess they pulled her out &  Patti/statuses/1223455503780
2020-02-01 dusted her off in case the impeachment hoax failed. Guess we'll see what happens next soon enough. 630528
                                                                                                              http://twitter.com/firtreemanor
           @CharleneFFreem1 @ejeancarroll @kaplanrobbie @realDonaldTrump Soros paid 'sexual accuser'          /statuses/12233715681029365
2020-01-31 who is trying to sell her book. https://t.co/A2kPfTKUcp                                            78
                                                                                                              http://twitter.com/Sonya75211
           @ejeancarroll @kathygriffin @kaplanrobbie @realDonaldTrump It’s you and people like Kathy that 500/statuses/12233597611203
2020-01-31 are diminishing sexual assualt with your attention whore actions!                                  17440
                                                                                                              http://twitter.com/Deplorable_
           @HNHughson @ejeancarroll @kaplanrobbie @realDonaldTrump Heather, you are as crazy as               Dem/statuses/1223356019469
2020-01-31 @ejeancarroll ! \n#CrazyAF                                                                         885441
                                                                                                              http://twitter.com/RMWGTC/
                                                                                                              statuses/12233447538587484
2020-01-31 @ejeancarroll @kaplanrobbie @realDonaldTrump Your crazy!                                           17
           @seanmdav I also think we should keep an eye open for that crazy lady E. Jean Carroll "rape" claim http://twitter.com/dawnrenay/s
           on President Trump from the early 90's she now wants a sample of his DNA to match it to a spot on  tatuses/122334456587012096
2020-01-31 her dress, you can't even make this shit up.                                                       1
                                                                                                              http://twitter.com/Anastas049
                                                                                                              41651/statuses/122334040387
2020-01-31 @ejeancarroll @kaplanrobbie @realDonaldTrump Attention whore                                       0617600
           @ejeancarroll @mineisC @kaplanrobbie @realDonaldTrump That's not how criminal law works you http://twitter.com/peteguhl/stat
2020-01-31 damn crazy.                                                                                        uses/1223339891267907584
                                                                                                              http://twitter.com/BobbieD25
                                                                                                              09/statuses/122332366683182
2020-01-31 @ejeancarroll @kaplanrobbie @realDonaldTrump You’re Crazy 😜😜 Seek help!                            6945
                                                                                                              http://twitter.com/DustyOldBo
                                                                                                              oksS1/statuses/122329749979
2020-01-31 @JoeTalkShow @Amazinggrace2me @DineshDSouza Yeah, E Jean Carroll is bats**t crazy.                 8147072
                                                                                                              http://twitter.com/wolters_ann
           @Alyssa_Milano 🤣🤣🤣🤣🤣🤣 Did she have multiple DNA on that particular day @ejeancarroll ? Did /statuses/12232858232121466
2020-01-31 you save your underwear? Guess the book sales didn’t go so well.                                   88
                                                                                                              http://twitter.com/JohnBri523
           @skb_sara @no_silenced @ejeancarroll @kaplanrobbie @realDonaldTrump @AC360 oh and they             79157/statuses/122328333349
2020-01-31 cut to commercial right at that point and when they came back, her crazy ass was gone              0044928
                                                                                                              http://twitter.com/stephbabs19
           @ejeancarroll @kaplanrobbie @realDonaldTrump You are one crazy lady. I don't mean that to be       83/statuses/122327432989236
2020-01-31 funny in any way. You need some help!                                                              8385
           @ejeancarroll @kaplanrobbie @realDonaldTrump Get some help you crazy woman. No one is buying
           what you are selling. \nIf you need sone money for rent go to Catholic Charities #bluedressrepeat  http://twitter.com/tmpislive/sta
2020-01-31 #Crazylibs                                                                                         tuses/1223269474482245636
             Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 33 of 67


Date       Post Text                                                                                              URL
           @SKYRIDER4538 @ejeancarroll @kaplanrobbie @realDonaldTrump This is that crazy chick who
           was promiscuous years ago and now wants to call it rape. My educated guess is she was raped by         http://twitter.com/DakotaGrac
           someone along the way, that may have started the behavior actually, and now she wants to call it all   e8/statuses/122326475914075
2020-01-31 rape. I’ve heard her speak. She’s nuts.                                                                3409
           @cnnbrk breaking news huh? smear job FAIL!!!!\nbtw. we all know Jean Carroll is crazy and so is        http://twitter.com/pblau79/stat
2020-01-31 anyone who believes this. try harder liars                                                             uses/1223258832647802882
           @ejeancarroll @kaplanrobbie @realDonaldTrump If you saved the dress, why didn't you report this
           alleged rape 25 yrs ago? Why report it now unless it's part of the Dem/liberal agenda to get           http://twitter.com/prolibertate
           @realDonaldTrump at any cost, including by lying about everything. DNA on a sleeve could come          7/statuses/1223255429330939
2020-01-31 from anyone at anytime, even shaking hands                                                             910
                                                                                                                  http://twitter.com/Brad_Philly/
           @ejeancarroll @kaplanrobbie @realDonaldTrump Impeachment must be over. Next up: The crazy              statuses/12232507169423564
2020-01-31 cat lady Again.                                                                                        80
                                                                                                                  http://twitter.com/ScottMaga2
           @deplorablemix @isavega2017 @ejeancarroll @kaplanrobbie @realDonaldTrump And she wore it               A/statuses/122324739151355
2020-01-31 since, so she either had it cleaned or wore it with the supposed stain. This woman is friggin crazy.   4946
           @Tifftopia1 @SKYRIDER4538 @ejeancarroll @kaplanrobbie @realDonaldTrump Even the ppl                    http://twitter.com/ErinStevens
           dumb enough to put her on and interview her during THE LAST ELECTION regretted it because she          64/statuses/122324126827010
2020-01-31 has NO credibility and is CRAZY.                                                                       8673
           @ejeancarroll @kaplanrobbie @realDonaldTrump Lady, you are bat-sh*t crazy...go hire yourself a         http://twitter.com/amyv57/stat
2020-01-31 good shrink                                                                                            uses/1223240235779346438
           @KallalDiane @HeyJenConway @ejeancarroll @kathygriffin @kaplanrobbie @realDonaldTrump
           Sorry, but coming out 30 years later in the middle of this impeachment hearing isn’t a sign of
           someone who got over anything. It’s someone with an agenda. This is a slap in the face to the real     http://twitter.com/dcaptdan/sta
2020-01-31 victims.                                                                                               tuses/1223235544345468929
                                                                                                                  http://twitter.com/Richard934
           E Jean Carroll Just come clean. You were just a WHORE back in your days. Just admit it. and go         60013/statuses/122322760576
2020-01-31 away                                                                                                   1085441

           @ejeancarroll @kaplanrobbie @realDonaldTrump Another crazy Democrat. She should of done this         http://twitter.com/Cathir472/st
2020-01-31 when it happened IF it happened. Gee what timing.                                                    atuses/1223222655312191489
                                                                                                                http://twitter.com/BIGHAAS1
                                                                                                                5/statuses/1223142503437754
2020-01-31   @ejeancarroll @kaplanrobbie @realDonaldTrump Go away Crazy lady. #CleanItUp                        370
                                                                                                                http://twitter.com/BBukosky/s
             @ejeancarroll is bat shit crazy who fantasizes about rape. The DNA CAME BACK WITH DNA              tatuses/122313416311861657
2020-01-31   FROM 4 PEOPLE. sounds like she’s the hit of the party!!                                            7
                                                                                                                http://twitter.com/Winst0n198
                                                                                                                4/statuses/1223129430991810
2020-01-31   @ejeancarroll @kaplanrobbie @realDonaldTrump It’s always the crazy cat women                       562
                                                                                                                http://twitter.com/dasimpson6
                                                                                                                8/statuses/1223126486078484
2020-01-31   @ejeancarroll @kaplanrobbie @realDonaldTrump You are crazy!!!! 🤡🤡🤡🤡🤡🤡🤡🤡🤡🤡                          480
                                                                                                                http://twitter.com/beckypike34
                                                                                                                /statuses/12231229354619576
2020-01-31   @ejeancarroll @kaplanrobbie @realDonaldTrump You are crazy                                         32
             @Iriamu_Otaku @renfibax @amandaottaway @CourthouseNews @ejeancarroll Maybe the year after http://twitter.com/BarbersforT
             either way this lady has already been discredited and couldn’t provide any proof and if I remember rump/statuses/1223122024492
2020-01-31   she is quite crazy if you watch some of her old interviews.                                        666880
                                                                                                                http://twitter.com/RiberdyRon/
                                                                                                                statuses/12231183604323696
2020-01-31   @ejeancarroll @kaplanrobbie @realDonaldTrump Ah, slow book sales. Meds must be expensive.          64
             @ejeancarroll @kaplanrobbie @realDonaldTrump Even if it's his sperm how to prove rape? MY
             GAWD! He campaigned for how long?He's been President for how long? AND JUST NOW SHE                http://twitter.com/AuntTatTat/
             CLAIMS RAPE? I AM NOT EVEN CLOSE TO BELIEVING THIS LINE OF CRAZY!                                  statuses/12231062476934553
2020-01-31   @realDonaldTrump if you had sex with her just say you did. No big deal. Who cares?                 61
                                                                                                                http://twitter.com/MyretKoune
             Guess her book sales suck, so she's trying to get back in the spotlight. \n\n#Trump #EJeanCarroll  m/statuses/122310282432353
2020-01-31   #DNA #falseaccusation #MAGA #KAG #Trump2020 \n\nhttps://t.co/ozqhANei16                            8944
                                                                                                                http://twitter.com/JohnGraySn
             @Jali_Cat @ejeancarroll @realDonaldTrump @JaySekulow Not this crazy person again. I thought        arks/statuses/1223095543783
2020-01-31   we'd seen the back of her a few months back.                                                       510021
             Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 34 of 67


Date       Post Text                                                                                        URL
           @ejeancarroll @kaplanrobbie @realDonaldTrump Money grab from another whore. Shocking. Not        http://twitter.com/flterp/status
2020-01-31 really.                                                                                          es/1223093077902024704
                                                                                                            http://twitter.com/JerryShoal/s
             @ejeancarroll @kathygriffin @kaplanrobbie @realDonaldTrump Stop stupid lol. Now you just sound tatuses/122308370132995686
2020-01-31   crazy                                                                                          4
             @ejeancarroll @kaplanrobbie @realDonaldTrump You are absolutely BONKERS. Desperate for         http://twitter.com/_mandyhern
             followers, book sales and publicity. Washed up man hater. #TDS #TrumpDerangementSyndrome       andez/statuses/122307822416
2020-01-31   #manhater #trump2020 #moveonwithyourlife #justgross                                            0329728
                                                                                                            http://twitter.com/Annelovesth
                                                                                                            eUSA/statuses/122307808074
2020-01-31   @ejeancarroll @kaplanrobbie @realDonaldTrump You are crazy! 🤪🤪                                 0241408
                                                                                                            http://twitter.com/sparksandsp
                                                                                                            arky/statuses/1223072401497
2020-01-31   @ejeancarroll @kaplanrobbie @realDonaldTrump Oh please you crazy loon                          509894
                                                                                                            http://twitter.com/DevainAnna
             @DJT4MoreYears @ejeancarroll @kaplanrobbie @realDonaldTrump @CNN @AC360 Jean is                /statuses/12230695632455516
2020-01-31   crazy. My goodness she is unstable                                                             16
                                                                                                            http://twitter.com/JusSayi5648
             We’ve already heard from this crazy woman.\nShe wants DNA? For what....she’s got a blue        1818/statuses/1223063146593
2020-01-31   dress?\nGive it up already E Jean Carroll....nobody cares.                                     603584

                                                                                                                       http://twitter.com/gooseyluc/st
2020-01-31 @ejeancarroll @kaplanrobbie @realDonaldTrump Just another attention whore                                   atuses/1223061337141415936
                                                                                                                       http://twitter.com/Jessica_TVf
             Seriously this crazy lady is still popping up! Democrats must be desperate!\n\nDonald Trump's DNA an/statuses/122306093380479
2020-01-31   has been requested by E. Jean Carroll's legal team https://t.co/vfUiAqIpse                                7957
             @ejeancarroll @chrislhayes @kaplanrobbie @realDonaldTrump How is the book tour coming along? http://twitter.com/potomacker/
             This is an awesome ploy to boost sales and keep your profile high. Congratulations on the chutzpah! I statuses/12230608187548590
2020-01-31   take it that you are suing Trump in civil trial to recoup your drycleaning costs, right?                  08
                                                                                                                       http://twitter.com/mkelly848/s
                                                                                                                       tatuses/122305056392083456
2020-01-31   @ejeancarroll @kaplanrobbie @realDonaldTrump This broad is BAT. SHIT. CRAZY😂😂😂😂😂😂😂😂 0
             @TeresaEdelglass @ejeancarroll @kaplanrobbie @realDonaldTrump It's been so long ago how do
             we even know the dress is hers, let alone the seamen. I have heard her talk, she is a crazy loon, it will http://twitter.com/mefbama/sta
2020-01-31   be the worst mistake of her life to go to court on any issue lol.                                         tuses/1223049024367931393
                                                                                                                       http://twitter.com/Florida_La
                                                                                                                       wyer2/statuses/122304818446
2020-01-31   @ejeancarroll @kaplanrobbie @realDonaldTrump Crazy psycho lady! Good luck with that. Move on 2790656
                                                                                                                       http://twitter.com/Sticknstones
             @BeAccountable4u @ejeancarroll @kaplanrobbie @realDonaldTrump Trump didn’t shoot his load 4/statuses/1223047246075375
2020-01-31   off on her at bergdorf Goodman umpteen years ago \nshe’s bat sh*t crazy                                   621
             @jpmaizel @TurnKansasBlue @ejeancarroll @kaplanrobbie @realDonaldTrump After listening to
             several interviews of this woman, I feel sorry for her. I truly believe she has some serious mental       http://twitter.com/Dee54181/st
2020-01-31   health issues. She seeks and/or wants attention plus is trying to sell a book.                            atuses/1223042510601310208
                                                                                                                       http://twitter.com/wej252970/
             @ejeancarroll @kaplanrobbie @realDonaldTrump You are a crazy B, POTUS did not touch you, and statuses/12230363635090513
2020-01-31   you are not getting any DNA, and vote Trump 2020.                                                         98
                                                                                                                       http://twitter.com/Mrs_Jonesvt
                                                                                                                       x/statuses/1223033988413120
2020-01-31   @ejeancarroll @kaplanrobbie @realDonaldTrump 😅😅😅😅😅😅 Ooook crazy                                           512
                                                                                                                       http://twitter.com/Trestresjolie
             She's batshit crazy----Lawyer for woman who says Trump raped her in 1990s seek his DNA sample             /statuses/12230335287045939
2020-01-31   https://t.co/5XaTMXtn7y via https://t.co/ynjCBcJLDd                                                       20

                                                                                                                       http://twitter.com/ozzie_usa/st
2020-01-31 this woman is crazy , what crazy people do to be on a news https://t.co/6ZfyFwEapP                          atuses/1223033216057122816
                                                                                                                       http://twitter.com/LakeLifeIsG
           @thehill Alternate headline: E. Jean Carroll, who accused Trump of sexual assault, seeks more               reat/statuses/12230108438912
2020-01-30 media attention. Her book sales tanked.                                                                     49152
             Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 35 of 67


Date       Post Text                                                                                                 URL
           E. Jean Carroll is now requesting Trump's DNA.\n\nThis 🦇🦇🦇🦇 crazy hack cant make up her mind.
           \n\nOne moment she was sexually assaulted, then recanted and says it was never sexual, now she is         http://twitter.com/AmMo28B
           requesting DNA for a sexual assault case against Trump. \n\nDEMOCRAT DESPERATION 🤣🤣🤣🤣                     ANG/statuses/122299848470
2020-01-30 https://t.co/0P6FX6AYIL                                                                                   7508225
                                                                                                                     http://twitter.com/BonerValeri
                                                                                                                     e/statuses/1222991965702193
2020-01-30 I heard that crazy Jean Carroll woman is back as well? \nWhere’s Avennatti wearing orange?                152
           @ejeancarroll @kaplanrobbie @realDonaldTrump ...omg, you're so crazy, "we have the dress"! How
           well did THAT even play with slick Willy? You couldn't have like a pantsuit or underwear? IF you           http://twitter.com/CABeck196
           legitimately had "the dress", you would've brought it out with your allegation!\nYou need a Better         1/statuses/1222991627741872
2020-01-30 Psychiatrist and a Real Lawyer! https://t.co/3mnJElwR8C                                                    129
           @nightsonrepeat @Memorablelabia @BotSentinel You’re the dumbass since you can’t see that E.                http://twitter.com/Mikejku/stat
2020-01-30 jean Carroll is a crazy opportunistic whack-job.                                                           uses/1222988591351181322
                                                                                                                      http://twitter.com/DelrayAven
             @lmcd9999_l @ejeancarroll @AlyssaMastro44 @kaplanrobbie @realDonaldTrump Millions of you er/statuses/122298571325752
2020-01-30   are bat shit crazy.                                                                                      5263
             @TheDailyEdge @ejeancarroll Disgusting, This woman kept Trump's cum for years. What kind of              http://twitter.com/JustineDaws
             sick degenerate would do that. Obviously she is a crazy stalker and not credible.                        on13/statuses/1222977215656
2020-01-30   https://t.co/akJcy25hNn                                                                                  153088
                                                                                                                      http://twitter.com/OrangeVol1
             @NaomioftheNorth @stan4prez @RawStory @ejeancarroll @realDonaldTrump The lady is crazy.                  321/statuses/12229731490898
2020-01-30   Period.                                                                                                  69825
                                                                                                                      http://twitter.com/OrangeVol1
             @barney1776 @IreneDWoods @ejeancarroll @kaplanrobbie @realDonaldTrump Well, the lady is                  321/statuses/12229701156308
2020-01-30   bat💩💩 crazy sooo.....\n\nhttps://t.co/eBafg8UITy                                                         17280
                                                                                                                      http://twitter.com/LakeLifeIsG
                                                                                                                      reat/statuses/12229612354670
2020-01-30   @HKrassenstein More likely, proof that E Jean Carroll is a media whore.                                  87873
                                                                                                                      http://twitter.com/DavidGroso
             Not only that @Lawrence ! He might even plausibly bring a defamation suit. E. Jean Carroll's suit is f/statuses/1221951785813700
2020-01-28   going forward. Why not Bolton, attacked by the President's tweet as an untruthful book whore.            610
                                                                                                                      http://twitter.com/GrimRea36
             @ejeancarroll I was just asking the other day what happened to that crazy chicken looking lady that      694938/statuses/12176583588
2020-01-16   accused Trump of rape but not sexual rape. Here you are!                                                 42392576
             @CNNPolitics The judge is a democrat so biased as hell.\nCrazy Tipsy E. Jean Carroll..loves the          http://twitter.com/TheRealGR
             sauce.🤪🤪\n\nSays she still has the outfit she was wearing during the rape but refuses to offer it up for oberts/statuses/121583636914
2020-01-11   DNA testing. Huh ?🥴🥴\n\nA mental has been craving publicity.\nhttps://t.co/EH3PfJB5jA                    4012802
                                                                                                                      http://twitter.com/ombudsman
             @MollyJongFast @ejeancarroll @realDonaldTrump @kaplanrobbie @KaplanHecker @EllenBarkin 4truth/statuses/121572960231
2020-01-10   Crazy Women Unite!                                                                                       3826315
                                                                                                                      http://twitter.com/cherylqmille
                                                                                                                      r/statuses/1215662692750544
2020-01-10   @ejeancarroll You are crazy woman. Bless your heart. Get help.                                           897
                                                                                                                      http://twitter.com/pwilken46/s
                                                                                                                      tatuses/121436752985594265
2020-01-07   @ejeancarroll @realDonaldTrump @bpolitics Lol it's the crazy cat lady                                    6
                                                                                                                      http://twitter.com/karenba495
                                                                                                                      20009/statuses/121434868767
2020-01-07   @ejeancarroll @PhxAzNative @realDonaldTrump @bpolitics This woman is crazy.                              0939648
             @DeborahDitkows1 @MeetThePress @ewarren @realDonaldTrump @POTUS I must admit, I felt I
             was getting trolled, so I peeked at a couple of your past retweets. My suspicion was right.              http://twitter.com/CarlSpackle
             @ejeancarroll ? 🤡🤡🤡🤡\nI was just wondering what happened to that old crazy bag of bones!                 rSr/statuses/12138609625807
2020-01-05   Hilarious! https://t.co/LoR8n9SHVq                                                                       83107
                                                                                                                      http://twitter.com/Cheryl1917
                                                                                                                      2844/statuses/1213460099622
2020-01-04   Because this lady is crazy!!                                                                             064131

           @tomablogger @JasonSCampbell Jean Carroll is crazy and it did not happen.\n\nDon't know about             http://twitter.com/PqGregor/st
2020-01-03 Ivana.                                                                                                    atuses/1212898346039496705
           @MarnieSpiegel @SpeakerShinjini This is absolutely one of the most ridiculous lies I've seen on           http://twitter.com/PauliCavana
           twitter. MANY women LOVE to be famous for #metoo stories. E. Jean Carroll used it to sell her             ugh/statuses/12026256707292
2019-12-05 book. Rolling stone fraud? Mattress girl advertising it for an entire semester? The list is endless.      56962
                    Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 36 of 67


D at e              P ost T e xt                                                                                                                                          U RL
                                                                                                                                                                          htt p://t witt er. c o m/t h es m u g gl er
                    @ M att W als h Bl o g @r e al D ail y Wir e t h e cr a z y i n t h e e j e a n c arr oll f a mil y r u ns d e e p... c u z t h e y                   d a v 1/st at us es/ 1 1 9 6 5 6 2 4 9 7 6 6 4
2 0 1 9- 1 1- 1 8   d efi nit el y r el at e d. htt ps://t. c o/ls v T F a d R 8 X                                                                                        368640
                                                                                                                                                                          htt p://t witt er. c o m/ Er ni e B a n ks
                    @ Gi n gri c h _ of _ P A T h at a m o u nt of cr a z y c a n 't b e i n o n e s h ot c a n it? 😂😂 😂😂 😂😂 😂😂 😂😂                 E. J e a n C arr oll , 1 9 7 1/st at us es/ 1 1 9 5 8 3 9 0 3 3 3 7 0
2 0 1 9- 1 1- 1 6   Kr u g m a m , Mi c h a el I a n Bl a c k , Griffi n .                                                                                                382336
                    I d o n't c ar e h o w m a n y of t h es e c u c ks ar e o ut e d. I d o n't c ar e if t h eir c ar e ers ar e o v er 🇺🇺 🇺🇺♀ \n️ T h e y 'v e
                    li e d 2 t h e A m eri c a n p e o pl e f or at l e ast 3 y e ars ! R ussi a n h o a x , Pr esi d e nt is r a cist , U kr ai n e h o a x ,            htt p://t witt er. c o m/ b a n d yt 8 8/st a
2 0 1 9- 1 1- 0 5   St or m y D a ni els & cr e e p y p or n l a w y ers , cr a z y ass E J e a n C arr oll . E v er y d a y a n e w f ar c e                             t us es/ 1 1 9 1 7 5 3 2 4 6 6 5 5 8 2 3 8 7 2
                                                                                                                                                                          htt p://t witt er. c o m/ P o c k et m o us
                                                                                                                                                                          e 2/st at us es/ 1 1 9 1 6 8 1 6 8 9 3 3 8 1 6
2 0 1 9- 1 1- 0 5   J e a n C arr oll's b o o k s al es m ust b e l a g gi n g. A n y c o v er a g e is g o o d f or h er s al es.                                        3200
                                                                                                                                                                          htt p://t witt er. c o m/ Ni g el 2 2 2 2 2/
                                                                                                                                                                          st at us es/ 1 1 9 1 5 9 1 5 1 9 4 8 6 1 9 3 6
2 0 1 9- 1 1- 0 5   B o o k s al es m ust b e f ar m or e dis a p p oi nti n g t h a n e x p e ct e d. @ ej e a n c arr oll                                               64
                    N ot e v e n Bill Cli nt o n or J o e Bi d e n w o ul d t o u c h t his cr a z y B *t c h a n d Li b er al M e di a t hi n ks Tr u m p                htt p://t witt er. c o m/ L ast St a n d 2 0
                    w o ul d.. H A H A H A T h e y ar e as d es p er at e as s h e is! W at c h Tr u m p c o u nt er s u e f or sl a n d er a n d t a k e                 1 9/st at us es/ 1 1 9 1 5 8 2 9 8 8 0 0 7 4 3
2 0 1 9- 1 1- 0 5   a w a y h er b o o k pr ofit\ n\ n E. J e a n C arr oll S u es Tr u m p F or D ef a m ati o n htt ps://t. c o/l 5 Z vs F 8 Q 2 D                      2197
                                                                                                                                                                          htt p://t witt er. c o m/ c h ar a d es of y
                    @ k at h y griffi n J e a n C arr oll h as cr a z y e y es. R u n li k e h ell w h e n a w o m a n h as t h os e e y es. I w as st al k e d           o ut h/st at us es/ 1 1 9 1 5 5 0 5 0 2 4 6 0
2 0 1 9- 1 1- 0 5   b y a w o m a n wit h t h at s a m e wi d e e y e d st ar e. It’s n ot n or m al.                                                                     383233

                    @ ej e a n c arr oll @ b et hr ei n h ar d I' m a n a ct u al s ur vi v or a n d y o ur t y p e of cr a z y is n ot a p pr e ci at e d , n e e d e d   htt p://t witt er. c o m/ h a y b ails dj/st
2 0 1 9- 1 1- 0 5   or w a nt e d                                                                                                                                          at us es/ 1 1 9 1 5 2 5 2 5 7 2 9 6 9 2 0 5 7 6
                    @ ej e a n c arr oll @ b et hr ei n h ar d A n ot h er s a d "l o o k at m e" m o m e nt fr o m @ ej e a n c arr oll. Y o u m a d e
                    sl a n d er o us, u nf o u n d e d all e g ati o ns a g ai nst Pr esi d e nt Tr u m p a n d h e h as t h e ri g ht t o d ef e n d hi ms elf.           htt p://t witt er. c o m/ Bi Bl F a/st at u
2 0 1 9- 1 1- 0 4   Y o u ar e gr u b bi n g f or b o o k s al es, n ot hi n g m or e.                                                                                     s es/ 1 1 9 1 4 7 5 4 9 0 8 2 7 0 3 4 6 2 4
                    W h y ar e t his cr a z y l a d y's s e x f a nt asi es b ei n g e nt ert ai n e d ? T his s e e ms li k e a v er y e x p e nsi v e                    htt p://t witt er. c o m/ cr ai g b o b 9 9/
                    i ntr o d u cti o n f or a d at e.\ n\ n "J o ur n alist E. J e a n C arr oll h as fil e d a d ef a m ati o n l a ws uit a g ai nst Pr esi d e nt      st at us es/ 1 1 9 1 4 4 5 3 8 8 7 9 8 1 5 6 8
2 0 1 9- 1 1- 0 4   Tr u m p " htt ps://t. c o/ 4 Q 9 3 T C C p X g                                                                                                        00
                    htt ps://t. c o/ di 5 M S Yu Ht A ⁦ @ E L L E m a g a zi n e ⁩ ⁦ @ ej e a n c arr oll ⁩’s b o o k s al es ar e n’t t a ki n g off s o                  htt p://t witt er. c o m/ a ci p oll o/st at
2 0 1 9- 1 1- 0 4   m a y b e t his will w or k. Alr e a d y 5 0 % off.....                                                                                                us es/ 1 1 9 1 4 4 2 6 8 5 7 1 6 0 4 1 7 2 9
                                                                                                                                                                           htt p://t witt er. c o m/ d arl e n e kr a us
                    I t hi n k s h e is fili n g t h e l a ws uit s o t h at s h e c a n k e e p h er n a m e o ut t h er e a n d s ell m or e b o o ks. Aft er 2 0        e 3 5/st at us es/ 1 1 9 1 4 3 8 2 1 6 4 5 8 5
2 0 1 9- 1 1- 0 4   y e ars s h e d e ci d e d t o fil e a d ef a m ati o n l a ws uit. Cr a z y!! @ ej e a n c arr oll                                                    79972

                    @ n o _sil e n c e d E. J e a n C arr oll is h o p pi n g o n t h e tr e n di n g tr ai n...t h e tr ai n w h er e e v er y b at-s hit cr a z y        htt p://t witt er. c o m/sfi el d 4 0 0/st
2 0 1 9- 1 1- 0 4   a c c us ati o n is dri v e n as f a ct b y # Li bs a n d t h e # Li b er al M e di a # O P P O R T U NI S T C R A Z Y                                 at us es/ 1 1 9 1 4 0 6 8 7 7 5 5 4 4 9 5 4 8 8
                    A n ot h er m e di a w h or e!!!! E. J e a n C arr oll s u es Pr esi d e nt D o n al d Tr u m p f or d ef a m ati o n aft er h e d e ni es             htt p://t witt er. c o m/ gl o b alstr atlt
                    r a pi n g h er i n a dr essi n g r o o m - d es pit e t h e a d vi c e c ol u m nist r e v e ali n g s h e h as dr ess wit h p ossi bl e              d/st at us es/ 1 1 9 1 3 9 6 8 3 3 7 6 5 0 1 1
2 0 1 9- 1 1- 0 4   D N A e vi d e n c e\ n vi a htt ps://t. c o/i b L Sf m D 8 z v htt ps://t. c o/ q 7 X e H e z Cf L                                                    458

                                                                                                                                                                           htt p://t witt er. c o m/ 3 0 5 ar m y z/st
2 0 1 9- 1 0- 2 5   @ ej e a n c arr oll S orr y l a d y b ut y o ur e b at s hit cr a z y                                                                                 at us es/ 1 1 8 7 7 8 5 7 8 2 4 3 1 4 9 0 0 4 8
                                                                                                                                                                           htt p://t witt er. c o m/ p a p a b e ar n c/
                                                                                                                                                                           st at us es/ 1 1 8 2 6 8 3 6 9 3 3 9 7 2 8 2 8
2 0 1 9- 1 0- 1 1   @ ej e a n c arr oll Y o u ’r e cr a z y 🇺🇺 🇺🇺 🇺🇺 htt ps:// t.c o / 7t 5gs P MiI d                                                                     16
                    @ S h ur a o @ S ulli vi e w @ n yti m es E J e a n C arr oll n e e d e d t o b e i g n or e d. T h at w o m a n w as b ats hit
                    cr a z y.\ n A n d n o, t h es e ar e N O T cr e di bl e all e g ati o ns. T h e e dit ors c orr e cti o ns s a ys t h e s o c all e d vi cti m        htt p://t witt er. c o m/ 1 9 P a m 5 6/st
2 0 1 9- 0 9- 1 6   h as n o m e m or y of t h e i n ci d e nt.                                                                                                            at us es/ 1 1 7 3 5 7 5 8 1 9 8 5 3 0 4 1 6 7 1
                    @ R e al S a a v e dr a @ v e ni vi di vi c ki 6 3 Is s h e sist ers wit h E. J e a n C arr oll ? S e e ms li k e s h e h as t h e b at s hit          htt p://t witt er. c o m/ o a kj o n/st at u
2 0 1 9- 0 8- 2 7   cr a z y g e n e .🦇🦇 htt ps:// t.c o /N Z m h y x y q 1 m                                                                                              s es/ 1 1 6 6 1 6 8 0 7 1 9 8 5 3 3 6 3 2 0
                    @ m e n d el k al m e ns o n @ L o gi c al Mi c a h @ h 3 h 3 pr o d u cti o ns T h e y g a v e t h at cr a z y l a d y E J e a n C arr oll
                    m ulti pl e pri m eti m e T V sl ots t o t ell h er st or y a n d w h e n s h e w as n't cr e di bl e t h e y p ull e d t h e pl u g. T h e            htt p://t witt er. c o m/ O v ert o n Gri n
                    m e di a is s c o uri n g t h e c o u ntr y f or t h es e st ori es t o us e a g ai nst Tr u m p, if t h e y w er e o ut t h er e t h e y w o ul d     g o/st at us es/ 1 1 6 2 3 4 6 9 3 5 2 6 6 7 5
2 0 1 9- 0 8- 1 6   fi n d t h e m. T h e y e v e n m a k e it u p 2/                                                                                                      4561

                                                                                                                                                                    htt p://t witt er. c o m/f _ m ari o n 1/st
2 0 1 9- 0 7- 2 4   @ b ets ys cri b ei n d c @ D ail y C all er @ ej e a n c arr oll @r e al D o n al d Tr u m p I s m ell a bit of cr a z y.                      at us es/ 1 1 5 4 1 6 3 6 1 7 0 1 4 6 4 8 8 3 2
                    @ k yl e griffi n 1 Cr a z y J e a n C arr oll c a n g o t o t h e P oli c e - Di Bl asi o s ai d n o iss u es wit h ti m e                     htt p://t witt er. c o m/j o n at h a n b est
                    li mit ati o ns..s o w h at is s h e w aiti n g f or ? I c a n’t w ait t o h e ar w h at t h e offi c ers t hi n k a b o ut h er st or y. T h e 1 7/st at us es/ 1 1 5 2 3 7 0 8 6 3 7 0 4 0 9
2 0 1 9- 0 7- 2 0   ot h er 2 0 0 a c c us ers als o h a v e st ori es w hi c h c a n n e v er b e pr o v e n or d ef e n d e d - h o w c o n v e ni e nt.          2675
                    Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 37 of 67


D at e              P ost T e xt                                                                                                                                           U RL
                                                                                                                                                                           htt p://t witt er. c o m/ q ui c k dr a ws h
                    @ C a m E d w ar ds It’ll b e 5 4t h o n t h e A m a z o n B o o k S al es list b ut still g et a T O N of air ti m e o n @ C N N                      irts/st at us es/ 1 1 5 0 9 6 1 1 3 0 8 0 3 7
2 0 1 9- 0 7- 1 6   \ n\ n... li k e E. J e a n C arr oll htt ps://t. c o/ Dt n 0 c K 3 A L K                                                                              93921
                                                                                                                                                                           htt p://t witt er. c o m/ G S c ar af a g gi
                    W at c h e d L ei g h S al es o n 7: 3 0 R e p ort i nt er vi e wi n g E. J e a n C arr oll r e g ar di n g a 3 0 y e ar u nr e p ort e d              o/st at us es/ 1 1 5 0 8 5 6 1 1 2 8 7 2 1 6 1
2 0 1 9- 0 7- 1 5   cri m e. Ms C arr oll w as b ar el y cr e di bl e. S o u n ds li k e a b o o k l a u n c h is i m mi n e nt!                                           280
                    @ Al yss a _ Mil a n o @ S c ot c hJ L K @ R o b ert F ost er 4 M S B e c a us e of li ars li k e St or m y D a ni els, Bl as e y                      htt p://t witt er. c o m/ n a n c y o k e ef/
                    F or d a n d t h at b at s hit cr a z y E. J e a n C arr oll. N ot t o m e nti o n all t h e f a u x f e mi nist Hill ar y s u p p ort ers             st at us es/ 1 1 5 0 3 5 2 5 9 5 6 2 3 6 0 0 1
2 0 1 9- 0 7- 1 4   p ai d b y Lis a Bl u m. T h a n k y o u f or wr e c ki n g d e c a d es of w or k b y w o m e n i n a f e w s h ort y e ars                           29

                                                                                                                                                                           htt p://t witt er. c o m/ Tr u e e cl as/st
2 0 1 9- 0 7- 1 2   B e c a us e it is a li e t o s ell h er b o o k. htt ps://t. c o/I Dji p 4 n n E o                                                                    at us es/ 1 1 4 9 4 9 7 8 6 4 1 8 5 2 3 3 4 1 4
                    @ ej e a n c arr oll W e k n o w w h o h e is... h e is a gr e at m a n w h o is t a ki n g d o w n t h e e vil i n t h e w orl d a n d                htt p://t witt er. c o m/ b ois e o uts p o
                    y o u ar e a l o o n e y n ut c as e wit h a n a g e n d a. \ n As a vi cti m I r e m e m b er t h e y e ar t h e d a y, a n d t o h e ar y o u        k e n/st at us es/ 1 1 4 9 3 4 2 7 1 1 2 5 9 9
2 0 1 9- 0 7- 1 1   a n d f or d li e a b o ut t h e ti m e is n a us e ati n g. \ nIt’s all a li e, m a d e u p!                                                          42913
                                                                                                                                                                           htt p://t witt er. c o m/ N a uti c a 7 7 7/
                                                                                                                                                                           st at us es/ 1 1 4 9 3 0 1 9 8 4 6 8 1 2 9 1 7
2 0 1 9- 0 7- 1 1   @ ej e a n c arr oll A n ot h er # $ $ $ $ w h or e                                                                                                    77
                                                                                                                                                                           htt p://t witt er. c o m/r u b y d e u x d et
                                                                                                                                                                           r oit/st at us es/ 1 1 4 9 2 8 5 2 0 8 1 9 5 2
2 0 1 9- 0 7- 1 1   @ S us a n D e 7 1 7 1 1 0 7 4 @ es h a p @ ej e a n c arr oll B ot s hit cr a z y.                                                                    89098
                                                                                                                                                                           htt p://t witt er. c o m/ A R e al T e x a k
                                                                                                                                                                           a n/st at us es/ 1 1 4 9 2 8 1 1 7 3 6 3 5 5 5
2 0 1 9- 0 7- 1 1   @ ej e a n c arr oll H o w ar e b o o k s al es g oi n g ?                                                                                             5328
                                                                                                                                                                           htt p://t witt er. c o m/ S h ar m a D or e
                                                                                                                                                                           e n/st at us es/ 1 1 4 9 2 4 6 7 8 4 5 9 1 5 5
2 0 1 9- 0 7- 1 1   @ es h a p @ ej e a n c arr oll S h e is Cr a z y                                                                                                      2512

                                                                                                                                                                           htt p://t witt er. c o m/j o h nr e z z z/st
2 0 1 9- 0 7- 1 1   @ ej e a n c arr oll Y o u ar e b at s hit cr a z y .... t h at’s w h y p e o pl e d o n’t c ar e. Pr ett y si m pl e r e all y 😂😂      ♂ ️            at us es/ 1 1 4 9 2 1 3 2 1 4 5 8 5 9 1 7 4 4 2
                                                                                                                                                                           htt p://t witt er. c o m/ L u bi e nJ essi
                                                                                                                                                                           c a/st at us es/ 1 1 4 9 1 9 6 9 0 2 6 6 9 3 9
2 0 1 9- 0 7- 1 1   @ ej e a n c arr oll @ Rill aI n gl e w o o d H o w's t h e b o o k s al es ? Y o ur ti mi n g w as i nt er esti n g.                                  8016
                    @ gr a nt w ar k e nti n @j billi ns o n N o, s h e is t h e Us ef ul I di ot pr o p p e d u p b y t h e o v er d es p er at e m e di a w h o
                    w a nt e v er y o n e t o l o o k a w a y fr o m A m eri c a First a n d i nst e a d v ot e a g ai nst t h eir o w n s elf                             htt p://t witt er. c o m/ h o n or ar y a m
                    i nt er ests.\ n\ n A v e n atti, Dr. F or d, J e a n C arr oll. All h a v e t h eir m o m e nt i n t h e s u n if it h el ps t h e m s ell a          eri c a/st at us es/ 1 1 4 8 9 9 8 8 5 2 8 9 8
2 0 1 9- 0 7- 1 0   C hi n a First a g e n d a.                                                                                                                            369537
                    @ N Gr oss m a n 8 1 @ Ar c Di gi @ S o ut h er n K e e ks 2. M o or e's a c c us ers h a d m a n y i nst a n c es of e vi d e n c e,
                    i n cl u di n g a r e c e nt l a ws uit. Tr u m p's a c c us ers ar e m or e b eli e v a bl e v ersi o ns of J e a n C arr oll, i n ot h er            htt p://t witt er. c o m/ P a ul N o 1 5 5/
                    w or ds, t h e y d o n't s o u n d as cr a z y. Oft e n t h e bi g g est e vi d e n c e o n e g o v e is t h at t a p e, w hi c h is a st a n d ar d   st at us es/ 1 1 4 8 2 8 7 7 4 4 1 0 5 4 7 2 0
2 0 1 9- 0 7- 0 8   n o o n e h ol ds e q u all y.                                                                                                                         00
                                                                                                                                                                           htt p://t witt er. c o m/ P atri ci a S B e
                    @ m o n d ol o p e z 2 E. J e a n C arr oll: “ T h e w orl d is a v er y, v er y m err y pl a c e wit h o ut m e n. ” S h e’s g ot                     ar/st at us es/ 1 1 4 8 0 2 2 2 5 8 3 2 7 3 4
2 0 1 9- 0 7- 0 8   t h os e cr a z y e y es.... o b vi o usl y h at es m e n, b ut l o v e d g a y A n d ers o n C o o p er. htt ps://t. c o/ 6 R X p 9 5 y Xr W          7201
                    @j ust k ell y _ o k @ c h u c k w o ol er y @ g at e w a y p u n dit St o p s pr e a di n g # F a k e N e ws T his h as b e e n d e b u n k e d.
                    Als o, if t h er e w as o n e s hr e d of tr ut h t o it, t h e l eft w o ul d alr e a d y h a v e us e d it t o t h eir a d v a nt a g e. W h at      htt p://t witt er. c o m/ S c ott y O D o g
                    h a p p e n e d t o E J e a n C arr oll, t h eir l ast att e m pt ? S h e’s alr e a d y off of t h e n e ws c y cl e b e c a us e s h e w as a         g y/st at us es/ 1 1 4 7 9 5 3 0 9 6 4 3 9 3 9
2 0 1 9- 0 7- 0 7   cr a z y li ar.                                                                                                                                        4304
                    @j a k et a p p er @j usti n a m as h @ C N N S ot u ... a n d t his, b o ys a n d girls, is t h e n e w d arli n g of t h e                           htt p://t witt er. c o m/ C al vi n _ Mi z
                    C oll a psi n g N e ws N et w or k. R e c e ntl y it w as t h e cr a z y li b er al “r a p e vi cti m ” E J e a n C arr oll, b ef or e t h at          er/st at us es/ 1 1 4 7 8 5 7 9 8 2 8 3 6 9 2
2 0 1 9- 0 7- 0 7   f el o n p or n l a w y er Mi c h a el A v a n etti a n d c urr e nt c o n gr ess w o m e n A O C, O m ar & Tl ai b.                                   4416
                                                                                                                                                                           htt p://t witt er. c o m/ Gr u b er Zi p p
                    @ ej e a n c arr oll Y o u'r e eit h er c o m pl et el y cr a z y, or y o u'r e h a vi n g a str o k e. Y o u s h o ul d g et t h at c h e c k e d     y/st at us es/ 1 1 4 6 9 6 2 4 6 4 8 3 7 3 7 3
2 0 1 9- 0 7- 0 5   eit h er w a y.                                                                                                                                        954
                                                                                                                                                                           htt p://t witt er. c o m/ St u pi d C o m p
                    @ d c e x a mi n er B o o k S al es T a n k B ef or e C u c k o o J e a n C arr oll C a n D eli v er H er First B o o ks F or                          a ni es/st at us es/ 1 1 4 6 6 1 9 7 3 3 9 3 8
2 0 1 9- 0 7- 0 4   P ur c h as e.                                                                                                                                         229250
                    @ R e v M es k @ c h u c k w o ol er y Y o u m e a n li k e t his cr a z y L O O N ? ? ? Y es , t h e y ar e y ell o w l a bs, b ut t h e              htt p://t witt er. c o m/I m a F ur M o m
                    i d e ntif y as bl a c k p o o dl es! S e e h o w utt erl y ri di c ul o us t h at s o u n ds ? T h at ’s Y O U R p art y f or y o u!                  /st at us es/ 1 1 4 6 2 1 2 1 5 6 6 9 5 7 0 7 6
2 0 1 9- 0 7- 0 3   😂😂 L ol ........ htt ps://t.c o /n gl C 1 S x et B                                                                                                     50
             Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 38 of 67


Date       Post Text                                                                                                  URL
           @Jali_Cat @ejeancarroll @LisaBirnbach @nytimes @maggieNYT @JaySekulow @GOP Agree.
           What a horrible attention seeking liar....all to sell a book. \nPeople like her make me sick to my
           stomach. \nThe disgusting Fake News Media were all salivating over her lies and delusions. Hope            http://twitter.com/iJancy/status
2019-07-01 they’re all sued.                                                                                          es/1145801690802806786
                                                                                                                      http://twitter.com/jakehiggins8
                                                                                                                      9/statuses/1145455219108732
2019-06-30   @CNN @ejeancarroll @brianstelter I thought we already established that this woman is batshit crazy? 929
                                                                                                                      http://twitter.com/lynnpppaaal
             @SerafinSharon @CNN @ejeancarroll @brianstelter She said she wasn't raped. She hit on the host of lss/statuses/114543467797445
2019-06-30   the show and has a book coming out. She is a nutter and used Trump to sell her book.                     0177
                                                                                                                      http://twitter.com/Carring123/
             @CNN @ejeancarroll @brianstelter All BS..they are laughing so hard they tears in their eyes..Carroll statuses/11454285979995709
2019-06-30   is crazy & lying...CNN always bringing the crazy on..this why CNN is no longer relevant..                44
                                                                                                                      http://twitter.com/Hereismeag
             @CNN @ejeancarroll @brianstelter 👏👏👏👏    👏👏👏👏    you fall for it and now she gets to sell her book. 👏👏👏👏 ain/statuses/11454233187340
                                                           👏👏👏👏
2019-06-30   👏👏👏👏 👏👏👏👏                                                                                                32902
                                                                                                                      http://twitter.com/bosco73902
                                                                                                                      769/statuses/11454137897995
2019-06-30   @CNN @ejeancarroll @brianstelter Just trying to sell books. Lying bitch                                  96035
                                                                                                                      http://twitter.com/NicolasJFlor
                                                                                                                      es/statuses/114540506299636
2019-06-30   @CNN @ejeancarroll @brianstelter That lady is crazy, period.                                             1216
                                                                                                                      http://twitter.com/jasonbluaz/s
                                                                                                                      tatuses/114540492684923699
2019-06-30   @CNN @ejeancarroll @brianstelter Is she on her meds this time? Women is crazy & embarrassing             2
             This bitch has lost her mind, I cant BELIEVE the #FakeNewsMedia like @CNN & @MSNBC gave
             her a SECOND to air this disgusting crazy womans ramblings JUST so she could sell a few                  http://twitter.com/1language1f
             books\nTHIS is what our American Media has become, not "journalist" among                                lag/statuses/11453685351846
2019-06-30   them\n\nhttps://t.co/9467NJJrb1                                                                          78912
             Lets be clear. There is 0 evidence here. She gets heard because of a political agenda. My daughter, http://twitter.com/VoteBigJim/
             kidnapped by a hospital, forced treatments that didn't address her diagnosis of 18 months. I have        statuses/11450594265477857
2019-06-29   thousands of pages of documentation from hospital. https://t.co/QmPs1T5blS                               28
             Why does the crazy left insist on throwing these wacky women at us? They’ve weaponized “#MeToo” http://twitter.com/1stAirDel_
             and probably always intended to do that.\n\nhttps://t.co/xM97sYkwf9 #GOP #TCOT #MAGA                     USMCR/statuses/1144993758
2019-06-29   #UniteBlue #Democrats                                                                                    276018176
                                                                                                                      http://twitter.com/swlucas420/
                                                                                                                      statuses/11449904329480519
2019-06-29   @hardball @HardballChris @ejeancarroll CRAZY! CRAZY! CRAZY!                                              69
                                                                                                                      http://twitter.com/LikeSait/stat
2019-06-29   @SenGillibrand You would say that, you and Jean Carroll are both batshit crazy 😂😂😂😂 NXIVM                uses/1144899927920795648
                                                                                                                      http://twitter.com/CalvinReard
             @heckyessica She’s crazy. Lol like legitimately, this 2015 article proves it pretty well lol.            en/statuses/114483664254244
2019-06-29   https://t.co/ghZj6s4tPW                                                                                  4546
                                                                                                                      http://twitter.com/jricebowl0/s
             At least she got some more book sales in her trashing of actual rape victims. This bitch should go to    tatuses/114480260743878246
2019-06-29   prison. https://t.co/hRPH8awIhz                                                                          4
                                                                                                                      http://twitter.com/IramZednem
                                                                                                                      /statuses/11447655068990545
2019-06-29   @hardball @HardballChris @ejeancarroll 2 crazy old farts                                                 92
                                                                                                                      http://twitter.com/JeannieBell
                                                                                                                      71/statuses/114476284963552
2019-06-29   @hardball @MSNBC @ejeancarroll She’s just trying to sell her book. Hard Pass                             4608
                                                                                                                      http://twitter.com/jasonbluaz/s
                                                                                                                      tatuses/114476060351844352
2019-06-29   @hardball @MSNBC @HardballChris @ejeancarroll Fake News, she’s crazy                                     2
                                                                                                                      http://twitter.com/AmericanLe
             @voxdotcom @atrupar Evidence, it’s what we need to enforce laws. Democrats no longer believe in aders/statuses/1144740060438
2019-06-28   evidence or laws. Jean Carroll is a perfect example of the crazy left.                                   224901
                                                                                                                      http://twitter.com/LgStrigifor
                                                                                                                      mes/statuses/11447194857077
2019-06-28   @RealSaavedra Also BREAKING: E. Jean Carroll is batshit crazy.                                           71904
             Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 39 of 67


Date         Post Text                                                                                               URL
                                                                                                                     http://twitter.com/tinaleigh4lif
                                                                                                                     e/statuses/1144681980166049
2019-06-28 @RealSaavedra OLD : E. Jean Carroll is crazy!                                                             795
                                                                                                                     http://twitter.com/Mymmeli8/s
           @MellowPeanut @JuddApatow You realize that Trump and E. Jean Carroll are two different                    tatuses/114462003851666227
2019-06-28 persons? Asking to see whether you're as crazy as E. Jean Carroll is, so honest answer is appreciated.    3
                                                                                                                     http://twitter.com/Bluestar122
           Welcome aboard the Crazy Train, @MarWilliamson, please have a seat next to E. Jean Carroll.               7/statuses/1144479272448360
2019-06-28 Buckle up!                                                                                                449
                                                                                                                     http://twitter.com/ddfortrump/
           @thegarance @ejeancarroll How very not unusual that is huh? Wow alrighty then. Smh\n\nAnyone              statuses/11444770190626693
2019-06-28 who believes this woman is as crazy as she is.                                                            13
           @varepall @BreitbartNews Where is our outrage. \nJean Carroll, This is really some nut-case...also        http://twitter.com/corockymtn
           she has a "book" to sell....seems like a \nscheme to sell her book.\n$$$$$ @nytimes @latimes              s/statuses/1144465067712241
2019-06-28 https://t.co/DHJoqiNyVG                                                                                   665
                                                                                                                     http://twitter.com/SwordofDa
                                                                                                                     mocles/statuses/11444339955
2019-06-28 Just throwing this out there Marianne Williamson is Jean Carroll levels of crazy.                         40828160

           @ReliableSources @ejeancarroll @brianstelter She's fucking bat shit crazy and of course you have to       http://twitter.com/jdelaine1/sta
2019-06-28 put her on your show you're a fucking idiot                                                               tuses/1144419489586413568
           2 women who heard E. Jean Carroll's account of being attacked by Trump go public - The New York
           Times \nCRAZY, MENTALLY INSANE, WACKOBIRD LIBERALS AMD THEIR LIES ONLY
           HURT REAL RAPE VICTIMS. WONEN SHOULD BE PISSED OFF AT THESE GOOFS!                                        http://twitter.com/biglugg77/st
2019-06-28 https://t.co/qZLBsnsMA2                                                                                   atuses/1144395593667764225
           @maryhamel @Rosie The story of #EJeanCarroll being a #crazy #lying #witch? I agree 100%.                  http://twitter.com/JohnBucanis
           #Booksale #rapeissexy #MAGA #KAG2020 #VoteRedToSaveAmerica                                                /statuses/11443648367233515
2019-06-27 #LiberalismIsAMentalDisease #conservatismisthecure #Godisgood #TrustinHim #CCOT                           52
           Hearsay! Just because you told someone, doesn't mean it happened. Where is the police report?
           Someone is just trying to sell a book. #FakeNews E. Jean Carroll told two people about her alleged         http://twitter.com/Sheklen/stat
2019-06-27 rape. This is what they remember. https://t.co/LsRu1Rx324 via @YahooNews                                   uses/1144360842156105728
                                                                                                                      http://twitter.com/mizannie48/
                                                                                                                      statuses/11443417214273904
2019-06-27   She must be slightly mad as in crazy! SMH https://t.co/lHQrgQ4pdV                                        64
             ‘Radical Feminist’ E. Jean Carroll Praised Hillary Clinton, Invented ‘Evil’ Dating Game To Break Up http://twitter.com/TheGatekee
             Couples-Hence-Rogue-Mean-Hateful female-who wud want2 screw her-let alone-RAPE her.!!? Not per37/statuses/114432232152
2019-06-27   even another Liberal crazy head.!\nhttps://t.co/y8XaqoBEsr                                               1491968
             @ParanormalNJ @hempev @AbramLPhD @TheCarston @DonCheadle But I'll say this much; this
             sub-thread came about when one twitter user, claiming to be a mental health professional, stated that http://twitter.com/kerberospan
             E. Jean Carroll's not crazy. Unless someone here can offer a detailed reason why she's not crazy, i.e, a zer/statuses/11443103103684
2019-06-27   credible rape victim...                                                                                  97664
                                                                                                                      http://twitter.com/KellyHend3
             @FindingAnswers @srthellcat187 What in the neck? Someone left the door open at the crazy, house, 9/statuses/1144268913473216
2019-06-27   And Jean Carroll Escape from it.                                                                         515
             @Twitter unsurprisingly placed this hack's Tweet on my timeline, despite my not following
             her.\n\nRe the Tweet...it isn't surprising also the likes of @SenGillibrand would believe                http://twitter.com/xXExpatDa
             @ejeancarroll, particularly having seen that bat$hit crazy woman on #FakeNews @AC360 just                dXx/statuses/1144223331572
2019-06-27   sayin\n\n#KAG                                                                                            428801
                                                                                                                      http://twitter.com/Bluestar122
                                                                                                                      7/statuses/1144134474709569
2019-06-27   As Ozzie sang to us, “I’m going off the rails on the crazy train...” \nThe @EJeanCarroll theme song. 536
                                                                                                                      http://twitter.com/Bluestar122
             After seeing E. Jean Carroll coached interviews on CNN and MSNBC, anyone with a half brain cell          7/statuses/1144131251655368
2019-06-27   knows she is the conductor on the Crazy Train. C’mon people.                                             704
             @donaldrusso994 @SRepasky If she’s the nominee, she should pick E. Jean Carroll as her running           http://twitter.com/1geepa/statu
2019-06-27   mate.\n\nThey could be crazy together.                                                                   ses/1144073889749843968
                                                                                                                      http://twitter.com/1geepa/statu
2019-06-27   I’m thinking an Elizabeth Warren/E. Jean Carroll ticket.\n\nDouble Crazy.                                ses/1144053000975073280
             @TheView Jean Carroll is telling an unbelievable story with improbable timing to sell a book
             claiming every man she has ever known and more than one celebrity has abused her. Enough said.           http://twitter.com/Villandra/st
2019-06-26   Not even listening at what @TheView said, don't feel like high blood pressure today!                     atuses/1143977465972482052
              Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 40 of 67


Date       Post Text                                                                                                    URL
           @Gjallarhornet @realDonaldTrump Yuk, Jean Carroll is bazaar. She’s crazy, & MSM is sucking up                http://twitter.com/SasBHappy/
           her lies just like Blakey Ford. They don’t care if it’s lies, they spin it because it’s accusing Trump.      statuses/11438612342463324
2019-06-26 There are a lot of gullible MSM followers out there because of their hate!                                   16
                                                                                                                        http://twitter.com/trigwarnradi
           @PrisonPlanet E. Jean Carroll is too crazy and people are asking too many questions.\n\nShe'll be            o/statuses/1143857883404279
2019-06-26 buried by the weekend.\n\nhttps://t.co/rJzK1bqdD8                                                            808

                                                                                                                        http://twitter.com/TX79762/st
2019-06-26 @davidfrum E. Jean Carroll does seem fairly crazy - and that’s despite a sympathetic media.                  atuses/1143855907266338816
                                                                                                                        http://twitter.com/NigrumFry/s
           @NigrumFry @heckyessica NOT SURE IF #INSANE OR #CRAZY PERSON.\n#NotSureIf                                    tatuses/114384859302924697
2019-06-26 #JeanCarroll #MentalHealthAwareness https://t.co/dxiqJAwYpO                                                  6
           @MollyJongFast @ejeancarroll They didn’t! If you saw her interviews and couldn’t tell she was                http://twitter.com/Flattielover/
           batshit crazy, you might want to wait a few years to do that writing thing. When you keep defending          statuses/11438372307646341
2019-06-26 the obvious lies it just proves why the left media is going down the tubes.                                  13
                                                                                                                        http://twitter.com/cali_ps/statu
2019-06-26 @tomselliott @RealSaavedra @ejeancarroll 🦇🦇🦇🦇 crazy                                                          ses/1143760701669777409
                                                                                                                        http://twitter.com/CalvinReard
           @SenGillibrand Lmao, she made a mobile dating app which’s deliberately focus is to break up                  en/statuses/114376017663542
2019-06-26 couples by the worst means possible. She’s bad shit crazy, so are you.\nhttps://t.co/ghZj6s4tPW              4769
                                                                                                                        http://twitter.com/knewenigma
           @MittRomney Hey stupid! Did you not see the Jean Carroll interviews? She's obviously crazy and               /statuses/11437551194118594
2019-06-26 there should be no more information needed. You moron!                                                       58
           Hey @SenGillibrand - This is not at all surprising, as you are merely confirming for the American
           people what we already know ... YOU ARE IGNORANT 🤫🤫\n\n@EJeanCarroll is mentally
           challenged but go ahead and amplify her mental illness as you Whore for                                      http://twitter.com/STofuca/stat
2019-06-26 votes.\n\nhttps://t.co/o54SgYI3Kr                                                                            uses/1143742359764635648
           It is clear to even the most casual observer that E. Jean Carroll is, crazy. She is a clown, who in a best   http://twitter.com/RealEricBru
           case scenario, has succumbed to mental decline and who joins the ranks of Michael Avenatti and               no/statuses/114373298849400
2019-06-26 other anti-Trump side show freaks on parade at CNN. #EJeanCarroll #CNN #Trump                                8320

                                                                                                                    http://twitter.com/Flipper65/st
2019-06-26 @realAaronLeuer Cray Cray!! Jean Carroll is trying to sell her book. Period https://t.co/DQqmfLeqmv atuses/1143727685262200832
                                                                                                                    http://twitter.com/GOPBackbo
                                                                                                                    ne/statuses/114370383663412
2019-06-26 @chuckwoolery Pelosi is as crazy as E. Jean Carroll. #CNN                                                4288
           @kim @gtconway3d @ejeancarroll Dem sheep & Bots look to smear a repub & the Prez, know y'all
           hate citizens & love illegals, hate babies & love abortion, hate law enforcement & military but love     http://twitter.com/Usa1776G/s
           kneeling before our flag? Latest crazy is Swetnick 2.0 lookin for $ & to sell her book?                  tatuses/114365683263811585
2019-06-25 https://t.co/uw2HkMiwBY                                                                                  2
           @CNN E.Jean Carroll is bat shit crazy & thinks rape is sex, she also said she was buying lingerie        http://twitter.com/dagnon_car
           with Trump to make him wear over his suit. Anyone who believes this crap is an idiot. Does nothing ole/statuses/11436545515700
2019-06-25 but hurt real rape victims.                                                                              14209
           @kylegriffin1 And I have to go by what Chuck Schumer says? 😏😏😏😏\nWhoever takes this woman                http://twitter.com/mketchum2
           seriously has TDS!\nE Jean Carroll is an opportunist! It’s all about putting spice in her book, to sell! 006/statuses/11436493029564
2019-06-25 What a great scenario to have it @ Bergdorf’s fitting room #sexualfantasies                              45697
                                                                                                                    http://twitter.com/cww_diver/s
                                                                                                                    tatuses/114364592496461414
2019-06-25 Jean Carroll is a fruit loop, certified bat shit crazy 😳😳                                                9
           E.JEAN CARROLL IS ON SOO MANY PILLS SHE DOESN'T EVEN KNOW WHERE SHE IS
           HALF THE TIME BUT THIS IS HOW YOU SELL A BOOK IN 2019 LOL LOL LOL THIS                                   http://twitter.com/CnnLapdog/
           WOMAN IS OUT THERE SHEVIS COMPLETELY STONED OUT OF HER MIND MY GOD                                       statuses/11436014908058746
2019-06-25 MAN                                                                                                      90
           Trump accuser E. Jean Carroll laughs off his assertion 'she's not my type. This whore seems too happy http://twitter.com/issue_Pain/s
           and doing her "I Got Sexually Assualted By Trump" news rounds. I don't believe her and she doesn't tatuses/114357986630387302
2019-06-25 seem sincere or serious!                                                                                 5
           @mitchellreports @HeidiNBC Now do Juanita Broaddrick.\n\nE. Jean Carroll has gotten more
           coverage in a week that NBC gave Broaddrick in 30 years. Honestly, you don't give a damn about           http://twitter.com/BonkPolitic
           victims unless those victims can help your political agenda.\n\nOh, and Broaddrick was ACTUALLY s/statuses/1143559321290252
2019-06-25 raped.\n\nhttps://t.co/jd8D0O6Jsn                                                                        288
           E. Jean Carroll is just another crazy lunatic looking to sell a book or two. She need not worry "WHAT http://twitter.com/dwlove9/stat
2019-06-25 HAPPENED".                                                                                               uses/1143551103595945984
                    Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 41 of 67


D at e              P ost T e xt                                                                                                                                        U RL
                                                                                                                                                                        htt p://t witt er. c o m/ M ar ci S orr ell
                    @ c att ur d 2 I t hi n k s h e l o o ks s o m u c h li k e L y n n R e d gr a v e b ut I k e e p e x p e cti n g h er t o s o u n d li k e t h e   /st at us es/ 1 1 4 3 5 3 5 6 7 5 3 9 8 1 3 9 9
2 0 1 9- 0 6- 2 5   w o m a n w h o pl a y e d G e or g ett e o n M ar y T yl er M o or e. J e a n C arr oll's a cr a z y p ers o n.                                    04

                    @ f u n d er T h at E. J e a n C arr oll is B ats hit Cr a z y, I n oti c e d S c ott is n’t att a c hi n g h er i nt er vi e ws c a us e           htt p://t witt er. c o m/ L u dl o w Bl/st
2 0 1 9- 0 6- 2 5   s h e’s n uts 😂😂                                                                                                                                    at us es/ 1 1 4 3 5 3 5 4 8 5 1 4 0 2 5 0 6 2 5
                    @ djr ot h k o pf @ all a h p u n dit M a y b e t h e t y p e w h o is b ats hit cr a z y a n d w h o is p us hi n g a n e w b o o k ? Or
                    m a y b e t h e t y p e w h o a d mitt e d o n C N N l ast ni g ht t h at Tr u m p di d n ’t s e x u all y r a p e h er?                            htt p://t witt er. c o m/f a k e _ a o c/st a
2 0 1 9- 0 6- 2 5   😂😂 ♂ \️n\ n #EJ e a n C arr oll                                                                                                                     t us es/ 1 1 4 3 5 3 4 3 9 9 9 3 1 0 7 6 6 0 8
                    T his u gl y, li b er al, l eftist, d el usi o n al, o p p ort u nist @ ej e a n c arr oll is j ust tr yi n g t o s ell h er b o o k. T his is      htt p://t witt er. c o m/ C yr us V a u g h
                    li k e C hristi n e Bl as e y F or d's a c c us ati o n a g ai nst J u d g e K. Aft er C arr oll b a n ks h er milli o ns fr o m h er               n 6/st at us es/ 1 1 4 3 5 2 8 8 2 7 5 8 4 4 8
2 0 1 9- 0 6- 2 5   b o o k s al es, s h e will j ust dis a p p e ar i nt o t h e s u ns et li k e                                                                      3328
                                                                                                                                                                        htt p://t witt er. c o m/ Ri g ht M ostl y
                    @ Dr G e or g e S M a c k @ ej e a n c arr oll @J o y A n n R ei d @ e m a c ks c @ L a ur e n K e ys o n @ D o n k a M oj o vi c S h e             /st at us es/ 1 1 4 3 5 2 7 9 2 4 2 0 6 8 4 5 9
2 0 1 9- 0 6- 2 5   is b ats hit cr a z y a n d c a n’t p ossi bl y b e t a k e n s eri o usl y.                                                                        52
                                                                                                                                                                        htt p://t witt er. c o m/ V er a ci o usJ e
                    @ K A G M a n 4 E @ d g ali g er 2 @ g at e w a y p u n dit If t h at is tr u e. E. J e a n C arr oll t a k es t h e c a k e. S h e is as           n/st at us es/ 1 1 4 3 5 0 9 8 3 3 3 7 6 8 1 7
2 0 1 9- 0 6- 2 5   cr a z y as t h e y c o m e. htt ps://t. c o/l 3 4 T 5 v b H TJ                                                                                     153
                                                                                                                                                                        htt p://t witt er. c o m/ Br e at h _ Of _I
                    @ Dr G e or g e S M a c k @ ej e a n c arr oll @J o y A n n R ei d @ e m a c ks c @ L a ur e n K e ys o n @ D o n k a M oj o vi c                   sis/st at us es/ 1 1 4 3 5 0 9 0 5 9 2 5 0 9 0
2 0 1 9- 0 6- 2 5   P ois e d ? M or e li k e dr u n k a n d cr a z y. Sl urrrrrrrr                                                                                     0993
                                                                                                                                                                        htt p://t witt er. c o m/ a m eri c a _r e c
                    @ G er al d o Ri v er a @r e al D o n al d Tr u m p I t hi n k E J e a n C arr oll's fi v e mi n ut es of f a m e ar e o v er.... a n d it's        l ai m/st at us es/ 1 1 4 3 5 0 8 3 6 0 5 2 5
2 0 1 9- 0 6- 2 5   d o u btf ul h er littl e M S M fli n g will h el p s ell h er b o o k. S h e n e e ds a Dr.! htt ps://t. c o/ u d 4 A V 7 X H 9 h                  955073
                    E J E A N C A R R O L L di v or c e d 2 ti m es 1 w as B L A C K. as k e d L Y L E L O V E T T H O W BI G HI S C O C K
                    W A S. us e d p h ot o of BI L L O' R EI L L Y 4 T A R G E T P R A C TI C E & s a ys s h e D O N T K N O W if                                       htt p://t witt er. c o m/ MI C H A E L T
                    T R U M P S C O C K W A S I N H E R O R N O T. i m S U R E U L A DI E S O U T T H E R E K N O W W H E N                                             L U CI A N 1/st at us es/ 1 1 4 3 5 0 7 0
2 0 1 9- 0 6- 2 5   Y O U R B EI N G F U C K E D .s h e a T O T A L L O S E R o ut 2 s ell h er b o o k.                                                                90331377664
                                                                                                                                                                        htt p://t witt er. c o m/ R e alJ M P et e
                    B at s h|t cr a z y d o es n't e v e n b e gi n t o d es cri b e t his w o m a n. @ ej e a n c arr oll                                              r m a n/st at us es/ 1 1 4 3 5 0 7 0 5 7 9 3 4
2 0 1 9- 0 6- 2 5   \ n\ n _\ n htt ps://t. c o/ X O xs N Z 5 9 D 4                                                                                                     401536
                    @ L A Tiff a ni 1 S o b asi c all y E J e a n C arr oll h as r ui n e d it f or l e giti m at e r a p e vi cti ms tr yi n g t o s ell h er
                    du mb book ?             W a y t o g o ass h ol e a n d t h e y o u g ht t o p ull it off t h e s h el v es                                         htt p://t witt er. c o m/ W N e w 5 0/st
2 0 1 9- 0 6- 2 5   \ n\ n # Li b er alis mIs A M e nt al Dis or d er                                                                                                   at us es/ 1 1 4 3 5 0 6 4 6 9 2 8 0 7 1 4 7 5 3
                    # EJ e a n C arr oll ..t w o w or ds t o all..A LI E N A L E R T 😂😂 😂😂 ..!!! A n y o n e w h o b eli e v es o n e w or d t his cr a z y
                    t wist e d w o m a n s a ys n e e ds t o s e e k t h er a p y. T h e D E M S h a v e r e a c h e d t h e b ott o m of t h eir b as k et of B S      htt p://t witt er. c o m/ri cl e w u/st at
2 0 1 9- 0 6- 2 5   dirt y tri c ks f or t his o n e . U n b eli e v a bl e ..!!! # M A G A # Tr u m ptr ai n # D o b bs # Tr u m p 2 0 2 0                             us es/ 1 1 4 3 5 0 2 1 5 2 9 5 6 0 7 1 9 3 6
                                                                                                                                                                        htt p://t witt er. c o m/ P a ul G ar ci a 4
                    @ ej e a n c arr oll If a c c usi n g Tr u m p of r a pi n g y o u is t h e o nl y w a y y o u c a n g et p u bli cit y t o s ell y o ur            3 2 1/st at us es/ 1 1 4 3 5 0 1 6 8 1 0 1 2 7
2 0 1 9- 0 6- 2 5   b o o k, y o u m ust b e o n e d es p er at e w o m a n. I pr e di ct v er y fl at b o o k s al es.                                                 76960

                    Tr u m p S a ys C ol u m nist W h o A c c us e d Hi m Of R a p e Is ‘ N ot M y T y p e’ htt ps://t. c o/ h E C ni 6 ol V 7 vi a                     htt p://t witt er. c o m/fli g ht h o g/st a
2 0 1 9- 0 6- 2 5   @ d ail y c all er T his is o n e cr a z y cr e e p y w o m a n                                                                                     t us es/ 1 1 4 3 5 0 0 7 8 3 0 8 3 7 6 5 7 6 0
                    @ ej e a n c arr oll F or C o o p er t o s h ut y o u d o w n, y o u m ust b e o n e cr a z y l a d y. Y o u ar e d a m n l u c k y t h at          htt p://t witt er. c o m/ P a ul G ar ci a 4
                    Tr u m p is pr esi d e nt, a n a v er a g e m a n w o ul d s u e y o u f or li b el a n d wi n bi g ti m e. Tr u m p h as a list a mil e            3 2 1/st at us es/ 1 1 4 3 5 0 0 5 3 9 5 4 5 5
2 0 1 9- 0 6- 2 5   l o n g of p e o pl e t o s u e. W ait u ntil aft er t h e el e cti o n.                                                                            67232
                    @J a c k P os o bi e c @ v oil ets ar e bl u e B er ni e is j ust as cr a z y as E J e a n C arr oll. T h e y b ot h h a v e s o m e v er y         htt p://t witt er. c o m/r a y w atts/st at
2 0 1 9- 0 6- 2 5   str a n g e t h o u g hts a b o ut r a p e.                                                                                                         us es/ 1 1 4 3 5 0 0 2 0 1 3 8 8 3 8 8 3 5 3

                                                                                                                                                                   htt p://t witt er. c o m/ U W or k 4It/st
2 0 1 9- 0 6- 2 5   T h e y b ot h b el o n g i n a l o o ni e bi n, y o u c a n s e e t h e cr a z y i n t h eir e y es. #tr u m p # C arr oll #J e a n C arr oll at us es/ 1 1 4 3 4 9 7 2 5 5 8 7 5 4 6 5 2 1 6
                    🇺🇺 🇺🇺 🇺🇺 is t his c u c k o o f or r e al? W e s h o ul d 'v e n e v er d o n e a w a y wit h m e nt al as yl u ms b e c a us e p e o pl e
                    li k e # EJ e a n C arr oll c o ul d us e t h e h el p . T h e w o m a n is b ats hit cr a z y ...d el usi o n al . Is t his w h at Li bs ar e htt p://t witt er. c o m/ eri k a 8 5 7 9/st
2 0 1 9- 0 6- 2 5   h a n gi n g t h eir h at o n t h es e d a ys ? ? ? ?                                                                                          at us es/ 1 1 4 3 4 9 3 9 8 8 9 4 4 6 2 5 6 6 4

                    @ A C 3 6 0 e x p os e d t his n utj o b # EJ e a n C arr oll f or w h at s h e r e all y is a b o ut. A cr a z y tr yi n g t o s ell b o o ks      htt p://t witt er. c o m/ b ert b o y d/st a
2 0 1 9- 0 6- 2 5   b as e d o n a li e a b o ut Tr u m p. H e h a d t o g o t o q ui c k br e a k c a us e h e e v e n g ot s c ar e d.                                t us es/ 1 1 4 3 4 9 1 7 0 0 7 7 5 6 7 3 8 5 6
                                                                                                                                                                        htt p://t witt er. c o m/ C al vi n R e ar d
                    @t h e br a df or dfil e @ S h ari K at 1 4 C a n w e... c a n w e cir c ul at e t his i nt er vi e w arti cl e s h e di d i n 2 0 1 5.             e n/st at us es/ 1 1 4 3 4 8 6 9 3 0 9 8 3 8 2
2 0 1 9- 0 6- 2 5   S h e’s b at-s hit cr a z y. R e a d t h at t hi n g. S h e’s s eri o usl y m e nt al. htt ps://t. c o/ g h Zj 6s 4t P W                            1312
              Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 42 of 67


Date          Post Text                                                                                                 URL
                                                                                                                        http://twitter.com/greenrotgut/
           @robbystarbuck @Hopes119 @CNN E Jean Carroll will not be the last either. There are a dozen                  statuses/11434792517080678
2019-06-25 more crazy women lined up to launch false accusations against Trump to sell a book or self promote.          40
           This ugly, liberal, leftist, delusional,opportunist @ejeancarroll is just trying to sell her book. This is
           like Christine Blasey Ford's accusation against Judge K. After Carroll banks her millions from her           https://twitter.com/CyrusVaug
           book sales, she will just disappear into the sunset like                                                     hn6/status/114352882758448
2019-06-25 https://twitter.com/FuctupMike/status/1143481859290087424                                                    3328
           The people who have accused Trump of assault are an odd sort. Jean Carroll is just publishing a book
           called, "What Do We Need Men For?" No doubt this will help sales. She may have lied as she does              http://twitter.com/Cotic/status
2019-06-25 not like Trump anyway and wants to harm him. Why not report earlier?                                         es/1143476268526161923
           @awzurcher The people who have accused Trump of assault are an odd sort. Jean Carroll is just
           publishing a book called, "What Do We Need Men For?" No doubt this will help sales. She may have             http://twitter.com/Cotic/status
2019-06-25 lied as she does not like Trump anyway and wants to harm him...                                              es/1143475664139501569
           @POTUS @realDonaldTrump @ejeancarroll \nThis chick needs to sell her latest book! So, she's                  http://twitter.com/monkeysgirl
           drummed up this story to get book sales & free advertising! 🤷🤷 \nIt's called, What Do We Need Men            351/statuses/11434647540837
2019-06-25 For? A Modest Proposal 🤬🤬 Call her out! https://t.co/MK6zo9dMSi                                              82657

           E Jean Carroll is crazy! Click the link to listen https://t.co/EwMRsqBzAf #TCNT                              http://twitter.com/JonJustice/st
2019-06-25 https://t.co/Xyoy7tiIqE                                                                                      atuses/1143445195943501831
           Yep, she doesn't want an investigation won't turn over her dress to check for Trump DNA. She is a
           joke wants to sell her book. @DanCrenshawTX @Theon_Orbis @n_silenced @realTT2024                             http://twitter.com/Garland643
           @EllaaaCruzzz @Pissyjo @Garland64341676. @SaraCarterDC @TatorBugGa @michellemalkin                           41676/statuses/114342387195
2019-06-25 @ejeancarroll                                                                                                1024128
                                                                                                                        http://twitter.com/NYStaceyIn
                                                                                                                        TX/statuses/11434004374224
2019-06-25 Welcome to Crazy Town. #JeanCarroll #FakeRapeAllegations                                                     07680
                                                                                                                        http://twitter.com/surly_viking
           Holy shit! This woman is batshit crazy and these ghouls are trotting her around the Democrat media           /statuses/11433918627509616
2019-06-25 shitshow just to feed their #TDS. #EJeanCarroll                                                              64
                                                                                                                        http://twitter.com/Sangria1992
           @almostjingo @ejeancarroll I’m telling ya, I’ve had this kind of chick visit my joint & lament the           /statuses/11433778064384573
2019-06-25 same way. She’s fecking high as a kite on adderol or something! Crazy nuts.                                  44
                                                                                                                        http://twitter.com/Wolverfan/s
                                                                                                                        tatuses/114337226007545856
2019-06-25 @ClaraJeffery @ejeancarroll No, it's because she is crazy and trying to sell a book.                         1

           @MSNBC @chrislhayes It's a BULLSHIT story! Not news but Fake News! E. Jean Carroll is nothing http://twitter.com/artman48/st
2019-06-25 but a book whore pushing a lie! https://t.co/6JbKin1S35                                       atuses/1143368672779677702

                                                                                                                        http://twitter.com/vonyalynn/st
2019-06-25 #EJeanCarroll \n\nOnce a Can O’ Crazy, always...                                                             atuses/1143357636202549248
                                                                                                                        http://twitter.com/FrankCouls
                                                                                                                        on7/statuses/11433555759856
2019-06-25    E. Jean Carroll is crazy. Her whole story is crazy.                                                       92672
                                                                                                                        http://twitter.com/FrankCouls
              So E. Jean Carroll is the media's darling since she is lying about Trump but she is so crazy it is biting on7/statuses/11433547692155
2019-06-25    them in their butts.                                                                                      04384
              This crazy BITC# kept a coat for 20 years and didn't clean it?? This is so laughable!! I hope her book http://twitter.com/mannablack/
              is a big FLOP! WATCH: Trump Accuser Won’t Agree to Let NYPD Investigate Her Dress for DNA statuses/11433544516479795
2019-06-25    Evidence When Asked By CNN - https://t.co/0XpSHAbkSA                                                      20
                                                                                                                        http://twitter.com/ESalvador2
                                                                                                                        1/statuses/1143353687093460
2019-06-25    @FuctupMike @SheriAWilkinson @ejeancarroll 🦇🦇🦇🦇 CRAZY                                                     994
              Why the Media is hated:\n\nPaula Jones: Not Credible\nKathleen Willey: Not Credible\nEileen
              Wellstone: Not Credible\nSandra Allen James: Not Credible\nJuanita Broadderick: Not
              Credible\n\nE. Jean Carroll: Highly Credible and shes not the least bit bat shit crazy. Her story must    http://twitter.com/C_3C_3/stat
2019-06-25    be heard.                                                                                                 uses/1143350917300981763
                                                                                                                        http://twitter.com/RealRichDo
                                                                                                                        uglas/statuses/1143349208251
2019-06-25    @kylegriffin1 Thoughts and Prayers on E. Jean Carroll being batshit crazy                                 957248
              Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 43 of 67


Date          Post Text                                                                                               URL
                                                                                                                      http://twitter.com/DarnelSugar
              The fact that the New York Times JUST published this grovelling apology a few hours ago for NOT foo/statuses/11433413397627
2019-06-25    featuring this crazy woman's claims more prominently, is just (chef's kiss)!\n\nhttps://t.co/oZYnkl13iv 78112
              @realDonaldTrump G20 coming, agenda agenda. Pls ignore E Jean Carroll nonsense - responding is http://twitter.com/j_jrohde/stat
2019-06-25    what the media wants. We have much work to do. @POTUS                                                   uses/1143341197039210498
                                                                                                                      @johncardillo
                                                                                                                      @leeleemunster They really
                                                                                                                      scraped the crevices at the
                                                                                                                      bottom of the barrel to find
              @johncardillo @leeleemunster They really scraped the crevices at the bottom of the barrel to find       incoherent, crazy eyes E. Jean
2019-06-25    incoherent, crazy eyes E. Jean Carroll.                                                                 Carroll.
              @MSNBC This is hilarious! No one believes this bullshit! E. Jean Carroll is nothing but a book
              whore using a undocumented "LIE" to sell her crappy, irrelevant trash filled pamphlet to a bunch of
              dumbass Progressive morons! File this book under "Fictitious Bullshit" at Barnes & Noble!               http://twitter.com/artman48/st
2019-06-25    https://t.co/YDXjmnfVk7                                                                                 atuses/1143329355805990913
                                                                                                                      http://twitter.com/RealRichDo
              @Elise_Jordan #Thoughtsandprayers on E. Jean Carroll being batshit crazy. I know you thought you uglas/statuses/1143324083674
2019-06-25    finally got him.                                                                                        734592
              This trashy claim is nothing more than a publicity stunt to sell her book. I doubt if she ever met      http://twitter.com/RavenHawk
              President Trump anywhere. And I certainly am not believing he raped her. She seems to blame her         4/statuses/1143305529365635
2019-06-24    promisicous ways on a LOT of men!\n\nhttps://t.co/dtW3BGYh6V                                            072
              Elizabeth Jean Carroll would have been in her 50s in the mid 90s, 2 or 3 years older than Trump.        http://twitter.com/BBCPropag
              Trump goes for young models and had just married and had a kid. She has a book coming out next          anda/statuses/1143296893897
2019-06-24    week that she wants to sell. It never happened. https://t.co/tSoXKFtrwO                                 908225
              @BillOReilly,@newsmax,@OANN \nYou bet Jean Carroll won't let NYPD investigate because the               http://twitter.com/domedog31
              whole story is another complete lie by the Democrat dirty tricks squad. Give it up already. Everyone    1/statuses/1143279637432348
2019-06-24    not a far left crazy is wise to this gambit.                                                            674
              @soychicka @ejeancarroll @TheLastWord @Lawrence @realDonaldTrump Typical #Dem glory
              seeker who should be prosecuted for lying.She doesn't want to file a report because she then could be http://twitter.com/bullitt4248/s
              charged and sued.More #Dem BS to try and sell her book. Anyone falsely accused should have the          tatuses/114327657044815872
2019-06-24    right to sue the accuser and the media ! = Money #EpstienClinton                                        2
              @DonaldJTrumpJr,@JudgeJeanine \nYou bet Jean Carroll won't let NYPD investigate because the             http://twitter.com/domedog31
              whole story is another complete lie by the Democrat dirty tricks squad. Give it up already. Everyone    1/statuses/1143275342733426
2019-06-24    not a far left crazy is wise to this gambit.                                                            691
                                                                                                                      http://twitter.com/GraceStreng
                                                                                                                      th/statuses/114326939103701
2019-06-24    Ummm....Interesting? Was she being sarcastic or is she just crazy? @ejeancarroll                        8112
                                                                                                                      http://twitter.com/itsbillertime
                                                                                                                      1/statuses/1143256708610961
2019-06-24    Yes, and E Jean Carroll is batshit crazy too.                                                           417
                                                                                                                      http://twitter.com/aews/statuse
2019-06-24    She’s not a good person and has targeted Trump to sell her book imho https://t.co/tpIc4fsP6W            s/1143256217873211392

                                                                                                                        http://twitter.com/oracle_ed/st
2019-06-24 @BAXT3R_ @ChatByCC @ejeancarroll Definitely crazy as a loon..                                                atuses/1143247415849472000
           @ejeancarroll you and your kind should be jailed. you're constantly and unabashedly undermining us,
           real victims with your despicable operations for a couple of bucks and 15 minutes of fame for pushing http://twitter.com/IttMinek/sta
2019-06-24 your political agenda.                                                                                       tuses/1143221872206721026
           Serious question @Alyssa_Milano when another woman that accuses President Trump of sexual                    http://twitter.com/bettyboop74
           assault is found to have completely fabricated the incident so she can sell her book-would you then be 99/statuses/114321878436437
2019-06-24 deterred from taking advantage of ones illness? @ejeancarroll obviously is not well!                         1970
           @MattWalshBlog E Jean Carroll is a freaking nut job. She's using this whole thing as a way to boost http://twitter.com/skydancerrc/
           her status and probably sell a new book. I mean Donald Trump as been around for a long time why              statuses/11432162905863413
2019-06-24 would she wait till now to say anything about this? Seems very fishy.                                        77
           @brianstelter @NewDay In her interview, Jean Carroll sounded like a loon. She was animated telling http://twitter.com/Tristanlogan
           her story like she was telling a joke. Nothing but a fake story. She is a controversial crazy type           T/statuses/114321574580084
2019-06-24 woman who has made stories up before for laughs and wants to sell a book.                                    3265
           @mullymt @ScottBu40901045 @SethAMandel @DavidAFrench Are we not talking about E Jean
           Carroll? Let’s just stick to the person at hand. She’s lying. If this happened to her, you don’t try to sell
           a book and use the accusation as a marketing tool. Press charges. Enter it into a court and adjudicate http://twitter.com/meluvjojo/st
2019-06-24 it. No excuses.                                                                                              atuses/1143203809751109634
              Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 44 of 67


Date       Post Text                                                                                                    URL
           @JoanMBrenner1 @Mimirocah1 @gtconway3d In her interview, Jean Carroll sounded like a loon.
           She was animated telling her story like she was telling a joke. No wonder none of the other networks        http://twitter.com/Tristanlogan
           have reported on this fake story. She is a controversial crazy type woman who has made stories up           T/statuses/114319305923405
2019-06-24 before for laughs.                                                                                          8242
                                                                                                                       http://twitter.com/teddytwothi
           @thehill Jean Carroll is seeking publicity to sell her book! It is disgusting!! Maybe she should hire       nks/statuses/11431751397327
2019-06-24 Michael Avenatti?                                                                                           99489
           This crazy lady Jean Carroll she's acting psychotic.. and she be yelling @alison she don't look             http://twitter.com/Jacquelineb
           credible as she's yelling.. I hate Trump but I can't believe this lady I have to give this one to Trump for une3/statuses/1143127246699
2019-06-24 real and I'm a Democrat                                                                                     413505
           As much as I cannot stand Donald Trump I'm sorry but don't believe her. Is Lady Jean Carroll seems http://twitter.com/Jacquelineb
           to be some kind of crackpot. I think she's just trying to sell her book as messed up as it is.she doesn't une3/statuses/1143126368911
2019-06-24 look Donald Trump's type&im 100% Democrat I think she's lying                                               351809

           @LevineJonathan @Lawrence Jean Carroll's book publisher probably told her to ramp up the crazy               http://twitter.com/Changuili/st
2019-06-24 talk to stay in the news cycle, and the #FakeNews media is happy to oblige.\n#FakeRape                       atuses/1143087820313169920
           Not that this bitter, ego maniac slob has an agenda or anything:)...George Conway: Republicans Who           http://twitter.com/TroyFauber/
           Believed Juanita Broaddrick Should Believe E. Jean Carroll's Assault Accusations Against Trump               statuses/11429963597604945
2019-06-24 https://t.co/oZ0jQytNiP                                                                                      94
           "Trump raped me" quite possibly the most pathetic way to try and boost book sales. \n\nI'm sure it's
           just a coincidence and we should totally believe her story.                                                  http://twitter.com/phdroxo/stat
2019-06-24 \n\n#hereWeGoAgain\n\n#HailMarysForPoliticsAndBooksales\n\n#EJeanCarroll                                     uses/1142976000856170496
                                                                                                                        http://twitter.com/Catrina2535
              @ByronYork Nothing is sticking to bring down Trump. If they see it sticks. They will beat it too          0514/statuses/1142942781561
2019-06-23    death. Noticed many were shocked no one gave a crap about Crazy E Jean Carroll.                           888775
              @vonyalynn @SiberiaCat3 @metoopt @ejeancarroll Vonya lol, she's just another crazy cat lady that's http://twitter.com/dunRanken/
              clinging to anything she can; it's what you come to expect from some middle-aged hag whose ovaries statuses/11429333937236254
2019-06-23    have shriveled up. https://t.co/T3C8QX7akF                                                                72
              @nataliearango08 @clintsessentia1 @Brett_RIP21 @BillClintonTHOF @Alyssa_Milano Yeah it
              speaks volumes the #EJeanCarroll comes out decades later to accuse @realDonaldTrump, to boost the http://twitter.com/NancyCrand
              sales of her new anti-men book. She's written Tweets trying recruit women to accuse Trump. So yeah, all3/statuses/11429207055557
2019-06-23    ZERO CREDIBILITY! https://t.co/QTN2GdALx1                                                                 50912
              @DestiGrace1 @STEPHMHAMILL @realDonaldTrump E. Jean Carroll is a washed up sitcom
              writer that has now wrote a “tell all” book she’s trying to pedal as truth. The motivation is clear. Book http://twitter.com/Ne_Cs_Seye
              sales! The only place this fictional story happened is in her crazy mind! Sale that 💩💩 somewhere else r/statuses/1142911105620201
2019-06-23    @ejeancarroll!                                                                                            485
                                                                                                                        http://twitter.com/MichaelDau
              @GirlMom2x @Rockprincess818 @Studpardee @ejeancarroll Ms Carroll's spanking new book is                   del/statuses/11428882448638
2019-06-23    titled "WHAT DO WE NEED MEN FOR?"\n\nAllegations of rape to increase book sales, apparently 36160
              #EJeanCarroll is a mentally ill creep who is publicly LARPing her rape fantasies to sell books, get       http://twitter.com/eclectelectri
              attention and support the subversive, obstructionist Democrat agenda.\n\nShe has many tweets like         c/statuses/1142854571120660
2019-06-23    this one from 2011:                                                                                       480
                                                                                                                        http://twitter.com/CarmenCha
                                                                                                                        mbers/statuses/114284374158
2019-06-23    Crazy hag https://t.co/7VYadC49X1                                                                         7345408

                                                                                                                        http://twitter.com/JAC0403/st
2019-06-23 Dedication to @ejeancarroll :\nMadonna - Crazy (Lyrics) https://t.co/wVPbs8n86t via @YouTube                 atuses/1142833388421885957
           @johncardillo How could E. Jean Carroll be expected to talk about that story in 1995?\n\nShe only            http://twitter.com/MarylkaMP/
           made it up recently to sell her book.\n\nI heard her on @NPR this morning & she sounded                      statuses/11428309974419578
2019-06-23 unbelievable.                                                                                                88
           Has E. Jean Carroll set up a GoFundMe account? Or is she counting on cashing in with sales of her            http://twitter.com/DineshDSou
           new book? I guess we can expect her to make the media rounds and then vanish like Susan Blasey               za/statuses/114281159170192
2019-06-23 Ford. This is the predictable profile of the left-wing smear #FakeAccusation                                 5891
                                                                                                                        http://twitter.com/eclectelectri
           #EJeanCarroll is a revolting person who is LARPing her rape fantasies to sell books and serve the            c/statuses/1142802553752522
2019-06-23 Democrat agenda:                                                                                             752

           @chrislhayes E. Jean Carroll's "story" is only news b/c it fits U'r TRUMPHATE narrative. Did she   http://twitter.com/FCakaGMa
           file a police report when it allegedly occurred in the '90's? How bout '00's? How bout '10's? NOO! n/statuses/1142765185788186
2019-06-23 30yrs later ahead of a RE-ELECTION campaign, she has Total Recall? YES! BOTH of U r #CRAZY 624
             Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 45 of 67


Date         Post Text                                                                                                  URL
             @STEPHMHAMILL @realDonaldTrump I say she is crazy PHUCK! She was going to make DJT
             put a piece of women’s lengiere on over is pants? How tall is TRUMP and what was the size of the           http://twitter.com/DestiGrace1
             garment she was going to have him try on? Sorry Ms. @ejeancarroll but you ought get a head check!          /statuses/11427647353954836
2019-06-23   @NYCMayor @Bergdorfs #JeanCarroll                                                                          48
             I agree, but I still don't believe E.Jean Carroll's story. I feel she's revising a short-lived affair to   http://twitter.com/indiecratubli
             capitalize on the pain of other women and sell her book. She didn't even stand in solidarity with them     c1/statuses/114275303888673
2019-06-23   when they first started speaking out against Trump.                                                        5873
             @ejeancarroll @emilynussbaum Hilarious!\n\nLooks like you conned at least one nimrod into buying
             your book.\n\nNow where have I seen this formula before?\n\nElection + accusation = book                   http://twitter.com/352Fedup/st
2019-06-23   sales\n\nHmmmm.....\n\n#KavanaughConfirmed \n#LiberalismIsAMentalDisorder                                  atuses/1142632653784592389
             @SaraCarterDC @POTUS LOL...!\nJean Carroll: "I've got to sell this book, sooooo...? How can I do
             that?"\nBright idea..!\nJean Carroll: "I know what to do. Blame Trump for something sooooo long            http://twitter.com/Cw_Brother
             ago, that it's his word against mine."\nIf the publisher was smart, she gets NO money until the book       ton/statuses/11426242932113
2019-06-23   sales.                                                                                                     20320
             @Jali_Cat @DoingRight1 @ejeancarroll @POTUS Post on the original tweet. I did. There is a huge
             crowd praising her over there with all the PoundMeToo hashers and all. She’s a fraud that is trying to     http://twitter.com/UFJohn/stat
2019-06-23   sell her book. https://t.co/U0efjYJa7R                                                                     uses/1142609883369545728
                                                                                                                        http://twitter.com/yFgHpX3k
           @SaraCarterDC @POTUS Do you really think we believe you E Jean Carroll? Not getting enough                   mRbjSux/statuses/114259952
2019-06-23 book sales?? Stop the stupidity already. You look ridiculous.                                                4327874562
           How to sink your credibility with crazy:\n#EJeanCarroll: suing @realDonaldTrump would be                     http://twitter.com/michael_jaff
           “disrespectful to the women who are down on the border who are being raped around the clock down             e/statuses/1142577046134153
2019-06-22 there without any protection.”\nSure.\nIt might also be a false claim.\nhttps://t.co/BM90rzoqor              216
           @missmayn This lady is crazy.\nMSNBC HOST : Would you consider bringing a rape charge against
           Donald Trump?" \nE. JEAN CARROLL: : NO \nMSNBC HOST : Why ? \nE. JEAN CARROLL: I                             http://twitter.com/_dolemite_/
           find it disrespectful to the women who are down on the border who are being raped around the clock           statuses/11425684407058022
2019-06-22 ... \nEVERYONE: Huh?                                                                                         41
           @Alyssa_Milano Teach your daughters & all women to bring timely criminal charges
           @Alyssa_Milano Go to the police, not journalists. Not twitter. Not @HillaryClinton’s law firm 😹😹.        http://twitter.com/TraceyLee
           Until she does, @ejeancarroll lacks credibility, like the crazy, lie-detector practicing partisan joke   Writes/statuses/11425645100
2019-06-22 before her.                                                                                              59905025
                                                                                                                    http://twitter.com/VtSalesguy/
             @ejeancarroll Hey.. Hows are the book sales doing on the back of Donald Trump.. Waited 23 years        statuses/11425510743956111
2019-06-22   amd now that he is PRESIDENT, you pull out the lie to sell your book! You Skank!                       37
             @ShelbyTalcott @DailyCaller @ejeancarroll @realDonaldTrump Of course she won't bring rape              http://twitter.com/InvesTigator
             charges, the reason being she knows it never happened and she's making the whole thing up to sell her 17/statuses/114251180782903
2019-06-22   book and to feed Leftist agenda.                                                                       2960
             @ShelbyTalcott @DailyCaller @ejeancarroll @realDonaldTrump She reminds me of my "crazy old http://twitter.com/JOelschlegel
             aunt" .. unstable & delusional with a pinch of demented, a dash of deranged, and a smidgeon of         /statuses/11425113904664862
2019-06-22   unhinged                                                                                               73
             @STEPHMHAMILL Why didn't E. Jean Carroll bring rape charges against Trump when the alleged http://twitter.com/HelenTuttle/
             incident happened? Perhaps because it DIDN'T HAPPEN? She's trying to sell her book and also            statuses/11425028263016325
2019-06-22   trying to destroy @realDonaldTrump. He should sue her for defamation.                                  12
             @Slate Trump's right. She kept the coat for 1/4 century but she doesn't remember the year. She doesn't http://twitter.com/BrendaVituc
             want to file charges because women on our border are being raped all day. She had this on her          ci/statuses/114250163663767
2019-06-22   timeline:\nhttps://t.co/cPbm9BADCb\nThe women is an off the wall con trying to sell a book.            5527
                                                                                                                    http://twitter.com/NCDFS/stat
2019-06-22   @ejeancarroll #Nutjob! Crazy!                                                                          uses/1142498857500184577
             @ejeancarroll You and Pres. Trump? You can't be serious. He wouldn't have even looked at you
             twice. Looks like your social security check is in need of supplemental income and this was your way http://twitter.com/doptule/stat
2019-06-22   of creating excitement/controversy to pump sales for your new book. Pathetic.                          uses/1142498139905187840
             @ShelbyTalcott @DailyCaller @ejeancarroll @realDonaldTrump She’s not going to bring charges            http://twitter.com/ScottLHarri
             against Trump because it never happened. She only looking for 3 things: Publicly for her book, $$$,    s1/statuses/114249316188689
2019-06-22   & some political agenda.!..                                                                            2032
                                                                                                                    http://twitter.com/jameydesign
                                                                                                                    er/statuses/114249078991164
2019-06-22   @ejeancarroll you are a lying bitch!                                                                   2112
             Jean Carroll, like most losers, Queen Hillary, Michelle, Stormy, criminal acts then promote book of    http://twitter.com/FritzMiniRa
             self praise. Hope her Fake News fizzles out like dead fire cracker, no sales on her book & unable to nch/statuses/11424841366088
2019-06-22   give them away. Women fading youth seeking attention. Sickening🔥🔥🔥🔥🔥🔥                                  82689
              Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 46 of 67


Date         Post Text                                                                                           URL
                                                                                                                 http://twitter.com/bigeasyDA
             @Patrici15767099 She is a crazy, Liberal activist that tweeted back in 2018 the #Resistance won't   YTONA/statuses/1142468702
2019-06-22   win if they keep using "traditional" methods.\nhttps://t.co/7MPOgiT43e                              962667520
                                                                                                                 http://twitter.com/MSMInsider
             @Nicole_Cliffe @ejeancarroll Don't hold too tightly. I assume you haven't heard any of her          /statuses/11424584678123520
2019-06-22   interviews. She is certifiably crazy. https://t.co/tmzdVs6sLZ                                       00
                                                                                                                 http://twitter.com/sgtbetsysmit
                                                                                                                 h/statuses/1142438980832546
2019-06-22   E. Jean Carroll just went from some old has-been trying to sell a book to full blown CRAZY.         823
             @MollyJongFast @ejeancarroll she is crazy go look at her facebook page asking people what their     http://twitter.com/Raywhittake
             porn star name would be she is working with dems likd what happen in 2016 trump is a billionaire he r8/statuses/114242393734477
2019-06-22   would be in a dept store he has people for that                                                     8241
                                                                                                                 http://twitter.com/RonThibode
             This is for Jean Carroll good luck dummy. \nAnything for attention and book sales. I pray you get   aux1/statuses/1142420761895
2019-06-22   your Ass sued.                                                                                      985158
                                                                                                                 http://twitter.com/FlyFisher_A
             @AnnieAsheFields In other words, she's lying to try and sell her stupid book. @ejeancarroll \nTrump KY/statuses/11424167968149
2019-06-22   should sue her, might wind up like Stormy Daniels.                                                  13536

                                                                                                                     http://twitter.com/vonyalynn/st
2019-06-22 @ejeancarroll is a big can o’ crazy.                                                                      atuses/1142416615771783168
           TRUMP worth BILLION$ can get "ANY WOMAN" & he attacks her? the ONLY man that would
           want this "SKINNY SKANK" is an "ILLEGAL IMMIGRANT". another "LOSER" looking to "SELL                      http://twitter.com/MICHAELT
           HER BOOK FOR THE MONEY"⚡             ️“Writer E. Jean Carroll alleges Trump raped her in the              LUCIAN1/statuses/11424107
2019-06-22 1990s”\n\nhttps://t.co/eYebIwG9Ji                                                                         85550938112
           another WASHED UP LOSER using TRUMP to sell her book. after 23 yrs NOW SHE TALKS why
           didnt she talk WHEN TRUMP WAS RUNNING 4 PRESIDENT? i guess HER BOOK wasnt finished                        http://twitter.com/MICHAELT
           TOTAL LOSER!NEEDS MONEY⚡             ️“Writer E. Jean Carroll alleges Trump raped her in the              LUCIAN1/statuses/11424070
2019-06-22 1990s”\n\nhttps://t.co/eYebIwG9Ji                                                                         02196500481
           @Alyssa_Milano HOW has this @ejeancarroll had SIX RAPE EXPERIENCES??? Six??? Anyone
           believe ths??\n\nShe claims @realDonaldTrump and five other men are ‘hideous men’ for what they           http://twitter.com/Cully_Iam/s
           did to her. ?\n\nIs she a whore?? Paid escort?? Porn performer?? What women has SIX alleged               tatuses/114239560726234726
2019-06-22 experiences like that??                                                                                   4
                                                                                                                     http://twitter.com/kismets_pa
           @kilomikealpha76 Dis you read the except?? She also accuses Ailes, Lauer, Hunter S Thompson, to           wn/statuses/11423662264352
2019-06-22 name a few. And she writes like a batshit crazy person! https://t.co/J617MN2fGJ                           84992
           @PolitiBunny @ByronYork @PubOperator Dis you read her story?? She also accuses Ailes, Lauer,              http://twitter.com/kismets_pa
           Hunter S Thompson, to name a few. And she writes like a batshit crazy person!                             wn/statuses/11423639835354
2019-06-22 https://t.co/J617MN2fGJ                                                                                   56256
           # \nWTF \n Don't Believe\nTrying to sell a Book lol\nPOTUS only dated the \nPrettiest
           girls\n\nBOOTYZOU UPLOADS. \n\nE. Jean Carroll alleges in New York Magazine that Trump
           sexually assaulted her in a Bergdorf Goodman dressing room in the mid '90s.                               http://twitter.com/bootyzou/sta
2019-06-22 https://t.co/nVkgPPKcch via @HuffPostPol                                                                  tuses/1142362143905472512
           @ejeancarroll You may think that your media announcement about #45 rape made you look good but            http://twitter.com/learnlovelig
           you sound like a selfish, fool with distorted thinking! I hope your book is boycotted & zero sales!       ht/statuses/114235055951048
2019-06-22 4women's safety                                                                                           2944
           @DavidAFrench Well, here's the accuser, in all her shining glory. Kinda tough to take seriously,          http://twitter.com/kismets_pa
           especially considering she also accuses Roger Ailes, Les Moonves, Hunter S Thompson, Matt Lauer,          wn/statuses/11423495324594
2019-06-22 etc, not to mention she writes like a batshit crazy person. But, sure...🙄🙄\nhttps://t.co/J617MN2fGJ       38081
           E. Jean Carroll says Trump raped her in the 90s. She is a Bernie supporter, pro-abortion, has a new       http://twitter.com/Alynn7513/
           book coming out and is crazy as hell..... now that Stormy had all her suits thrown out they have to try   statuses/11423278567369318
2019-06-22 something else. https://t.co/SC1gvmnOfJ                                                                   40
                                                                                                                     http://twitter.com/GeorgeM48
           @ejeancarroll Imagine that and you have a new book coming out. How fucking stupid do you think            244162/statuses/11423164071
2019-06-22 we are you lying bitch                                                                                    21534980
                                                                                                                     http://twitter.com/bigeasyDA
                                                                                                                     YTONA/statuses/1142316270
2019-06-22 @jjauthor She is also a wacky, batshit, crazy, Liberal activist...\nhttps://t.co/7MPOgiT43e               152495104
                                                                                                                     http://twitter.com/bigeasyDA
           @MarkDice This is the crazy, old Liberal activist that claims Trump assaulted her in a department         YTONA/statuses/1142307137
2019-06-22 store when she was 52 yes old.\nhttps://t.co/7MPOgiT43e                                                   537892357
             Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 47 of 67


Date         Post Text                                                                                              URL
                                                                                                                    http://twitter.com/lalauraru777
           Another E Jean Carroll “story”. Even those this is crazy, yet humorous, the narcissism of the tale of    /statuses/11422965552376258
2019-06-22 every man being as mad for her as she was for them seems to be recurring theme...and men with $$$        57
           @davidfrum @NYMag Who would believe a lying loser like E. Jean Carroll who is desperate to sell a
           book and make some money like Blazey Ford or whatever her name was. Dems are sooo dumb —she http://twitter.com/JacueQ/statu
2019-06-22 can make Million $ on Go Fund Me!                                                                        ses/1142293102679351296
                                                                                                                    http://twitter.com/SaveTheseD
           @ejeancarroll Actually the most dangerous woman is an attention wh0r3 with a Marxist agenda. Like ogs/statuses/11422902082574
2019-06-22 Mommy Dearest...https://t.co/QoyzKyra7r                                                                  49985
                                                                                                                    http://twitter.com/BrianEvans
           Is it just a coincidence that E. Jean Carroll's crazy allegation from over 20 years ago just happens to  Says/statuses/1142288721347
2019-06-22 coincide with her releasing and trying to sell a book?\n\nIs anyone really this gullible?                141635
                                                                                                                    http://twitter.com/eugenedelga
                                                                                                                    udio/statuses/1142285896781
2019-06-22 E. jean Carroll is crazy                                                                                 316096
                                                                                                                    http://twitter.com/PanchoVilos
           Trump responds to accusation of '90s sexual assault @CNNPolitics https://t.co/pLKri9Prg1.                /statuses/11422702284300861
2019-06-22 Disgusting for a lying leftist to make false accusations to sell her pitiful book.                       44
           e. jean carroll is just trying to sell books. Just because someone says something with no proof after so http://twitter.com/zeus654/stat
2019-06-22 long means they have an agenda. And for this lying liberal, the agenda is to sell books!                 uses/1142268556299710464
           Longtime advice columnist E. Jean Carroll accuses Trump of sexual assault
           ⁦@realDonaldTrump⁩\nhttps://t.co/bpi8wYkPY1\nRead what she says .. it doesn’t even make                  http://twitter.com/LindaHogan
           sense .. sounds like a snippet from shades of gray .. desperate to sell her book . Someone put her up to /statuses/11422623130738319
2019-06-22 it                                                                                                       36
           I can’t believe this phony channel MSNBC hosting a pure liar by the name of Jean Carroll accusing
           Trump of sexually assaulting her some 30 years ago just to sell her book.\nDo these women have any http://twitter.com/samhaw3/st
2019-06-22 shame? \nThe... https://t.co/lJ0hi5EHOI                                                                  atuses/1142260033864044544
           Longtime advice columnist E. Jean Carroll accuses Trump of sexual assault in 1990s \nYOU                 http://twitter.com/Jules_2010/
           PEOPLE ARE CRAZY!!!! QHO??? WHAT?!?!?! I CAN NOT EVEN IMAGNE??!?!!?!? THIS IS                            statuses/11422588698943528
2019-06-22 PURE BS!!! \nhttps://t.co/2Wv4WLbXcB #FoxNews                                                            96
                                                                                                                    http://twitter.com/SparkEmera
           @realhublife @ejeancarroll This woman is probably the most unfuckable woman on Trump's list              ld/statuses/114225418041496
2019-06-22 hoarder dirty ugly lazy crazy                                                                            3714

           @Laurenbh @MollyJongFast @ejeancarroll or perhaps untrue, unsubstantiated, unverified, not             http://twitter.com/Dee54181/st
2019-06-22 proven, lacking a shred of evidence, self serving(book sales and all).....🙄🙄                           atuses/1142243256543174656
           @robprather @chrislhayes I said she was crazy yes, after researching her. She has a book coming out    http://twitter.com/SamanthaE
           next month.\n\nDo you think if someone raped you, you would tweet things like this?                    m10/statuses/1142242740475
2019-06-22 \n\nhttps://t.co/nfxUodDYMC                                                                            817985
                                                                                                                  http://twitter.com/Robbie_Ma
                                                                                                                  c/statuses/1142240575703244
2019-06-22   @ejeancarroll Yeah. Its clear you are batshit crazy.                                                 800
                                                                                                                  http://twitter.com/Carol38553/
             @Jali_Cat @ejeancarroll @POTUS Any lie to sell a book no matter who it might hurt..I hope that       statuses/11422368021174927
2019-06-22   Trump files a suit against her.                                                                      36
             @Jali_Cat @ejeancarroll @POTUS Real victims WILL continue to be dismissed because of                 http://twitter.com/katieadams0
             Swetnick-types that come out of the woodwork 20+ years later with crazy allegations with NO          521/statuses/11422360014206
2019-06-22   evidence, no timeframe a book to sell or a President to smear. Come on ladies.                       19777
                                                                                                                  http://twitter.com/SamanthaE
             @chrislhayes She shouldn’t be covered, she is crazy and a Trump hater, research her.                 m10/statuses/1142234216819
2019-06-22   \n\nhttps://t.co/EQ2tRGK4NT                                                                          593216
             "E. Jean Carroll" Using Trump to sell her book is disgusting. Just b/c she stood next to Trump       http://twitter.com/jerneganarti
             doesn't mean he knew her, or even seen her outside of whatever that event was. There must b millions st/statuses/114222539838351
2019-06-22   of people who've asked their pix taken next to him, lol.                                             7696
             If unhinged liberals would go look at E Jean Carroll's social media accounts after reading her fairy http://twitter.com/NWOinPani
             tale rape story (to sell her new book) they would realize that they are being conned AGAIN.\n\nBut   cMode/statuses/11422241361
2019-06-22   they won't. They revel in being world class suckers.                                                 95977216
             This woman is a dirty, rotten, stinking, filthy, lying whore who hates men and despises Trump...
             Trump on E. Jean Carroll rape allegation: 'I've never met this person in my life':                   http://twitter.com/typonow/sta
2019-06-22   https://t.co/enp7E1jqOc via @AOL                                                                     tuses/1142223658523512832
             Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 48 of 67


Date         Post Text                                                                                                  URL
             “Shame on those who make up false stories of assault to try to get publicity for themselves, or sell a
             book, or carry out a political agenda,”-Trump. E. Jean Carroll accussing Trump of rape in 1990 in          http://twitter.com/floccinaucin
             ritzy department store, as bad as Kavanaugh's accuser!😡😡 What a Dork Fish!                                 i1/statuses/114219668914881
2019-06-21   https://t.co/GIpMRxhfPp                                                                                    3313
             Another crazy one trying to be relevant. These people should go to jail for daring to accuse people. As http://twitter.com/delaruefrede
             if Carroll was his style vs. Melania! LOL. Talk show host E. Jean Carroll says Trump raped her in the ric/statuses/114219623338292
2019-06-21   1990s https://t.co/fY5zk4I7Ih https://t.co/uiDWO0riGx                                                      8384
             @ejeancarroll says @realDonaldTrump attacked her in the 90’s. She didn’t report it, she’s writing a http://twitter.com/firethornran
             book, etc blah, blah! “Same song same verse a little louder a little worse!” Another person using the ch/statuses/114219418885289
2019-06-21   #FalseMedia for publicity and a way to sell her book for $. #BadFiction                                    5746
             @JamilSmith Was E. Jean Carroll in the writing business or something else.. all the drama with “Rich
             boys” & as usual the feminist play of whining “poor us” - too much of this crap..\nJean, don’t play        http://twitter.com/solkumar/sta
2019-06-21   these games to boost book sales..                                                                          tuses/1142187304112533506
                                                                                                                        http://twitter.com/StandWithA
             @ByronYork TOTAL COINCIDENCE she has a book to sell. HOW DARE anyone question her                          Z/statuses/1142187001925570
2019-06-21   motives. Women NEVER, EVER LIE about rape!!! #TawanaBrawley #EJeanCarroll                                  561
             @NYMag Was E. Jean Carroll in the writing business or something else.. all the drama with “Rich
             boys” & as usual the feminist play of whining “poor us” - too much of this crap..\nJean, you have          http://twitter.com/solkumar/sta
2019-06-21   lived this long & I am sure you will be just fine. Don’t play these games to boost book sales              tuses/1142186535430828032
             @ejeancarroll Liar, Liar. You are a disgusting person. Women like you are the reason people hesitate http://twitter.com/RunnerMo2
             to believe women who are truly sexually assaulted. You are psychological messed up to lie about            4/statuses/1142182659071860
2019-06-21   something like this to draw sales for your book because you're unknown by most. Seek help.                 737
             This crazy woman says an 8 yr old raped her when she was 7? With a stick a rock she don’t know?            http://twitter.com/lazyzimms/s
             His name was James. Now she accuses Trump of raping her 23 years ago! #TheThingsWomenSay An tatuses/114217817179577139
2019-06-21   Excerpt from E. Jean Carroll’s ‘What Do We Need Men For?’ https://t.co/e9N2S0xJ56                          3
             @ejeancarroll #NYC #FakeNews career liar does her part this campaign season to trash Trump while
             flogging her vagina monologue, "What Do We Need Men For?" Says after Trump raped her "never                http://twitter.com/jmr_voice/st
2019-06-21   had sex with anybody again" (except presumably herself), i.e. became another kind of whore.                atuses/1142173531339448322
             @Chalkarts @PopCultRainman @PepinLachance @NYMag @ejeancarroll Yeah, she doesn’t have                      http://twitter.com/ninja_subur
             anything to gain - except BOOK SALES.\n\nNow that #Russia is over let’s get back to #MeToo                 ban/statuses/11421684346057
2019-06-21   .\n\nThe “Cult” sees thru this shit at this point. She’s doing a disservice to real victims.               31841
                                                                                                                        http://twitter.com/smokeater82
             @AnandWrites @ejeancarroll @realDonaldTrump Seems like your a gold digging whore with all the /statuses/11421593552125173
2019-06-21   rich boys.                                                                                                 76
             https://t.co/EdsgezJ5KL\n\nSo E. Jean Carroll, who lives in a log cabin in the woods and appears to        http://twitter.com/westwillbb/s
             be a b*t shit crazy hoarder in this video expects us to believe this preposterous fairy tale of a story.   tatuses/114215253260679987
2019-06-21   Can we get the forest rangers to do a wellness check on this loon?                                         2
             @TwitterMoments How convenient🙄🙄. If it’s true then you allowed this “dangerous” man to get
             away with it. Like 90% of #metoo you were complicit and too cowardly to go to the police. Oh and http://twitter.com/t_spilled/sta
2019-06-21   by the way - you are a duplicitous agenda driven liar. 😂😂😂😂 E Jean Carroll                                 tuses/1142146981541941248
             First: I want to see a picture of her 20 years ago. I'm sure she didn't age well, but I'm also certain she http://twitter.com/ElGuapo121
             didn't look much different. \n\nSecond: That being said, POTUS has never been that                         21/statuses/114214079901202
2019-06-21   desperate.\n\nLastly: Do a stormy, Crazy! It'll cost ya!\n\nhttps://t.co/SXE3rIsFla                        4322
               Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 49 of 67


URL                             Post                                                                                                             Date
https://www.facebook.com/EJean
Carroll/posts/pfbid0DkAHvC5ZR
moB1NX8z2SMNf3jrX5r3sEwpu Hi carroll how much does the witch pelosi pay you to slander donald? Why didn't you sue Donald 25 years ago?
GANWoq2FtxmYGquTUwQNjG Because maybe that never happened and you're lying?
QdpyVoiLl?comment_id=785582 Also, your friends say that you can't even remember what happened 25 years ago because you have mild
812675357                       dementia! Give the Judas pieces of silver back to Pelosi and let it be!                                            10/5/2022
https://www.facebook.com/kevin.
sessums.7/posts/pfbid02qdNpZD
ATwBAp7Dv19SNN39V8koXrH
CJ5wWCWQmGaPDimfZt23YTs
Es2YDmX83ds2l?comment_id=6
18838186490829                  I see your book will be considered fiction. It won't sell but I'm sure you can live off your pay off               9/21/2022
https://www.facebook.com/cath.k
estler/posts/pfbid01KGJb9S9RNj
Dghx1ynVB3RYqGaX5xKKKTz
xvDqjU2yjvKDkVyitWW44GiZu
cCf8Fl?comment_id=7673183077
54580&reply_comment_id=34207 Sharon Williams because he's not dignifying such an utterly ridiculous accusation. You ARE dumb, but you don't
3311429717                      seriously think Trump got within 10' of that sea hag, do you?                                                      9/28/2022
https://www.facebook.com/cath.k
estler/posts/pfbid01KGJb9S9RNj
Dghx1ynVB3RYqGaX5xKKKTz
xvDqjU2yjvKDkVyitWW44GiZu
cCf8Fl?comment_id=6022191480
64515                           Who's paying you off?                                                                                              9/20/2022
https://www.facebook.com/EJean
Carroll/posts/pfbid0Z92PNSD7nz
JPuCRskqNmTFU8mKjCZWiizu
ACxtsuK2873ugCPZbmtEhzPZz
A7D2nl?comment_id=101661283 Get out of here! There is zero evidence of a single crime! Now look at the state of our Country with #CreepyJoe
56070176                        destroying it!                                                                                                     2/23/2022
https://www.facebook.com/EJean
Carroll/posts/pfbid02x2UMte7Yh
Lhgm3EPGJbkZkTMbLs6am377
Vj5Rqh8WuYfMiBhuN85wFCGr
yMp6WEDl?comment_id=101659
99324695176                     Did you try therapy or do you enjoy wallowing in hatred and pity                                                   1/12/2022
https://www.facebook.com/EJean
Carroll/posts/pfbid0bzhM5t9E8d
XinPJBaKdFmHn9YUAX85NcM
R8c3EBMcTBwu3ppwJeFZF9E6
N2vhmhpl?comment_id=1016599
1649555176                      Such bitter biddies                                                                                                 1/9/2022
https://www.facebook.com/EJean
Carroll/posts/pfbid02NkWcy6SL
YkijN6PidfdYhUtqr8jtzGF8RNt
WjWChRTm9kemoHQQB5HKX
bZo1raNtl?comment_id=1016581
8970935176                      hilarious.... . Gawd.. you women need to get a life.. Trump could care less about you money grabbing.. .........  11/13/2021
https://www.facebook.com/EJean
Carroll/posts/pfbid02FvqtW4fxuK
C6L6ccuPJfUGZTbj4W6K2wsCu
6hRhHiqY5rfojEKd8Jy5aiiiGd2tn
l?comment_id=101656430245451
76                              About as believable as the Russia collusion story. Democrats are so predictable. Yawn.                             9/18/2021
https://www.facebook.com/EJean
Carroll/posts/pfbid02VKYd1SM7 Hey by the way. How’s that lawsuit going against Trump. 😂😂😂😂😂😂😂😂Just to let you know you ain’t getting a
U3oFsNbfjHfBJ7NcH3y1vpqcsJC dime and he’s not gonna be found guilty. You just wanna publicity that’s it Think about it you had all those years
mVUKt689V7eUnsfqV1NhiSsKP to claim that you could’ve claimed it the same day or the next day. However you decided to wait years and then
YPBBl?comment_id=1016552394 once he became president you thought you would make a lawsuit. And if he would’ve never became president we
7430176                         would’ve never heard a word out of you😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂                                                         8/10/2021
https://www.facebook.com/EJean
Carroll/posts/pfbid0oVkZFn4ecV
QF6qa4KcvycfAwkXs6y7aYtsg5
NNi2iLs1tCYKPiBRnUnn5Daaw
vsTl?comment_id=101655311680
85176                           Look who it is. NUTJOB. 🖕🖕                                                                                         8/12/2021
              Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 50 of 67


URL                              Post                                                                                                           Date
https://www.facebook.com/EJean
Carroll/posts/pfbid037CYYMGpd
Yx1XJzVfndBEH6XwiBjR4gh56
CAi7fusxeHW4V2DF42JVaah79
qvVrWjl?comment_id=10165480 Tell her to give up a piece of that A$$😂😂😂😂😂😂😂😂Oh and don’t worry you’re so goofy you will lose that case
383890176                        against Trump 😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂😂                                                                               7/27/2021
https://www.facebook.com/EJean
Carroll/posts/pfbid0eTsVNpEs4X
3H5CABJoz87yPB3WkS2FCskkh
yqtpkVsEz6pHejdZ33b38EXCVA
y94l?comment_id=101653978169
95176                            I don’t like Jean I think you’re quite goofy. 🤪🤪🤪🤪🤪🤪🤪🤪🤪🤪🤪🤪🤪🤪🤪🤪                                                    7/4/2021
https://www.facebook.com/EJean
Carroll/posts/pfbid021aLPP8Kyw
YfBdJGDMSFDVTudnXPoX4sV
jRTc38fw2z2ZTAWQvKokPF8C What's wrong My PRESIDENT NEVER PAID ATTENTION TO YOU and never let you in his space. I notice a
ViaPtBTpl?comment_id=1016524 scarf on you that terrorist MUSLIM SCUM WEAR. How many tried to pin lies on him? Hundreds and soon he
9423580176                       will be able to SUE your UGLY SCANKY ASS AS HE DID THE REST!!!!                                                  5/26/2021
https://www.facebook.com/EJean
Carroll/posts/pfbid0FHVf3yTCqQ
k4QFZ97sENbozpTmtBcAtF44y
Vmo8kGKtLjzfippVMCJQHSHJf
gWQel?comment_id=1016524947 God, you really are a monster.... Can't wait to see you HANG or maybe will get lucky and MS Gang will cut your
2550176                          UGLY OLD HEAD OFF....                                                                                            5/26/2021
https://www.facebook.com/EJean
Carroll/posts/pfbid02gSb85ckVF8
DrJ5DjHtcKffQyc4M8rTVRvXD
7U75TPqPwLtEwVsCxSm3UCA
2nj5Jl?comment_id=10165095540 Look at these morons. What was she 140 yrs old then. Lady In Pic you look dead. Google did you a disservice
670176                           putting that pic up. Yeaa go liberal minded morons. Ruin the country.                                            4/17/2021
https://www.facebook.com/EJean
Carroll/posts/pfbid0HErYQLsGU
z7aPDNWW6Bp88UxhyaERPp1
Zo32GBfHBYxUTAziuGk82X22
BLTQDLLgl?comment_id=10165
093125585176                     Nasty woman                                                                                                      4/16/2021
https://www.facebook.com/EJean
Carroll/posts/pfbid0HErYQLsGU
z7aPDNWW6Bp88UxhyaERPp1
Zo32GBfHBYxUTAziuGk82X22
BLTQDLLgl?comment_id=10165
093385715176                     Why am I getting this Crap. Carroll is a Shister liar.                                                           4/16/2021
https://www.facebook.com/EJean
Carroll/posts/pfbid032Vr5VDFPQ
xvWLnXmgYHdN1tPtu6Xu98mu
Ru5kjrVZYPqMktApP8xztFS5uK
wp6xkl?comment_id=101649987 You were no more raped by Trump than I was! And as crude as you are, all that much more an unbelievable take.
90160176                         So crawl back in your hole                                                                                       3/23/2021
https://www.facebook.com/EJean I am sure you guys do hang out together - wanting your 5 minutes of fame - how interesting you waited 11 years
Carroll/posts/pfbid08YQunz7AW to come out and accuse someone of what - having sex with you. I am sure you have a book somewhere - just like
4j7jRSRnjXDKhBokrjXFAdiqPn Trumps niece - whose own father disinherited her. I believe they say there is nothing like a woman scorned.
UYTvT34Bfy4kasy1GXnvpsR9d What? he did not marry you - I am assuming you thought if you got him in bed yours was so special he would not
byXLl?comment_id=1016485919 let you go - but when he kicked you to the curve you got pissed and all these years have been waiting to get him
9830176                          back. YOU ARE PATHETIC                                                                                           2/18/2021
https://www.facebook.com/EJean Lemme see, what do I know? Pops five Xanax's a day and suffers from obsessive compulsive syndrome. Keeps a
Carroll/posts/pfbid02M4srjuhpaov pet Lemur named Frank who she insists is the reincarnation of Genghis Kahn. Notice Lemurs have crazy looking
ChQtkZyyakbEqudyRDsVVX1rw eyes. Aware of Donald Trump's severe mental health disorders, and suffering a freudian compulsion to identify
va9MYXBRABQe2MNjmUAaai5 with a promiscuous man with the kind of track record similar to Genghis Kahn, her accusations of rape at the
WA4HXl?comment_id=10164682 hands of Donald Trump serve an obsessive compulsive need to feel wanted. And she really does believes in them,
714255176                        in her own mind. It helps make her feel closer to Frank.                                                         1/14/2021
https://www.facebook.com/EJean
Carroll/posts/pfbid02M4srjuhpaov
ChQtkZyyakbEqudyRDsVVX1rw
va9MYXBRABQe2MNjmUAaai5
WA4HXl?comment_id=10164682 Rene Oxford Diaper Don? See now that just illustrates yet another of my points. It WAS consensual. It wasn't
714255176&reply_comment_id=1 rape. This is so unfair. Donald Trump didn't rape E. Jean Carroll. But he is desperate to keep it out of court and
0164689358220176                 smear her reputation anyway.                                                                                     1/16/2021
               Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 51 of 67


URL                             Post                                                                                                              Date
https://www.facebook.com/EJean
Carroll/posts/pfbid02nCwbzxoy65
irhHf1UmktCAgP8U6GChZ7gN4
ZSjoUfGX7YHWDM4zdu2R5W
Bc3VtGZl?comment_id=1016454 This brother train wreck holy crap just look at her total freaking train wreck. She really needs to get over herself
6124205176                      already and move on.                                                                                               12/11/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid02nCwbzxoy65
irhHf1UmktCAgP8U6GChZ7gN4
ZSjoUfGX7YHWDM4zdu2R5W
Bc3VtGZl?comment_id=1016454
6117930176                      🤣🤣🤣🤣🤣🤣🤣🤣🤣🤣🤣🤣🤣🤣🤣🤣🤣🤣                                                                                                 12/11/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid09wLZtQ1GG
GrgWWiYC5tnrSEMp2vBbAc2F
ZNYekbNFUvRLMX28BhUNZN
LkjrHpXxxl?comment_id=101645 I find it odd that none of you question why she waited 25 years. It's because it's totally political and complete
45791245176                     bullshit and probably somewhat about money. 25 years ago! You guys are gullible. 🤥🤥🤥🤥                              12/11/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid02tj8teoTW2g
UAFmDDk63bsAHb6RdW2gbLq
ccQagmi12mRt272BxF6hNp96a3
MH9Vbl?comment_id=10164393
530010176                       You don’t sound like a woman who was raped                                                                          11/3/2020
https://www.facebook.com/kevin.
sessums.7/posts/pfbid0wkkJEgLA
SdmTLMaVkQSaMREZiASL9Zq
3VUtWDhcL3PSBAUHZAXnM7 Not one person heard your struggle in a quiet dressing room where even the most quiet voice is heard.
r7eLtiLTPxcl?comment_id=10159 And the fitting room staff? Closed their eyes and ears? Your honesty is questionable... publicity stunt for you
086339648708                    perhaps?                                                                                                           10/27/2020
https://www.facebook.com/kevin.
sessums.7/posts/pfbid0wkkJEgLA
SdmTLMaVkQSaMREZiASL9Zq Why was this accepted for so many years, why claim victim now. Memories seem to fade after that many years. Is
3VUtWDhcL3PSBAUHZAXnM7 anyone truly sure who is the real victim?
r7eLtiLTPxcl?comment_id=10159 It sounds to me like a scorned woman and Trump is the victim! Sorry honey you lost your cheerleader looks, life's
088435423708                    a bit@h.                                                                                                           10/28/2020
https://www.facebook.com/kevin.
sessums.7/posts/pfbid0wkkJEgLA
SdmTLMaVkQSaMREZiASL9Zq
3VUtWDhcL3PSBAUHZAXnM7 It sad tricks like you will sell your soul out for the highest bidder to do their dirty work. Women like you make
r7eLtiLTPxcl?comment_id=10159 me sick. Pathetic!! Oh BTW Trump isnt going anywhere you'll be a piece of trash the democrats will toss in the
087499948708                    garbage once they no longer need you. Rightfully so!!!                                                             10/28/2020
                                She does not even remember the year so that means it never happen. She said 1995 or 1996 maybe she got one of
https://www.facebook.com/kevin. the men that she when out with. She is a slut she says she agreed to try the see thru bathing suit and she though
sessums.7/posts/pfbid0wkkJEgLA she was hilarious. She knew she had money so who knows how much she flirted with Trump but she looks
SdmTLMaVkQSaMREZiASL9Zq unholy on the picture that shows her next to him.
3VUtWDhcL3PSBAUHZAXnM7 He will sue for defamation.
r7eLtiLTPxcl?comment_id=10159 She should throw in jail for lying.
086762013708                    We need Amy Coney Barrett to be the judge in that case, she will get to the bottom of ms. E.Jean Carol             10/27/2020
https://www.facebook.com/kevin.
sessums.7/posts/pfbid0wkkJEgLA
SdmTLMaVkQSaMREZiASL9Zq
3VUtWDhcL3PSBAUHZAXnM7
r7eLtiLTPxcl?comment_id=10159 Hey E. Jean Carrol now you are saying that Trump raped you and you cannot recall the year that it happens. You
086704163708                    said 1995 or 1996 who are you kitting?                                                                             10/27/2020
https://www.facebook.com/kevin.
sessums.7/posts/pfbid0wkkJEgLA
SdmTLMaVkQSaMREZiASL9Zq
3VUtWDhcL3PSBAUHZAXnM7
r7eLtiLTPxcl?comment_id=10159
086490963708&reply_comment_i
d=10159086763403708             Sam D. Maloney thanks for what? she is lying and you know it                                                       10/27/2020
https://www.facebook.com/kevin.
sessums.7/posts/pfbid0wkkJEgLA
SdmTLMaVkQSaMREZiASL9Zq
3VUtWDhcL3PSBAUHZAXnM7
r7eLtiLTPxcl?comment_id=10159
086310353708                    BS if he did something would have been said before now                                                             10/27/2020
               Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 52 of 67


URL                                Post                                                                                                                Date
https://www.facebook.com/kevin.
sessums.7/posts/pfbid0wkkJEgLA
SdmTLMaVkQSaMREZiASL9Zq
3VUtWDhcL3PSBAUHZAXnM7
r7eLtiLTPxcl?comment_id=10159
086310353708&reply_comment_i
d=10159086764743708                Joel Turner thank you. She is been pay by the democrat because a Joe and Kamala are loosing the election             10/27/2020
https://www.facebook.com/kevin.
sessums.7/posts/pfbid0wkkJEgLA
SdmTLMaVkQSaMREZiASL9Zq
3VUtWDhcL3PSBAUHZAXnM7
r7eLtiLTPxcl?comment_id=10159
086329713708                       30 some odd years later? Yeah... Ok                                                                                  10/27/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid0MWKnQMT
UKzMgSp6wuaxjpd5ZsaMu5hV6
SVcNZMmE317FSMUJnnVhcHZ
t4Av6q7vgl?comment_id=101643
61838385176&reply_comment_id Ronni Fried and this crazy woman waits until now to smear Trump? If she was raped she should have taken him
=10164363028560176                 to court back then. This is just a smear campaign that ruins the credibility of women that truly have been raped.    10/27/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid0MWKnQMT
UKzMgSp6wuaxjpd5ZsaMu5hV6
SVcNZMmE317FSMUJnnVhcHZ
t4Av6q7vgl?comment_id=101643 You money hungry *itch!! You wouldn't be doing this if he wasn't the President of the USA! What took you so
61901475176                        long? It's all about MONEY & fame!!! Just look at yourself!                                                          10/27/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid0MWKnQMT
UKzMgSp6wuaxjpd5ZsaMu5hV6
SVcNZMmE317FSMUJnnVhcHZ
t4Av6q7vgl?comment_id=101643
61947320176&reply_comment_id Andrea Sue lmao you ppl think trump touched this gross thing . Have you seen the women he has had in his life?
=10164364646285176                 Definitely not the fucking weird cat lady .                                                                          10/28/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid0MWKnQMT
UKzMgSp6wuaxjpd5ZsaMu5hV6
SVcNZMmE317FSMUJnnVhcHZ
t4Av6q7vgl?comment_id=101643
64422785176&reply_comment_id
=10164364637620176                 Joy Elizabeth Fincannon she's disgusting.                                                                            10/28/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid0MWKnQMT
UKzMgSp6wuaxjpd5ZsaMu5hV6
SVcNZMmE317FSMUJnnVhcHZ
t4Av6q7vgl?comment_id=101643 Oh now all of a sudden you wanna come out? Gtfoh the shit you weirdos will pull to try and rig this election is
64636875176                        disgusting.                                                                                                          10/28/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid0MWKnQMT
UKzMgSp6wuaxjpd5ZsaMu5hV6
SVcNZMmE317FSMUJnnVhcHZ
t4Av6q7vgl?comment_id=101643 Megan Thee Loaf once again . Idc how long it has been going on . She is a liar and has no proof . She's looking
64636875176&reply_comment_id for money and to be important. Ppl can accuse ppl of shit all day . Fortunately in this country it's innocent until
=10164366781765176                 proven guilty . Not let's all jump in the bandwagon Bec a woman said she was raped smh .                             10/28/2020
https://www.facebook.com/lesleya
bravanel/posts/pfbid02ZmwJix3sz
WC4Ro7z41skRxV9Bq8FvpDp6
YDyquXx2NDdB2mzBTo6yde3o
SvfuXMtl?comment_id=1015758 I don't believe it happened. If it had, why didn't you report it then; why didn't you seek justice then? You, like so
3921246500                         many others will stoop as low as possible to hurt our President. You are not a very good person.                     10/27/2020
https://www.facebook.com/barbar
a.carroll.984/posts/pfbid02ujtfAbs
9eyTPvSsXDprzc5BNgTMoArXb
7SsuP9tyVmobMMZvwrLA1aVF
M1A2Evwol?comment_id=10223 Perverted lying left scum trying anything to get Joe in office. How much are you getting paid from the marxist
847589008825                       left party?                                                                                                          10/27/2020
              Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 53 of 67


URL                               Post                                                                                                       Date
https://www.facebook.com/barbar
a.carroll.984/posts/pfbid0DYFsC6
p8EehMje5qvoZUj6MtNx64f3wE
3my3Zk15GUj8HFf5T58ucnsTVz
pvfA9fl?comment_id=102238067 u r a dirty shame and disgrace, had you taken action over 20 yrs, u could have been a bit believable....but
75428511                          now?????                                                                                                    10/21/2020
https://www.facebook.com/barbar
a.carroll.984/posts/pfbid02U7eiaV
gFUULFcGktCGvrD4q2ttwL833
ZtoSJj1PGeraQBg6NWkXNhUp
Nu3bNT9Agl?comment_id=1022
3850524482210                     Is all about making money. You shame real victims                                                           10/27/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid0cL2XGzNSH
v7mw4xb7eGhH1cZfpr72qZ26FE
4fqMBecRXAPNXstc68pFxkfp4
YhGJl?comment_id=1016433100 Being trump, I wouldn't touch you with someone else's dick even in 1990!! Why didn't you come forward then
1910176                           you scumbag bitch!!                                                                                         10/19/2020
https://www.facebook.com/lesleya
bravanel/posts/pfbid0PuTY6YzM
4x3LbTzodUGTVwsmatPrX3EzR
MyiqjM7a5RphECH1r3L8hGMi5 Total fabrication, no doubt Allegedly occurred in the '90s and NOW launches a suit? Just in time for the election.
2KzAT4l?comment_id=10157480 What an interesting coincidence... Same crowd that defamed Kavanaugh. These demons are direct descendants of
702031500                         the people that danced around the Golden calf...                                                             9/10/2020
https://www.facebook.com/frank.s
icoli/posts/pfbid02pyvApTeffYpw
XJspwMYctRcxLUswYcmtdPFH
6L1vEk3o8uSkXqj2QTfUezoseZ
vel?comment_id=3360070624047
117                               LIES                                                                                                         10/5/2020
https://www.facebook.com/barbar
a.carroll.984/posts/pfbid0jdmAZL
jzNBK77kGVEfY4XUe5YhaL4E
EDonCaNj3MDkmAzVaHXAj8w
gnJZpL5kWsNl?comment_id=102 😂😂 Are you serious ....you kept a dress for 20 yrs.....
23480295866726                    Give it up....😂😂                                                                                              9/8/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid037UGfUTWB
EfnbJYi35DxGpTGGtuQrwgHX7
bsVEMDmjfEn9dj8krRgbGvyW I don't believe you were raped. I'm looking at how you are publicizing this and acting like you are doing a good
AhwCJLMl?comment_id=101640 thing just by saying he raped you. Plus I'm looking at you and looking at what he has had in the past and I just
95353940176                       don't see him wanting you in any way.                                                                        8/25/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid02hrfdioNaYxy
ma91RwnBw4H1diz2GNmPz3bD
A8TYZe9zw77QU2wfzbQjqPYp
RZUnxl?comment_id=101640169
43270176&reply_comment_id=10 DNA just proves they had sex she probably wanted more and he turned her down and hurt her feelings ...now she
164017490520176                   can get even....prove me wrong!!                                                                              8/7/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid02hrfdioNaYxy
ma91RwnBw4H1diz2GNmPz3bD
A8TYZe9zw77QU2wfzbQjqPYp
RZUnxl?comment_id=101640171
79045176                          You’re such a douche bagTRUMP 2020                                                                            8/7/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid02hrfdioNaYxy
ma91RwnBw4H1diz2GNmPz3bD You know it never happened and if you had sex with him I bet you bragged about to someone! The truth will set
A8TYZe9zw77QU2wfzbQjqPYp him free and prove what kind of person you and the sorry Democrats really are. May God show you the same
RZUnxl?comment_id=101640174 mercy if you are lying about the best President we've had in many many years! Oh that's right you people don't
62100176                          believe in God!                                                                                               8/7/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid02hrfdioNaYxy
ma91RwnBw4H1diz2GNmPz3bD
A8TYZe9zw77QU2wfzbQjqPYp
RZUnxl?comment_id=101640183
70155176                          No way. That’s a dude. The E must stand for Everett.                                                          8/7/2020
              Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 54 of 67


URL                              Post                                                                                                       Date
https://www.facebook.com/EJean
Carroll/posts/pfbid02hrfdioNaYxy
ma91RwnBw4H1diz2GNmPz3bD
A8TYZe9zw77QU2wfzbQjqPYp
RZUnxl?comment_id=101640559
29755176                         Trying to make yourself feel better for your not aging well                                                  8/16/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid02hrfdioNaYxy
ma91RwnBw4H1diz2GNmPz3bD
A8TYZe9zw77QU2wfzbQjqPYp
RZUnxl?comment_id=101640559
29755176&reply_comment_id=10
164164313485176                  You got it,21 years and this woman starting trouble.Ridiculous Trump 2020                                     9/9/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid021of8ecmPN1
tha6EMxhicH4fCkv9PsQCuyeVP
5JEjAXkaX2bdi3kh1ye8w5uBnX
nRl?comment_id=1016388479566
0176                             Lady you are such a joke!                                                                                    7/10/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid021of8ecmPN1
tha6EMxhicH4fCkv9PsQCuyeVP
5JEjAXkaX2bdi3kh1ye8w5uBnX
nRl?comment_id=1016388479566
0176&reply_comment_id=101638
84972380176                      Look at her, who would rape that.                                                                            7/10/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid02RBB5TNBA
8Ekm9qMLuii4C9fFg2oTFmaaRe
Kfev17LJU2CVVho5Tx2C8ByL1
XXA8vl?comment_id=101631195
41195176                         Just a couple of douche bags                                                                                  3/4/2020
https://www.facebook.com/EJean The bitch is a whack job!! TRUMP 2020
Carroll/                                                                                                                                       9/9/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid034qA7M5j3pj
C8sNTmHtWL1zMkVXwa4yvW See, here is how it works in America. When you make outrageous claims you must prove them and the person
o6J6FDZy5EYMxgDZde65YWC you are accusing remains innocent until proven guilty. Now you blame Trump for demise when all he did was
VuknjY3tml?comment_id=10163 defend himself against your outrageous, unprovable claims. Hence, I hope you go broke for the lies you've
048163670176                     perpetrated in an attempt to remove a president that you don't like.                                         2/19/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid034qA7M5j3pj
C8sNTmHtWL1zMkVXwa4yvW
o6J6FDZy5EYMxgDZde65YWC
VuknjY3tml?comment_id=10163
048280320176&reply_comment_i
d=10163048474460176              Diana Vizcaino - no. She sounds unhinged and looking to blame others                                         2/19/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid034qA7M5j3pj
C8sNTmHtWL1zMkVXwa4yvW
o6J6FDZy5EYMxgDZde65YWC
VuknjY3tml?comment_id=10163 Can’t recall Trump attacking you. But you bringing a suit without any merits or evidence is on you for losing
049754600176                     your job.                                                                                                    2/19/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid034qA7M5j3pj
C8sNTmHtWL1zMkVXwa4yvW
o6J6FDZy5EYMxgDZde65YWC
VuknjY3tml?comment_id=10166
255461765176                     Elle fired you because you’re whack!                                                                         4/10/2022
https://www.facebook.com/photo/
?fbid=10162982864695176&set=
a.10151056896905176&comment TRUMPS STANDARDS ARE WAAAYYYY HIGHER THAN THIS! HE NEVER HAD ANYTHING TO DO
_id=10162983360185176            WITH THIS NASTY TROLL!                                                                                        2/6/2020
https://www.facebook.com/photo/
?fbid=10162982864695176&set=
a.10151056896905176&comment
_id=10163001111345176            Another ugly lying bitch                                                                                     2/10/2020
               Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 55 of 67


URL                             Post                                                                                                             Date
https://www.facebook.com/photo/
?fbid=10162982864695176&set= Someone please shoot this miserable old hag before she actually tries to kill the President of the United States. I
a.10151056896905176&comment reported her to Facebook, but threatening President Trump does not violate their liberally biased "community
_id=10163006693375176           standards".                                                                                                        2/11/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid0oCH7Sawoup
QU84mLvVchjuL8wRyvJ9hZzPh
gY1d67puQ2oVb7JC8oWiVEjqZ
SYcol?comment_id=1016297528
1860176&reply_comment_id=101
63001115640176                  E. Jean Carroll paid Democratic whore is all you are                                                               2/10/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid02APSNucVEi
FQa289TvYyYgMYtL82u1pdoJU Judy Twersky That does not guarantee rape. Without legitimate proof it is nothing but a bunch of words. It’s
BVeArnDYuLt58ETFDm6WVmj funny that these left wing clowns come out of the closet because they are still bitter and pissed off about him
MuFGnZal?comment_id=101629 winning the office and they want to smear him before The election. Newsflash folks we are onto your shit and the
48289185176&reply_comment_id left-wing Democrats are nothing but a pile of trash. Since the night he won they were looking for a reason to
=10162948433735176              impeach him because they were salty about losing and they are disgusting individuals.                              1/30/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid02APSNucVEi
FQa289TvYyYgMYtL82u1pdoJU
BVeArnDYuLt58ETFDm6WVmj
MuFGnZal?comment_id=101629 Dew Freeman who hangs on to a dress that long just in case he became president? If she was so traumatized then
48299250176&reply_comment_id bring it up then. All these stupid women wanting to cry rape 30 years later are a slap in the face to women and
=10162948329270176              men who report their rapes immediately.                                                                            1/30/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid02APSNucVEi
FQa289TvYyYgMYtL82u1pdoJU
BVeArnDYuLt58ETFDm6WVmj
MuFGnZal?comment_id=101629
48299250176&reply_comment_id
=10162948368790176              oh, and of course, women never lie about such things...like ever                                                   1/30/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid02APSNucVEi
FQa289TvYyYgMYtL82u1pdoJU
BVeArnDYuLt58ETFDm6WVmj
MuFGnZal?comment_id=101629
48923240176                     PATHETIC IGNORANT BITCH                                                                                            1/30/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid02APSNucVEi
FQa289TvYyYgMYtL82u1pdoJU
BVeArnDYuLt58ETFDm6WVmj
MuFGnZal?comment_id=101629
48924735176                     🤮🤮🤮🤮🤮🤮                                                                                                             1/30/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid02APSNucVEi
FQa289TvYyYgMYtL82u1pdoJU
BVeArnDYuLt58ETFDm6WVmj
MuFGnZal?comment_id=101629
52810810176&reply_comment_id
=10162954652185176              Paulette Sulich Polaczyk courage my ass. Book sales is all it’s about. Lying bitch.                                1/31/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid02APSNucVEi
FQa289TvYyYgMYtL82u1pdoJU
BVeArnDYuLt58ETFDm6WVmj
MuFGnZal?comment_id=101629
54640535176                     You are disgusting piece of shit. Lying to sell your book.                                                         1/31/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid02APSNucVEi
FQa289TvYyYgMYtL82u1pdoJU Sick people in This world! Democratic party destroying America human trafficking! Child sex crimes for elite
BVeArnDYuLt58ETFDm6WVmj entertainment! Concentrate on issues destroying the foundation of America! Children dying daily! I you had been
MuFGnZal?comment_id=101629 raped you idiot you would have gone to authorities! We are not stupid out here. Common sense tells us all this is
57322485176                     what normal people do. Another trumped up Ford story.                                                               2/1/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid02APSNucVEi
FQa289TvYyYgMYtL82u1pdoJU
BVeArnDYuLt58ETFDm6WVmj
MuFGnZal?comment_id=101630
01129695176                     Whores of tbe Democratic party.                                                                                    2/10/2020
               Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 56 of 67


URL                             Post                                                                                                                  Date
https://www.facebook.com/EJean
Carroll/posts/pfbid02APSNucVEi Ur a sick woman n like many of you sick women “Monica, summer,stormy etc what sick person would save an
FQa289TvYyYgMYtL82u1pdoJU article of clothing unless they planned to frame the person when they hit fame. its ppl like you who give use
BVeArnDYuLt58ETFDm6WVmj women a bad name, all ur out for is securing your fortune n helping that sick person speaker of the house Pelosi.
MuFGnZal?comment_id=101630 Glad u got fired u don’t deserve to give advise to people, you are a disgrace, and embarrassment to all working
48114035176                     class, honest women you should be ashamed of ur self                                                                    2/19/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid02KbarmdFqXi
qXWMMy4C4QLfMNXp7iaVe7c
J4e6n8b39SJVjExHMdnN8vXuR Trying to sell some more books? Maybe colluding with the Democrats to create more bad media narrative to use
gib9pjl?comment_id=1016294724 against Trump? You have the “dress” from the three minute encounter in 1995 or 1996 in the fitting room?
8725176                         Thought you were wearing lingerie?                                                                                      1/30/2020
https://www.facebook.com/EJean 30 years ago.... and yet you’re just NOW coming forth? Hmm, during election time none the less.
Carroll/posts/pfbid02KbarmdFqXi The lab results shows DNA from at LEAST 4 people and at least 1 being a male. So either you had a gangbang or
qXWMMy4C4QLfMNXp7iaVe7c did whatever to get this DNA on your dress. Kinda odd how you claim to have been in a dressing room and
J4e6n8b39SJVjExHMdnN8vXuR fought him off successfully too, yet still have DNA though!
gib9pjl?comment_id=1016294737 Rape is a serious fucking accusation. If you are indeed lying about this, you’re certainly going to hell. If not, well,
9365176                         idk how your story is so far fetched.                                                                                   1/30/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid02KbarmdFqXi
qXWMMy4C4QLfMNXp7iaVe7c
J4e6n8b39SJVjExHMdnN8vXuR
gib9pjl?comment_id=1016294737 I agree.. but the loony left is hopping on board.!!
9365176&reply_comment_id=101 Use your damn brains and common sense!! She said it wasn’t rape until Trump called her a liar.. then her book
62948305180176                  flopped so she is pushing fore😒😒😒😒😒😒forward!! She is a lying slut and NORMAL people see that😡😡😡😡                        1/30/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid02KbarmdFqXi
qXWMMy4C4QLfMNXp7iaVe7c
J4e6n8b39SJVjExHMdnN8vXuR
gib9pjl?comment_id=1016294823
0060176                         Nah....no way. Another paid liar. Why now? How much are you getting paid for this hoax and your lies?                   1/30/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid02KbarmdFqXi
qXWMMy4C4QLfMNXp7iaVe7c
J4e6n8b39SJVjExHMdnN8vXuR
gib9pjl?comment_id=1016294831 What happened ?? Book didn’t sale?! You never said rape before !
2930176                         Saw you on tv. Your a nut case😱😱                                                                                        1/30/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid02KbarmdFqXi
qXWMMy4C4QLfMNXp7iaVe7c
J4e6n8b39SJVjExHMdnN8vXuR
gib9pjl?comment_id=1016294893 😂😂😂😂😂😂. BECAUSE THEY ARE LOSING THE SHAM IMPEACHMENT TRIAL 😂😂😂😂😂😂. ON TO THE
1915176                         NEXT LIAR 🤥🤥                                                                                                            1/30/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid02KbarmdFqXi
qXWMMy4C4QLfMNXp7iaVe7c
J4e6n8b39SJVjExHMdnN8vXuR
gib9pjl?comment_id=1016294893
6670176                         SHE WISHES HE RAPED HER UGLY ASS 🖕🖕                                                                                     1/30/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid02KbarmdFqXi
qXWMMy4C4QLfMNXp7iaVe7c
J4e6n8b39SJVjExHMdnN8vXuR
gib9pjl?comment_id=1016294906
5120176                         She crying wolf                                                                                                         1/30/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid02KbarmdFqXi
qXWMMy4C4QLfMNXp7iaVe7c
J4e6n8b39SJVjExHMdnN8vXuR
gib9pjl?comment_id=1016294906
4190176                         If was true why waiting this long . I didn't tell truth she want's some attention                                       1/30/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid02KbarmdFqXi
qXWMMy4C4QLfMNXp7iaVe7c YOU ARE AN AMAZING SACK OF MANURE! DEM=LIARS!!!! WHO WANTS A PARTY WHO
J4e6n8b39SJVjExHMdnN8vXuR EXECUTES BABIES EVEN AFTER THEY ARE BORN, WHO ENLISTS DRAG QUEENS FOR
gib9pjl?comment_id=1016295510 CHILDREN'S READING HOUR IN OUR LOCAL LIBRARIES, WHO BELIEVE LITTLE GIRLS SHOULD
3290176                         SHARE BATHROOMS WITH MEN? !!UR FINISHED!                                                                                1/31/2020
               Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 57 of 67


URL                            Post                                                                                                               Date
https://www.facebook.com/EJean
Carroll/posts/pfbid02A9MGXU8J
xB6QdipeapV1kb38mRR9KQzZu
u7zRjKDNTakCbbe4UrzRPmX7
qDjiHnBl?comment_id=10162839
535690176                      HE SHOULD SUE HER FOR DEFORMATION                                                                                    1/10/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid02A9MGXU8J
xB6QdipeapV1kb38mRR9KQzZu
u7zRjKDNTakCbbe4UrzRPmX7
qDjiHnBl?comment_id=10162948
939170176                      TYPICAL CRYING PATHETIC LIBERAL LOSER                                                                                1/30/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid02A9MGXU8J
xB6QdipeapV1kb38mRR9KQzZu
u7zRjKDNTakCbbe4UrzRPmX7
qDjiHnBl?comment_id=10162948
972295176                      Lying Sack Of Shit!!                                                                                                 1/30/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid02A9MGXU8J
xB6QdipeapV1kb38mRR9KQzZu
u7zRjKDNTakCbbe4UrzRPmX7
qDjiHnBl?comment_id=10162949
053980176                      Total BS                                                                                                             1/30/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid0pM1JLR679T
DR96NHp2CdGZPFJS9xmq4cbS
BCFpSCfFKJJw9LyAes1sWYJZS
JDC93l?comment_id=101627256
34010176                       Y r ugly                                                                                                            12/18/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0pM1JLR679T
DR96NHp2CdGZPFJS9xmq4cbS
BCFpSCfFKJJw9LyAes1sWYJZS
JDC93l?comment_id=101629471
57445176                       And the truth behind the fake rape accusations unfold.                                                               1/30/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid0pM1JLR679T
DR96NHp2CdGZPFJS9xmq4cbS
BCFpSCfFKJJw9LyAes1sWYJZS
JDC93l?comment_id=101629480
10295176                       You are looking for attention!! TRUMP 2020!                                                                          1/30/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid0pM1JLR679T
DR96NHp2CdGZPFJS9xmq4cbS
BCFpSCfFKJJw9LyAes1sWYJZS
JDC93l?comment_id=101629489
40095176                       I WANT TO SEE YOU DISAPPEAR                                                                                          1/30/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid0pM1JLR679T
DR96NHp2CdGZPFJS9xmq4cbS
BCFpSCfFKJJw9LyAes1sWYJZS
JDC93l?comment_id=101629514 Another leftist trying to sell a book. She a man hater and anti Trumper, typical feminazi. Oh how i long for the
74550176                       days when women were women , they had class and style not these overbearing nazis they have become.                  1/31/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid0pM1JLR679T
DR96NHp2CdGZPFJS9xmq4cbS
BCFpSCfFKJJw9LyAes1sWYJZS
JDC93l?comment_id=101629865
56465176                       You are a complete Fruit Loop.                                                                                        2/7/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid0pM1JLR679T
DR96NHp2CdGZPFJS9xmq4cbS
BCFpSCfFKJJw9LyAes1sWYJZS
JDC93l?comment_id=101629865 Some “writer.” Her book is ridiculous. Her rape story isn’t even slightly plausible. Just the writings of a crazed,
66305176                       leftist man hater.                                                                                                    2/7/2020
              Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 58 of 67


URL                             Post                                                                                                          Date
https://www.facebook.com/EJean
Carroll/posts/pfbid0pM1JLR679T
DR96NHp2CdGZPFJS9xmq4cbS
BCFpSCfFKJJw9LyAes1sWYJZS
JDC93l?comment_id=101629887
82930176                        Good luck tramp                                                                                                  2/7/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid02cEEkX2UDf
9zHBo5HrcMz1xM1GsUad31vkS
tPuNU8myye93iBjkegfSHtcfC4n
1Mtl?comment_id=101626074366
60176                           Will you also talk about your lies and dishonesty????!!!                                                       11/23/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0jRXjgeDEPbx
tH6VgQSDQm81c9GYkkYn19L
U63P7MDZbhgnZ1PMCWoLiXa
GGFLh4Xl?comment_id=101625
11662305176                     I know let's say I was raped by trump to get cash loser lol                                                     11/4/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0jRXjgeDEPbx
tH6VgQSDQm81c9GYkkYn19L I am so tired of these desperate women claiming someone raped or attacked them years ago. If this was true why
U63P7MDZbhgnZ1PMCWoLiXa did you idiots wait all these years to come forward. All you want is money or your moment of fame. For women
GGFLh4Xl?comment_id=101625 who have truly been abused, your baseless claims hurt their chances of justice. By the way, I am not Galen, I am
11914640176                     his wife.                                                                                                       11/4/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0jRXjgeDEPbx
tH6VgQSDQm81c9GYkkYn19L
U63P7MDZbhgnZ1PMCWoLiXa
GGFLh4Xl?comment_id=101625
12211265176                     BITCH                                                                                                           11/4/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0jRXjgeDEPbx
tH6VgQSDQm81c9GYkkYn19L
U63P7MDZbhgnZ1PMCWoLiXa
GGFLh4Xl?comment_id=101625
12233975176                     Your such a liar , look at you , who would want to screw you                                                    11/4/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0jRXjgeDEPbx
tH6VgQSDQm81c9GYkkYn19L
U63P7MDZbhgnZ1PMCWoLiXa
GGFLh4Xl?comment_id=101625
12233975176&reply_comment_id
=10162512374340176              You are so right!!! I mean, just look at her!!                                                                  11/4/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0jRXjgeDEPbx
tH6VgQSDQm81c9GYkkYn19L
U63P7MDZbhgnZ1PMCWoLiXa
GGFLh4Xl?comment_id=101625
12369155176                     Cunt                                                                                                            11/4/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0jRXjgeDEPbx
tH6VgQSDQm81c9GYkkYn19L
U63P7MDZbhgnZ1PMCWoLiXa
GGFLh4Xl?comment_id=101625
12553655176                     You're a feckless Liberal Cunt!                                                                                 11/4/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0jRXjgeDEPbx
tH6VgQSDQm81c9GYkkYn19L
U63P7MDZbhgnZ1PMCWoLiXa
GGFLh4Xl?comment_id=101625
12568160176                     My head is laughing at you. You have no case claiming rape decades after it supposedly happened.                11/4/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0jRXjgeDEPbx
tH6VgQSDQm81c9GYkkYn19L
U63P7MDZbhgnZ1PMCWoLiXa
GGFLh4Xl?comment_id=101625
13012350176                     Rape is bad ! But being falsly accused by a ugly woman without Tits is two times bad                            11/4/2019
              Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 59 of 67


URL                             Post                                                                                                          Date
https://www.facebook.com/EJean
Carroll/posts/pfbid0jRXjgeDEPbx
tH6VgQSDQm81c9GYkkYn19L
U63P7MDZbhgnZ1PMCWoLiXa
GGFLh4Xl?comment_id=101625
13186020176                     give it up already lady you tried this one already must be your lunatic fringe acting up again                  11/4/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0jRXjgeDEPbx
tH6VgQSDQm81c9GYkkYn19L
U63P7MDZbhgnZ1PMCWoLiXa
GGFLh4Xl?comment_id=101625
13443775176&reply_comment_id
=10162513549665176              first ..he raped me ...and than she said he didn't rape me .. it was for selling books she said                 11/4/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0jRXjgeDEPbx
tH6VgQSDQm81c9GYkkYn19L ..first ..he raped me ...and than she said he didn't rape me .. so fuck you you idiot . take a big dildo and rape
U63P7MDZbhgnZ1PMCWoLiXa yourself . go to cnn and say ..the dildo raped me.. and cnn put you on the news and you can sell your new book
GGFLh4Xl?comment_id=101625 after 3 days you say no it was not it was my hand who raped me .. everything is my own fault .. the whole world
13524205176                     says your an idiot ..yes the whole world ... you fuck brain sick idiot                                          11/4/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0jRXjgeDEPbx
tH6VgQSDQm81c9GYkkYn19L
U63P7MDZbhgnZ1PMCWoLiXa
GGFLh4Xl?comment_id=101625
13595565176                     How much are the Dems paying you! You will FAIL and be another laughing stock of the country!                   11/4/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0jRXjgeDEPbx
tH6VgQSDQm81c9GYkkYn19L Yours is up your ass. If he really raped you you who are supposed to be this smart woman would have done
U63P7MDZbhgnZ1PMCWoLiXa something before this. Stop being an asshole.You are a disgrace to woman who have been raped take you Dem
GGFLh4Xl?comment_id=101625 supporting ass and do something worthwhile, how about working at a rape counseling center or helping rape
13634265176                     victims. There you will see women who were really raped!!!!!!                                                   11/4/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0jRXjgeDEPbx
tH6VgQSDQm81c9GYkkYn19L
U63P7MDZbhgnZ1PMCWoLiXa Crazy how you want to sue Trump for defamation when you accused him of something he didn’t do. You drug
GGFLh4Xl?comment_id=101625 his name in the dirt not the other way around. He needs to sue you and take you for everything you have for false
66515740176                     accusations                                                                                                    11/15/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0jRXjgeDEPbx
tH6VgQSDQm81c9GYkkYn19L
U63P7MDZbhgnZ1PMCWoLiXa
GGFLh4Xl?comment_id=101627
00397225176                     23 YEARS AGO????????? And you are JUST NOW playing the victim as you RELEASE A BOOK?????                       12/12/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0tTJUBQHF1
WYVXjE2mAzmTT94afHhRAr9
C7e1RhheC8YSZWfqoWokEz3g
RU15iCSbl?comment_id=101623 Patti Kwarta Dresher classless - both of them self serving and bitter. But of course liberals have no hope for a
99596105176&reply_comment_id better future as they all see themselves as victims. As opposed to conservatives with a strong sense of personal
=10162426139155176              accountability and responsibility where anything is possible if one is willing to work for it.                 10/18/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0tTJUBQHF1
WYVXjE2mAzmTT94afHhRAr9
C7e1RhheC8YSZWfqoWokEz3g
RU15iCSbl?comment_id=101624
20663355176&reply_comment_id
=10162512100740176              Kari Wood Cooksey ugh is just putting it mildly Kathy Griffin and Ejean carroll must be hired by George soros   11/4/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0tTJUBQHF1
WYVXjE2mAzmTT94afHhRAr9 I didn't even know who you were..
C7e1RhheC8YSZWfqoWokEz3g Now I know..
RU15iCSbl?comment_id=101625 You are a Tramp..
11935270176                     PROOF IS IN THE PICTURE....                                                                                     11/4/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0tTJUBQHF1
WYVXjE2mAzmTT94afHhRAr9
C7e1RhheC8YSZWfqoWokEz3g
RU15iCSbl?comment_id=101625 Kathy Griffin is more your type you are ugly with no sex appeal president Trump has good taste of women and it
12089495176                     would not be you                                                                                                11/4/2019
               Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 60 of 67


URL                             Post                                                                                                               Date
https://www.facebook.com/EJean
Carroll/posts/pfbid0tTJUBQHF1
WYVXjE2mAzmTT94afHhRAr9
C7e1RhheC8YSZWfqoWokEz3g
RU15iCSbl?comment_id=101625
13340540176                     Dumb and dumber                                                                                                      11/4/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0tTJUBQHF1
WYVXjE2mAzmTT94afHhRAr9
C7e1RhheC8YSZWfqoWokEz3g
RU15iCSbl?comment_id=101625
15301475176                     FREAKS                                                                                                               11/5/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0tTJUBQHF1
WYVXjE2mAzmTT94afHhRAr9
C7e1RhheC8YSZWfqoWokEz3g
RU15iCSbl?comment_id=101625
36416130176                     (2) Delusional Idiots...                                                                                             11/9/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0tTJUBQHF1
WYVXjE2mAzmTT94afHhRAr9
C7e1RhheC8YSZWfqoWokEz3g
RU15iCSbl?comment_id=101629
51444205176                     Look two pedophile party supporter that lie constantly                                                               1/31/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid0tTJUBQHF1
WYVXjE2mAzmTT94afHhRAr9
C7e1RhheC8YSZWfqoWokEz3g
RU15iCSbl?comment_id=101629 Picture worth a 1000 words. 2 leftist nazis. One who gives so called advice and one you supposed to be a
51497690176                     comedian but not funny at all. Trump 2020                                                                            1/31/2020
https://www.facebook.com/EJean
Carroll/posts/pfbid0mhBEC5c61q
jRACvZo4vjLN54Y2Y1KPg2tC
mURgNm9Vz9NoZpQf4v8mZjJa
BsRK5l?comment_id=101625136
48070176                        I bet yours is sweatyballs                                                                                           11/9/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid02cPjoPRVWa
wxRciwcAZLFGcQ1YLZ2uj4Grz
QkJ4afBr8PjoegxSPPj5JVRE81u
NBhl?comment_id=10162513212
160176                          it all makes sence now your hanging with kathy griffin and your a man hater no wonder your lying about trump         11/4/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid02cPjoPRVWa
wxRciwcAZLFGcQ1YLZ2uj4Grz
QkJ4afBr8PjoegxSPPj5JVRE81u
NBhl?comment_id=10162511928
615176                          All lies, such a shame someone like you can make these accusations.                                                  11/4/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid02cPjoPRVWa
wxRciwcAZLFGcQ1YLZ2uj4Grz
QkJ4afBr8PjoegxSPPj5JVRE81u
NBhl?comment_id=10162515304
450176                          Take your Prozac and TRY to not hurt anyone.                                                                         11/5/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid022dbs8pjYky
MN6utxcU141U878Mj2BzVJCX
8pizsdGQG4Y7MjwL5VgPmhyp
HGUYtzl?comment_id=10162511
667285176                       Loser and a leech lol you will lose again idiot                                                                      11/4/2019
https://www.facebook.com/EJean I find it funny that all these women are calling out rape 30 to 40 years later.Do you even know the definition of
Carroll/posts/pfbid022dbs8pjYky it?Police report? Anything to back up your claims? It's to easy to scream rape these days,whether it be Donald
MN6utxcU141U878Mj2BzVJCX Trump or anyone one else if you have no report of the incident
8pizsdGQG4Y7MjwL5VgPmhyp 30 years ago?I certainly hope that you do or it's just plain bullshit!
HGUYtzl?comment_id=10162552 All you women calling out rape now that Weinstein is being accused.I can guarantee that you won't go through
815495176                       with your lawsuit...because it's bs!                                                                                11/12/2019
              Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 61 of 67


URL                             Post                                                                                                          Date
https://www.facebook.com/EJean
Carroll/posts/pfbid02Y5yWuvQw
QJQnANT1HPgSpMHC7GpjkV
VutV6prwUkfz3MYVQKHepyhi
C4gcrUv5mQl?comment_id=1016
2511671335176                   Another idiot                                                                                                   11/4/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid02Y5yWuvQw
QJQnANT1HPgSpMHC7GpjkV
VutV6prwUkfz3MYVQKHepyhi
C4gcrUv5mQl?comment_id=1016
2513652445176                   Her lie is more like it                                                                                         11/4/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0SqiXtWczPzn
tT1Jg7QJzm1aGNYJwTeZHoquF
DuqRqv4oDvXYy7SrD3WBYYY
vdhWXl?comment_id=101620057
22245176                        Lying Beast of Filth!!!                                                                                         7/13/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid02i5zQRXT5p
G8Lk9DQnx3yfHVd81TUVGySJ
vG47iMt2rVH5sevfktUPBUqtUe
oVqMLl?comment_id=10162005
724175176                       More BS from brain addled Dem Zombies! Deport these worthless bastards!                                         7/13/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0Ea6zyAQcyn
XHfkeC8deszXuBQGet69JEFV7t
n2V95gsjE6TUCowhE1MYZ1W
1VhZGl?comment_id=101619021
99835176                        How short do whores like you wear their shorts?                                                                 6/21/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0Ea6zyAQcyn
XHfkeC8deszXuBQGet69JEFV7t
n2V95gsjE6TUCowhE1MYZ1W
1VhZGl?comment_id=101619023
34250176                        Another lying bastard. I hope E. J C is going to jail and get haedcancer.                                       6/21/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0Ea6zyAQcyn
XHfkeC8deszXuBQGet69JEFV7t
n2V95gsjE6TUCowhE1MYZ1W
1VhZGl?comment_id=101619026
06505176                        Get your 30 seconds of fame                                                                                     6/21/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0Ea6zyAQcyn
XHfkeC8deszXuBQGet69JEFV7t
n2V95gsjE6TUCowhE1MYZ1W
1VhZGl?comment_id=101619026
06505176&reply_comment_id=10 Laura Damasco this washed up bag is irrelevant, 30 years later b4 2020, what a joke, (she followed him to the
161903144995176                 dressing room?) yea ok                                                                                          6/21/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0Ea6zyAQcyn
XHfkeC8deszXuBQGet69JEFV7t
n2V95gsjE6TUCowhE1MYZ1W
1VhZGl?comment_id=101619026
06505176&reply_comment_id=10
161902872120176                 Fundator Ariel yep cause she's irrelevant most washed up bags are                                               6/21/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0Ea6zyAQcyn
XHfkeC8deszXuBQGet69JEFV7t
n2V95gsjE6TUCowhE1MYZ1W
1VhZGl?comment_id=101619027 Why are you asking about other peoples shorts? Are you going to claim someone was in your shorts, that's right,
55690176                        you already lied and said Trump was. Peep this stone face, the man is attracted to women, not fossils.          6/21/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0Ea6zyAQcyn
XHfkeC8deszXuBQGet69JEFV7t
n2V95gsjE6TUCowhE1MYZ1W
1VhZGl?comment_id=101619027 The "Butch" took a shot a Mrs. Trump and when it was laughed at, it decided to produce a "Pelosi Special" to sell
63805176                        a fknhg book. SEA HAG!                                                                                          6/21/2019
              Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 62 of 67


URL                            Post                                                                                                        Date
https://www.facebook.com/EJean
Carroll/posts/pfbid0Ea6zyAQcyn
XHfkeC8deszXuBQGet69JEFV7t
n2V95gsjE6TUCowhE1MYZ1W
1VhZGl?comment_id=101619028 These women saying that they believe her make me sick!! Not one ounce of any proof and she has said this about
50155176                       lots of men. And if this helps sell her pathetic book, there will be more that she "remembered".              6/21/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0Ea6zyAQcyn
XHfkeC8deszXuBQGet69JEFV7t
n2V95gsjE6TUCowhE1MYZ1W
1VhZGl?comment_id=101619028
65800176                       Liar                                                                                                          6/21/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0Ea6zyAQcyn
XHfkeC8deszXuBQGet69JEFV7t
n2V95gsjE6TUCowhE1MYZ1W
1VhZGl?comment_id=101619028
68175176                       Woman like you who lie ruin it for those who are actually victims and karma has your card                     6/21/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0Ea6zyAQcyn
XHfkeC8deszXuBQGet69JEFV7t
n2V95gsjE6TUCowhE1MYZ1W
1VhZGl?comment_id=101619032
69180176                       Lying POS. 💩💩                                                                                                 6/21/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0Ea6zyAQcyn
XHfkeC8deszXuBQGet69JEFV7t
n2V95gsjE6TUCowhE1MYZ1W
1VhZGl?comment_id=101619032
69180176&reply_comment_id=10
161904416030176                Sherry Loucks yes she does , she's just trying to drum up book sales. Obviously you're not educated.          6/22/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0Ea6zyAQcyn
XHfkeC8deszXuBQGet69JEFV7t
n2V95gsjE6TUCowhE1MYZ1W
1VhZGl?comment_id=101619032
69180176&reply_comment_id=10 Mike Mcphee why were you there? Obviously not ! So who is easily persuaded? You just believe this woman
161905762170176                with zero proof . You're pathetic.                                                                            6/22/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0Ea6zyAQcyn
XHfkeC8deszXuBQGet69JEFV7t
n2V95gsjE6TUCowhE1MYZ1W
1VhZGl?comment_id=101619034
19385176                       This old kunt lies!                                                                                           6/21/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0Ea6zyAQcyn
XHfkeC8deszXuBQGet69JEFV7t
n2V95gsjE6TUCowhE1MYZ1W EJC, you’re a lying fraud!!
1VhZGl?comment_id=101619035 Absolutely delusional!
41355176                       #MAGA2020 !                                                                                                   6/21/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0Ea6zyAQcyn
XHfkeC8deszXuBQGet69JEFV7t
n2V95gsjE6TUCowhE1MYZ1W
1VhZGl?comment_id=101619036
99860176                       No way in hell he'd stick his pecker in your Homely Looking ass.... You're a liar Looking publicity ......    6/21/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0Ea6zyAQcyn
XHfkeC8deszXuBQGet69JEFV7t
n2V95gsjE6TUCowhE1MYZ1W
1VhZGl?comment_id=101619044
22850176                       For someone who clams rape you sure are promoting questionable dressing habits .                              6/22/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0Ea6zyAQcyn
XHfkeC8deszXuBQGet69JEFV7t
n2V95gsjE6TUCowhE1MYZ1W
1VhZGl?comment_id=101619047
28455176                       Hideous....😁😁😁😁                                                                                               6/22/2019
               Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 63 of 67


URL                            Post                                                                                                                      Date
https://www.facebook.com/EJean
Carroll/posts/pfbid0Ea6zyAQcyn
XHfkeC8deszXuBQGet69JEFV7t
n2V95gsjE6TUCowhE1MYZ1W
1VhZGl?comment_id=101619071
51845176&reply_comment_id=10
161911774660176                Liars don't care                                                                                                            6/23/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0Ea6zyAQcyn
XHfkeC8deszXuBQGet69JEFV7t
n2V95gsjE6TUCowhE1MYZ1W
1VhZGl?comment_id=101619106 SHE IS A LIAR AND FRAUD AND WILL BE OUTED VERY SOON..TYPICAL DEMONRAT-LIBERAL AT
11705176                       ELECTION TIME..PAID HO-HO OF THE DNC!!                                                                                      6/23/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0Ea6zyAQcyn
XHfkeC8deszXuBQGet69JEFV7t
n2V95gsjE6TUCowhE1MYZ1W
1VhZGl?comment_id=101619302
74575176                       Fuck off and die you ugly feminazi cunt                                                                                     6/26/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid043HtweB8cS
VrpUX4jTsLnYVcZ51tESLc41qz
M8fSBVm74Hipc1pe44QMxaibif
3Zl?comment_id=1016190220218
0176                           You are an ignorant illiberal!                                                                                              6/21/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid043HtweB8cS
VrpUX4jTsLnYVcZ51tESLc41qz
M8fSBVm74Hipc1pe44QMxaibif
3Zl?comment_id=1016190233946
5176                           A secret........................... You are a lying nasty bastard E.J C . and deserve the karma that is going to hit you.   6/21/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid043HtweB8cS
VrpUX4jTsLnYVcZ51tESLc41qz No
M8fSBVm74Hipc1pe44QMxaibif But I have a bunch of questions?
3Zl?comment_id=1016190257216 You don’t know if his thing went halfway or completely in ?
0176                           What year 95 or 96? The most important why NOW ?                                                                            6/21/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid043HtweB8cS
VrpUX4jTsLnYVcZ51tESLc41qz
M8fSBVm74Hipc1pe44QMxaibif
3Zl?comment_id=1016190322219
0176                           Nobody believes you... Not even my Democrat friends, and they usually believe anything you tell them.                       6/21/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid043HtweB8cS
VrpUX4jTsLnYVcZ51tESLc41qz
M8fSBVm74Hipc1pe44QMxaibif
3Zl?comment_id=1016190400992
5176                           🙄🙄 So pathetic. Out to sell a book. Never said a word till NOW. Yeah we believe you 🙄🙄                                      6/22/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid043HtweB8cS
VrpUX4jTsLnYVcZ51tESLc41qz
M8fSBVm74Hipc1pe44QMxaibif
3Zl?comment_id=1016190401653
5176                           That your a lying cockroach                                                                                                 6/22/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid043HtweB8cS
VrpUX4jTsLnYVcZ51tESLc41qz
M8fSBVm74Hipc1pe44QMxaibif
3Zl?comment_id=1016190402264
0176                           And that outfit lmao seriously do u think that outfit was attractive lmao                                                   6/22/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid043HtweB8cS
VrpUX4jTsLnYVcZ51tESLc41qz
M8fSBVm74Hipc1pe44QMxaibif
3Zl?comment_id=1016190402482 I feel sorry for the real victims of sexual assault cause it's phony woman like you who set the clock back and make
5176                           it hard to tell truth your a scumbag no morals no class and karma will get u                                                6/22/2019
              Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 64 of 67


URL                            Post                                                                                                             Date
https://www.facebook.com/EJean
Carroll/posts/pfbid043HtweB8cS
VrpUX4jTsLnYVcZ51tESLc41qz
M8fSBVm74Hipc1pe44QMxaibif
3Zl?comment_id=1016190402482 Laura Damasco well said, there are so many real victims, so many too afraid to speak or are invisible and suffer
5176&reply_comment_id=101619 quietly, not some empty headed elitist celebrity. We should be outraged for them and this woman should be
42441025176                    ashamed.                                                                                                           6/28/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid043HtweB8cS
VrpUX4jTsLnYVcZ51tESLc41qz
M8fSBVm74Hipc1pe44QMxaibif In the school of public thought, the accuser has already lost. This is yet another failed feminist-backed allegation
3Zl?comment_id=1016190450060 that is so obviously political. God does not sleep.
5176                           Prov. 19:9 - a false witness, those who utter lies.                                                                6/22/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid043HtweB8cS
VrpUX4jTsLnYVcZ51tESLc41qz
M8fSBVm74Hipc1pe44QMxaibif Just in time for campaign season AND a book coming out. You insult our intelligence with you lie. You forget --
3Zl?comment_id=1016190485122 Trump supporters are not nearly as ignorant or stupid as Trump haters. Enjoy your 5 minutes. That is all you will
5176                           get.                                                                                                               6/22/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid043HtweB8cS
VrpUX4jTsLnYVcZ51tESLc41qz
M8fSBVm74Hipc1pe44QMxaibif
3Zl?comment_id=1016190639006
5176                           Slut saying whatever to sell a book. Does your husband approve this                                                6/22/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid043HtweB8cS
VrpUX4jTsLnYVcZ51tESLc41qz
M8fSBVm74Hipc1pe44QMxaibif
3Zl?comment_id=1016190919207
0176                           I think if you were raped you'd avoid anythingTRUMP like the plague. You are a liar!!!!                            6/23/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid043HtweB8cS
VrpUX4jTsLnYVcZ51tESLc41qz
M8fSBVm74Hipc1pe44QMxaibif
3Zl?comment_id=1016190919207 SHE IS A LIAR AND FRAUD AND IT IS COMING OUT...THE TRUTH WILL BE OUT
0176&reply_comment_id=101619 SOON...WITNESSES ABOUT HER PAST AND HOW SHE IS A PAID FOR DNC OPERATIVE WORKED
10633315176                    FOR DNC ON CAMPAIGNES!!                                                                                            6/23/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid043HtweB8cS
VrpUX4jTsLnYVcZ51tESLc41qz
M8fSBVm74Hipc1pe44QMxaibif YOU SURE DID UNTIL YOUR LIE WAS PAID FOR BY DNC..WE ALL KNOW HOW YOU DEMONRAT
3Zl?comment_id=1016191062999 MAN HATING LIBERAL WOMEN ARE SICK AND PATHETIC...REAL AMERICANS KNOW YOUR
5176                           LYING AND PAID FOR BY DNC!!..IS BILL CLINTON YOUR HERO😂😂😂😂😂😂😂😂😂😂😂😂                                                 6/23/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid043HtweB8cS
VrpUX4jTsLnYVcZ51tESLc41qz
M8fSBVm74Hipc1pe44QMxaibif
3Zl?comment_id=1016193873928
5176                           What a POS                                                                                                         6/27/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid02XnPjiXYKm
sUppntirxDfcE51DSzquNKXkm5
EXoGtXy5dyG3mraEocZ7PpbW
M5jWZl?comment_id=10161902
344585176                      DemocRats are like you E.J C ...... murderers and non tax paying sleezes..... May God give you cancer.             6/21/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid02XnPjiXYKm
sUppntirxDfcE51DSzquNKXkm5
EXoGtXy5dyG3mraEocZ7PpbW
M5jWZl?comment_id=10161905
450975176                      You ole sex starved recluse only WISH a real man would have the guts to “touch that”                               6/22/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid02XnPjiXYKm
sUppntirxDfcE51DSzquNKXkm5
EXoGtXy5dyG3mraEocZ7PpbW
M5jWZl?comment_id=10161910
634495176                      LYING DEMONRAT-LIBERAL..MAN HATER!!!                                                                               6/23/2019
                      Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 65 of 67


U RL                                               P ost                                                                                                                                                            D at e
htt ps:// w w w.f a c e b o o k. c o m/ EJ e a n
C arr oll/ p osts/ pf bi d 0 2 X n Pji X Y K m
s U p p ntir x Df c E 5 1 D S z q u N K X k m 5
E X o Gt X y 5 d y G 3 mr a E o c Z 7 P p b W Tr u m p's f a k e a c c us ers s u c h as y o urs elf. W h e n a p pr e nti c e w as y o ur f a v orit e s h o w, w h e n it w as o n. T h er e is n o
M 5j W Zl ? c o m m e nt _i d = 1 0 1 6 1 9 4 0 w a y y o u w o ul d h a v e w at c h e d t h at if w h at y o u a c c us e d hi m of w as tr u e. Ni c e tr y t h o u g h. Y o u g ot d u m mi es
944900176                                          b eli e vi n g y o u. L ol                                                                                                                                           6/ 2 8/ 2 0 1 9
htt ps:// w w w.f a c e b o o k. c o m/ EJ e a n
C arr oll/ p osts/ pf bi d 0 9 Wf 3 N b S C T
A ur H H H Y Xf n Q h v E Wt 7 or N N q d T
U df 2 H w K z d z w XJ e Q V R x 6 S R p 9 o
ss C 5 E D ml ? c o m m e nt _i d = 1 0 1 6 1 9 0
5636090176                                         P AI D LI A R S ‼ ️                                                                                                                                                  6/ 2 2/ 2 0 1 9
htt ps:// w w w.f a c e b o o k. c o m/ EJ e a n
C arr oll/ p osts/ pf bi d 0 9 Wf 3 N b S C T
A ur H H H Y Xf n Q h v E Wt 7 or N N q d T
U df 2 H w K z d z w XJ e Q V R x 6 S R p 9 o
ss C 5 E D ml ? c o m m e nt _i d = 1 0 1 6 1 9 0
6591205176                                         cr a z y f a k e n e ws l yi n g li b er als!!                                                                                                                       6/ 2 2/ 2 0 1 9
htt ps:// w w w.f a c e b o o k. c o m/ EJ e a n
C arr oll/ p osts/ pf bi d 0 9 Wf 3 N b S C T
A ur H H H Y Xf n Q h v E Wt 7 or N N q d T
U df 2 H w K z d z w XJ e Q V R x 6 S R p 9 o
ss C 5 E D ml ? c o m m e nt _i d = 1 0 1 6 1 9 1
0358680176                                         I t h o u g ht I es c a p e d fr o m st u pi dit y.... b ut n o, h er e I a m o n y o ur p a g e.                                                                    6/ 2 3/ 2 0 1 9
htt ps:// w w w.f a c e b o o k. c o m/ EJ e a n
C arr oll/ p osts/ pf bi d 0 9 Wf 3 N b S C T
A ur H H H Y Xf n Q h v E Wt 7 or N N q d T
U df 2 H w K z d z w XJ e Q V R x 6 S R p 9 o
ss C 5 E D ml ? c o m m e nt _i d = 1 0 1 6 1 9 1 Y O U R LI E S W O N T E S C A P E Y O U E J E A N.. W E A L L K N O W T H E D N C P AI D Y O U A N D H E L PI N G Y O U R
0645420176                                         F A KE H ATE B O O K                                                                                                                                                 6/ 2 3/ 2 0 1 9
htt ps:// w w w.f a c e b o o k. c o m/ EJ e a n
C arr oll/ p osts/ pf bi d 0 2 z G D Q 6 e N u S
M Q 3 d S D m b H D D b 7 v 2 kj aJ H k H K
c 5 e Sf cj M 9 h W Kf k g N K v 1 k 9 Zj V 9
Nf 6 v Y y Gl ? c o m m e nt _i d = 1 0 1 6 1 9 0 I t hi n k if y o u w er e r a p e d y o u' d a v oi d a n yt hi n g T R U M P li k e t h e pl a g u e. Y o u ar e a li ar!!!! T h e tr ut h b e c a us e y o u
9193320176                                         ar e a LI A R!!!!                                                                                                                                                    6/ 2 3/ 2 0 1 9
htt ps:// w w w.f a c e b o o k. c o m/ EJ e a n
C arr oll/ p osts/ pf bi d 0 2 z G D Q 6 e N u S
M Q 3 d S D m b H D D b 7 v 2 kj aJ H k H K
c 5 e Sf cj M 9 h W Kf k g N K v 1 k 9 Zj V 9
Nf 6 v Y y Gl ? c o m m e nt _i d = 1 0 1 6 1 9 1
0654345176                                         Y O U A N D D E M O N R A T S WI L L B E I N H E L L A S Y O U L O V E B A B Y KI L LI N G A N D W O R S HI P S A T A N!!                                            6/ 2 3/ 2 0 1 9
htt ps:// w w w.f a c e b o o k. c o m/ EJ e a n
C arr oll/ p osts/ pf bi d 0 2 z G D Q 6 e N u S
M Q 3 d S D m b H D D b 7 v 2 kj aJ H k H K
c 5 e Sf cj M 9 h W Kf k g N K v 1 k 9 Zj V 9
Nf 6 v Y y Gl ? c o m m e nt _i d = 1 0 1 6 1 9 1
7511925176                                         A pl a c e w h er e all li b er al s c u m li k e y o u ar e d e a d. T h at w o ul d b e h e a v e n o n E art h                                                    6/ 2 4/ 2 0 1 9
htt ps:// w w w.f a c e b o o k. c o m/ EJ e a n
C arr oll/ p osts/ pf bi d 0 2 z G D Q 6 e N u S
M Q 3 d S D m b H D D b 7 v 2 kj aJ H k H K
c 5 e Sf cj M 9 h W Kf k g N K v 1 k 9 Zj V 9
Nf 6 v Y y Gl ? c o m m e nt _i d = 1 0 1 6 2 9 5
1441335176                                         Y o u'r e a li ar a n d a p e d o p hil e p art y s u p p ort er                                                                                                     1/ 3 1/ 2 0 2 0
htt ps:// w w w.f a c e b o o k. c o m/ EJ e a n
C arr oll/ p osts/ pf bi d 0 8 C K R M h E d g
a x o U q c U Mt o 5 w A G dt v 4 P 3 G g c z 8
K q h b d x Aj 9t B Br hf o v 3 K Z B V n h 4 C
f o K Al ? c o m m e nt _i d = 1 0 1 6 1 9 0 2 8 6
8130176                                            Y o u l a m e br ai n p ar a n oi d i di ot                                                                                                                          6/ 2 1/ 2 0 1 9
htt ps:// w w w.f a c e b o o k. c o m/ EJ e a n
C arr oll/ p osts/ pf bi d 0 L X e N A Q P Y L
ss A k Xri u v 6 3 x 9 Y 9j a gi v 9 p Yt g Y a 4
u T uf L U Z 5 T xt T m b Y L Tj 3 N m v d 5
H n nl ? c o m m e nt _i d = 1 0 1 6 1 9 1 0 6 5 8
240176                                             Y O U R T H E A NI M A L!!.. M A N- H A T E R A N D LI B E R A L P AI D LI A R!!                                                                                     6/ 2 3/ 2 0 1 9
              Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 66 of 67


URL                             Post                                                                                                         Date
https://www.facebook.com/EJean
Carroll/posts/pfbid0CqXDQWJBx
DMtgHdCDamicR9dD9GocKTd
RAzCpgRjPuPP6reTwSRJpS9V
WuNUyMD9l?comment_id=1016 YOU CANT E JEAN....YOUR BEING FOUND OUT AND YOUR LIES ON TRUMP ARE BEING FOUND
1910669450176                   OUT AND YOU ARE PAID FOR BY DNC....YOU WILL GET FOUND OUT SOON!!!!                                             6/23/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid02sWv1WVAR
67oURtcwpUwACSK8u9PmjjEh
GedRXsat4VYWcjCwm2x2epp2
ms9qup1fl?comment_id=1016191 BUYING YOUR BOOK OF LIES....OH WAIT SOROS BOUGHT THOSE FOR YOUR LIES ON
0683250176                      TRUMP...YOUR OWNED BY THE DNC!!                                                                                6/23/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0pfa7QsPnyJk
DUvYUzDcjAb7XrF62vR6EG21
uwgSmPu9HZoXVJaDGSfkawE
KwzxJ1l?comment_id=10161902
545370176                       God you're a whore                                                                                             6/21/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0pfa7QsPnyJk
DUvYUzDcjAb7XrF62vR6EG21
uwgSmPu9HZoXVJaDGSfkawE
KwzxJ1l?comment_id=10161903 I hear yours is (Disgusting Tramp) !!! lol
561755176                       #MAGA2020                                                                                                      6/21/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0pfa7QsPnyJk
DUvYUzDcjAb7XrF62vR6EG21
uwgSmPu9HZoXVJaDGSfkawE
KwzxJ1l?comment_id=10161933
202355176                       So, you claim to have been raped, but you promote porn, which degrades women?                                  6/26/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0rs279PAnNj2
Zez21MaCFCDEP4MVycjs4kXH
cwALqkzXPKx6xeK3wWqBtMtq
6gkZYl?comment_id=101619025
50875176                        And another whore example                                                                                      6/21/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0rs279PAnNj2
Zez21MaCFCDEP4MVycjs4kXH
cwALqkzXPKx6xeK3wWqBtMtq
6gkZYl?comment_id=101619237 Wow. I'm really glad I came to your page. I now see that you're full of shit and making false claims about "21
66055176                        hideous men" are those 21 the one you screwed then claimed rape when they threw you in the trash.              6/25/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0hnJKsv5krM
NoFYvvSATTvMNiDXacysFNG
kSzQwR8sAXdcSdfPTbN3zuctd
C9w5ukl?comment_id=11260668
04952671                        The dog looks better.                                                                                          9/28/2022
https://www.facebook.com/EJean
Carroll/posts/pfbid0hnJKsv5krM
NoFYvvSATTvMNiDXacysFNG
kSzQwR8sAXdcSdfPTbN3zuctd
C9w5ukl?comment_id=10161923
261925176                       Watch out doggo, Mrs. Skeletor is going to lie about you raping her next                                       6/25/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0hnJKsv5krM
NoFYvvSATTvMNiDXacysFNG
kSzQwR8sAXdcSdfPTbN3zuctd
C9w5ukl?comment_id=10161904
661975176                       I'll go with the dog on the right.                                                                             6/22/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0hnJKsv5krM
NoFYvvSATTvMNiDXacysFNG
kSzQwR8sAXdcSdfPTbN3zuctd
C9w5ukl?comment_id=10161902
561165176                       I bet you two had a romantic encounter hiw did you tame the premature ejaculatory celebration                  6/21/2019
               Case 1:20-cv-07311-LAK Document 116-13 Filed 01/12/23 Page 67 of 67


URL                             Post                                                                                                             Date
https://www.facebook.com/EJean
Carroll/posts/pfbid02FZf4EkFgoU
Trge3fjQizeS7FZaMwRQJhcG5S
Z4DrKU5HUMrN1Supqx5c6PPu
n6Lyl?comment_id=10161903585 You have !
175176                          Somebody robbed you of every ounce of Common Sense that you had!!                                                  6/21/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid02LFbBRPYW
SV6jMzNq1SqcvFFkLarZwfTUt3
pnBWryMDegZ6MhU8Zp7S2Pge
hujE9bl?comment_id=101619025
83545176                        You getting murdered by the cia                                                                                    6/21/2019
https://www.facebook.com/EJean
Carroll/posts/pfbid0TBhiNqNr8U
kkB8thujn3KfaZVp7fhheFZbyRL
vCVcNyEcurfM7E1yG2EA69d2i
8Tl?comment_id=1016190354276
5176                            What an idiot this person is. Evil, greedy or idiot.                                                               6/21/2019
                                Wow, this woman is a nut...So she had a book years ago talking about landing the perfect man in 6 weeks, and
                                now her book is Men, Who Needs Them??? I gather she couldn’t land a man if she tried, this is why she tells
https://www.facebook.com/EJean herself she is thrilled she doesn’t have one, and doesn’t have children...And Trump was a billionaire, I think he
Carroll/posts/pfbid0TBhiNqNr8U would have had to be on special drugs to even contemplate having any kind of sex with this woman...And she
kkB8thujn3KfaZVp7fhheFZbyRL doesn’t want to formally bring this to any formal hearing, because she would get eaten alive and she would be
vCVcNyEcurfM7E1yG2EA69d2i publicly humiliated..As a victim of a sexual assault, you always tell someone, a parent, a close friend, Funny that
8Tl?comment_id=1016191877739 she didn’t tell anyone..And she didn’t come forward until now because the democrat party knows Trump is going
0176                            to win by a landslide, so let’s bring out the 20 year old fake accusations!!! Pathetic                             6/24/2019
